CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 1 of 137




                 Exhibit A
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 2 of 137




                                                     DATE FILED: May 13, 2022 1:05 PM
 DISTRICT COURT, CITY & COUNTY OF DENVER,            CASE NUMBER: 2020CV34319
 STATE OF COLORADO
 1437 Bannock Street
 Denver, CO 80202
 ERIC COOMER, Ph.D.,
 Plaintiff
 vs.
 DONALD J. TRUMP FOR PRESIDENT, INC., et al.,            COURT USE ONLY 
 Defendants

                                                    Case No:     2020cv034319

                                                    Courtroom: 409


       ORDER REGARDING ALL DEFENDANTS’ SPECIAL MOTIONS TO
               DISMISS PURSUANT TO C.R.S. § 13-20-1101


           “False statements of fact harm both the subject of the
           falsehood and the readers of the statement.” Keeton v.
           Hustler Mag., Inc., 465 U.S. 770, 776 (1984).

           “Neither lies nor false communications serve the ends
           of the First Amendment, and no one suggests their
           desirability or further proliferation.” Kuhn v. Tribune-
           Republican Pub. Co., 637 P.2d 315, 319 (Colo. 1981),
           citing St. Amant v. Thompson, 390 U.S 727, 732 (1968).

       This matter comes before the Court on the Special Motions to Dismiss Pursuant

to C.R.S. § 13-20-1101 brought by all Defendants, namely, Defendants Joseph Oltmann

(“Oltmann”), FEC United, Inc. (“FEC United”), Shuffling Madness Media, Inc. dba

Conservative Daily (“SMM”, and together with Oltmann and FEC United, “Oltmann et

al.”), James Hoft (“Hoft”), TGP Communications LLC dba The Gateway Pundit (“TGP”,

and together with Hoft, “Hoft-TGP”), Michelle Malkin (“Malkin”), Eric Metaxas

(“Metaxas”), Chanel Rion (“Rion”), Herring Networks, Inc. dba One America News




                                         1
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 3 of 137




Network (“OAN”, and together with Rion, “OAN-Rion”), Sidney Powell (“Powell”), Sidney

Powell, P.C. (“Powell, P.C.”, and together with Sidney Powell, “Powell et al.”), Rudolph

Giuliani (“Giuliani”), Defending the Republic, Inc. (“Defending the Republic”), and

Donald J. Trump for President, Inc. (“Trump Campaign”). This Court held a hearing on

this matter on October 13 and October 14, 2021 wherein this Court heard arguments from

counsel for all Defendants and counsel for Plaintiff Eric Coomer, Ph.D. (“Coomer”).

                               PROCEDURAL BACKGROUND

        1.      On December 22, 2020, Coomer filed his Original Complaint asserting

claims for defamation, intentional infliction of emotional distress, conspiracy, and

injunctive relief against the Defendants.1 On February 4, 2021, Coomer filed his First

Amended Complaint.2

        2.      Coomer’s allegations against each defendant are generally the same:

Defendants published false statements that 1) Coomer participated in an alleged Antifa

conference call; 2) Coomer stated on that alleged call that he intended to subvert the 2020

presidential election; and 3) Coomer did subvert the results of the 2020 presidential

election. Coomer alleges that these statements caused him severe emotional and physical

distress, as well as harm to his reputation, privacy, safety, earnings, and other unspecified

pecuniary interests.3

        3.      All Defendants have filed Special Motions to Dismiss Pursuant to C.R.S.


1 See generally Orig. Compl.
2 See First Am. Compl.
3 See First Am. Compl. at ¶¶ 51-56 (Oltmann, et al.); ¶¶ 57, 60 (Hoft-TGP); ¶ 58 (Malkin); ¶ 59 (Metaxas);

¶ 61 (OAN-Rion); ¶¶ 64-70 (Powell et al.); ¶¶ 64-65 (Giuliani); ¶¶ 63-70 (Trump Campaign); ¶¶ 72-81
(damages).




                                                    2
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 4 of 137




§13-20-1101 (“Anti-SLAPP motions”). Each of the Anti-SLAPP motions raised somewhat

different arguments, but which can be generalized as follows. First, all Defendants argue

that the Anti-SLAPP statute applies to Coomer’s claims.4 Most argue that the statute

applies because the statements at issue were made in connection with an issue of public

interest5 or because the statements were made in connection with an official proceeding.6

Some generally argue that it applies because their statements were made in furtherance

of their rights to petition or free speech.7 Second, all Defendants argue that Coomer

cannot make a prima facie factual showing of his claims. Defendants argue that Coomer’s

defamation claims fail because he cannot establish publication, falsity, or actual malice.8

Third, some Defendants also raise affirmative defenses to defamation. OAN-Rion argue

that their statements are protected by the fair report privilege and a “newsworthy”

exception to defamation.9 Oltmann et al., Powell et al., OAN-Rion, Metaxas and Hoft-TGP

argue that their statements are not actionable as mere opinion or hyperbole.10 The Powell

et al., Giuliani, and the Trump Campaign argue their statements are protected by the



4 See Oltmann, et al. Mot. at 1-4; Malkin Mot. at 5-7; Metaxas Mot. at 6-11; Hoft-TGP Mot. at 9-10, 12-13;

OAN-Rion Mot. at 11-13; Powell Mot. at 7-11; DTR Mot. at 8-12; Giuliani Mot. at 6-9; Trump Campaign
Mot. at 5-14.
5 See Malkin Mot. at 5-7; Metaxas Mot. at 8-10; Hoft-TGP Mot. at 9-10, 12-13; OAN-Rion Mot. at 11-13;

Powell Mot. at 8-10; DTR Mot. at 9-11; Giuliani Mot. at 7-9; Trump Campaign Mot. at 7-11.
6 See Malkin Mot. at 5-6; Metaxas Mot. at 7-8; Trump Campaign Mot. at 11-14.
7 See Hoft-TGP Mot. at 9; Powell Mot. at 10-11; DTR Mot. at 11-12; Giuliani Mot. at 9, n.4; Trump Campaign

Mot. at 11-14.
8 See Oltmann, et al. Mot. at 7-9 (challenging falsity and actual malice); Malkin Mot. at 7-11 (challenging

actual malice); Metaxas Mot. at 11 (incorporating C.R.C.P. 12(b)(5) motion to dismiss by reference);
Metaxas C.R.C.P. 12(b)(2) and 12(b)(5) Mot. at 8-11 (challenging actual malice); Hoft-TGP Mot. at 15-23
(challenging actual malice); OAN-Rion Mot. at 13-22 (challenging publication, falsity, and actual malice);
Powell Mot. at 17-23 (challenging actual malice); DTR Mot. at 18-24 (challenging actual malice); Giuliani
Mot. at 16-20 (challenging actual malice); Trump Campaign Mot. at 15-17 (challenging actual malice).
9 See OAN-Rion Mot. at 12.
10 See Powell Mot. at 24-25; DTR Mot. at 24-26; OAN-Rion Mot. at 17; Hoft-TGP Mot. at 16-21.




                                                    3
         CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 5 of 137




litigation privilege.11 The Trump Campaign argues that Donald Trump’s statements are

immune under the Westfall Act12 and that Eric Trump’s statement is immune under the

Communications Decency Act.13 Hoft-TGP also argue that Coomer’s pleadings were

insufficient.14 Fourth, most Defendants argue that at least some of Coomer’s remaining

claims fail as they are derivative of his defamation claims. 15 Most argue that Coomer’s

intentional infliction of emotional distress claims fail because he cannot establish extreme

or outrageous conduct and or the requisite intent;16 that Coomer’s conspiracy claims fail

because he cannot establish an unlawful overt act17 or a meeting of the minds;18 and

that Coomer’s request for injunctive relief fails because it is a prior restraint on speech,

not narrowly tailored, or has not yet been adjudicated.19


11 See Powell Mot. at 11-17; DTR Mot. at 12-18; Giuliani Mot. at 9-16; Trump Campaign Mot. at 11-12.
12 See Trump Campaign Mot. at 18.
13 Id. at 20.
14 See Hoft-TGP Mot. at 13-14.
15 See Oltmann, et al Mot. at 12 (challenging conspiracy); Malkin Mot. at 11-12 (challenging intentional

infliction of emotional distress and conspiracy); Metaxas Mot. at 11 (incorporating C.R.C.P. 12(b)(5) motion
to dismiss by reference); Metaxas C.R.C.P. 12(b)(2) and 12(b)(5) Mot. at 13-15 (challenging conspiracy and
injunctive relief); Hoft-TGP Mot. at 23 (challenging intentional infliction of emotional distress, conspiracy,
and injunctive relief); OAN-Rion Mot. at 22-25 (challenging intentional infliction of emotional distress,
conspiracy, and injunctive relief); Powell Mot. at 7 n.5 (challenging injunctive relief); 26-27 (challenging
intentional infliction of emotional distress and conspiracy); DTR Mot. at 8 n.5 (challenging injunctive
relief); 26-27 (challenging intentional infliction of emotional distress and conspiracy); Giuliani Mot. 21-22
(challenging conspiracy and injunctive relief); Trump Campaign Mot. at 18-19 (challenging intentional
infliction of emotional distress and conspiracy).
16 See Oltmann, et al. Mot. at 5 (incorporating intentional infliction of emotional distress arguments in

C.R.C.P. 12(b)(5) motion to dismiss by reference); Oltmann, et al. C.R.C.P. 12(b)(5) Mot. at 23-25; Malkin
Mot. at 11-12; Metaxas Mot. at 11 (incorporating C.R.C.P. 12(b)(5) motion to dismiss by reference); Metaxas
C.R.C.P. 12(b)(2) and 12(b)(5) Mot. at 11-13; OAN-Rion Mot. at 22-23; Powell Mot. at 25-26; DTR Mot. at
26-27; Giuliani Mot. at 20-21.
17 See Oltmann et al. Mot. at 12; Malkin Mot. at 12-13; Metaxas Mot. at 11 (incorporating C.R.C.P. 12(b)(5)

motion to dismiss by reference); Metaxas C.R.C.P. 12(b)(2) and 12(b)(5) Mot. at 13-14; OAN-Rion Mot. at
24; Powell Mot. at 26-27; DTR Mot. at 27; Giuliani Mot. at 21.
18 See Oltmann et al. Mot. at 12; Malkin Mot. at 12-13; Metaxas Mot. at 11 (incorporating C.R.C.P. 12(b)(5)

motion to dismiss by reference); Metaxas C.R.C.P. 12(b)(2) and 12(b)(5) Mot. at 13; Hoft-TGP Mot. at 18-
19; OAN-Rion Mot. at 24; Powell Mot. at 26-27; DTR Mot. at 27; Giuliani Mot. at 21.
19 See Oltmann, et al. Mot. at 13-15; OAN-Rion Mot. at 25; Powell Mot. at 7 n.5; DTR Mot. at 8 n.5; Giuliani

Mot. at 22.




                                                      4
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 6 of 137




        4.      Following limited discovery, Coomer filed his Omnibus Response to all

Defendants’ arguments and affirmative defenses.20 On reply, some Defendants expanded

their original arguments by arguing additional bases for constitutional protections

apply;21 additional statements are immune under the Communications Decency Act; 22

certain statements are protected opinions and hyperbole;23 and a “conditional” litigation

privilege concerning prelitigation statements bars Coomer’s causes of action.24 Some

Defendants raised entirely new arguments, arguing constitutional protections apply when

other defendants created the matter of public concern; 25 the incremental harm doctrine

precluded Coomer’s claims;26 vicarious liability could not be established for certain

parties;27 and asking the Court to weigh the veracity of certain statements and credibility

of certain witnesses.28 To the extent these challenges attempt to raise factual disputes,

such issues are reserved for a finder of fact and equally not considered for purposes of this

Order. See Baral v. Schnitt, 376 P.3d 604, 608 (Cal. 2016); Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 255 (1986) (“Credibility determinations, the weighing of the evidence,

and the drawing of legitimate inferences from the facts are jury functions. . . .”).

        5.      On October 13-14, 2021, the Court heard oral arguments on all of

Defendants’ special motions.


20 Coomer filed an initial response to Metaxas’s special motion to dismiss on April 7, 2021 but reserved his

right to supplement or amend the evidence offered in support. See Pl.’s Resp. at ¶ 23.
21 See Malkin Reply at 12-13, Metaxas Reply at 6.
22 See Oltmann, et al. Reply at 13, Trump Campaign Reply at 7-8.
23 See Metaxas Mot. at 6-8.
24 See DTR Reply at 12-15.
25 See Malkin Reply at 13-14; OAN-Rion Reply at 16.
26 See OAN-Rion Reply at 18-20.
27 See Oltmann, et al. Reply at 13-17; DTR Reply at 2-8, 11.
28 See Malkin Reply at 7-10; OAN-Rion Reply at 3-5, 20-21; Powell Reply at 1-14; Trump Campaign Reply

at 8-11.




                                                     5
         CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 7 of 137




                                    FINDINGS OF FACT

         6.      The Court conducted a two-day hearing (October 13th & 14th) wherein all

parties presented summaries of the evidence they believed they would be able to present

to a jury in support of their claims or defenses in this matter. This Court also undertook a

review of all evidentiary objections lodged by the parties to preliminarily assess whether

the evidence referenced by the parties was likely to be admissible at a trial. See Orders

entered in this matter on December 5, 2021.

         7.      Based on the admissible evidentiary submissions of the parties, this Court

FINDS that Plaintiff will be able to present the following credible evidence to a jury which

would be sufficient to meet the clear and convincing evidentiary standard in support of

his claims of defamation, intentional infliction of emotional distress, civil conspiracy and

request for injunctive relief.

A.       2020 Presidential Election

         8.      At the time of the 2020 presidential election, Coomer was privately

employed by Dominion as the Director of Product Strategy and Security.29 Dominion

provided election equipment and services to governmental bodies in at least thirty

different states during the 2020 presidential election.30 Coomer, as an employee of

Dominion, assisted with these services.31 Neither Dominion nor Coomer were

governmental employees or controlled the election or the governmental bodies they were

assisting.



29 See Ex. A, Coomer Dec. at ¶ 2.
30 Id. at ¶ 9.
31 Id.




                                              6
         CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 8 of 137




         9.       In the weeks leading up to the November 3, 2020 presidential election,

former president Trump, his campaign, his agents, and many of his supporters began

alleging widespread voter fraud and conspiracy theories to explain then President

Trump’s projected loss.32 The propagation of these theories continued after the election

results were announced in President Biden’s favor on November 7, 2020.33 Allegations

against Coomer first appeared a few days later on November 9, 2020 and were first

instigated by Oltmann.34

         10.      In November and December 2020 alone, over 60 election related lawsuits

were filed across the country by former president Trump and his supporters to challenge

the legitimacy of the election results.35 Of these lawsuits, the parties identified some that

were filed on behalf of former president Trump or the Trump Campaign in federal courts

in Montana, New Jersey, Nevada, Pennsylvania, and Michigan.36 The parties identified

four lawsuits filed by Powell in federal courts in Arizona, Georgia, Wisconsin, and




32 Id. at ¶ 12.
33 See Ex. A, Coomer Dec. at ¶ 13.
34 Id. at ¶ 15; Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr. at 13:2-11.
35 See First Am. Compl. at ¶ 50; see also Malkin Mot. at 5 (identifying 60 lawsuits); Metaxas Mot. at 8

(same); OAN-Rion Mot. at 6 (same); Trump Campaign Mot. at 13 (identifying lawsuits generally); Powell
Mot. at 6 (identifying lawsuits filed by Powell); Giuliani Mot. at 9 n.4 (identifying a lawsuit filed by the
Trump Campaign).
36 See Trump Campaign Mot. at 13, n.3 (citing Donald J. Trump for President, Inc. v. Bullock, 491 F. Supp.

3d 814 (D. Mont. 2020); Donald J. Trump for President, Inc. v. Murphy, No. 3:20-cv-10753 (D. NJ. Aug.
18, 2020); Donald J. Trump for President, Inc. v. Cegavske, No. 2:20-cv-01445-JCM-VCF (D. Nev. Aug. 4,
2020); Donald J. Trump for President, Inc. v. Boockvar, No. 4:20-cv-02078-MWB (M.D. Penn. Nov. 9,
2020)); see also Giuliani Mot. at 9, n.4 (citing Donald J. Trump for President v. Benson, No. 1:20-cv-
01083-JTN-PJG (W.D. Mich.)).




                                                     7
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 9 of 137




Michigan.37 Of those numerous lawsuits, only Powell’s lawsuits reference Coomer.38

To date, these lawsuits have been dismissed or withdrawn.39

       11.     All allegations of election fraud have been firmly rejected by credible

sources. On November 12, 2020, the Cybersecurity & Infrastructure Security Agency

(CISA), a standalone federal agency under the Department of Homeland Security, issued

a Joint Statement from the Elections Infrastructure Government Coordinating Council

and the Election Infrastructure Sector Coordinating Executive Committees confirming

that there is “no evidence that any voting system deleted or lost votes, changed votes, or

was in any way compromised” and that the 2020 presidential election was the most secure

in American history.40 Then U.S. Attorney General William Barr confirmed “to date, we

have not seen fraud on a scale that could have effected a different outcome in the

election.”41 Several states also conducted manual recounts without detecting any evidence

of fraud.42

B.     Joseph Oltmann, FEC United, Inc., Shuffling Madness Media, Inc.

       12.     Oltmann is a business owner and political activist based in Colorado.43

He is the founder and authorized representative of FEC United, a non-profit corporation




37 See Trump Campaign Mot. at 13, n.4-5 (citing Bowyer v. Ducey, et al., No. 2:20-cv-02321-DJF (D. Ariz.

2020); Pearson v. Kemp, No. 1:20-cv-04809-TCB (N.D. Ga. Nov. 25, 2020); Feehan v. Wis. Elections
Comm’n, No. 2:20-cv-01771-PP (E.D. Wisc. Dec. 1, 2020); King v. Whitmer, No. 2:20-cv-13134-LVP-RSW
(E.D. Mich. Nov. 25, 2020)); Powell Mot. at 6, 12 (same); DTR Mot. at 7, 13 (same).
38 See supra n.37.
39 See supra n.37-38.
40 See Ex. M-1, PX 67.
41 See Ex. O, Halderman Dec. at ¶ 19.
42 Id. at ¶ 47.
43 See Ex. D-2, Oltmann-SMM, Sept. 9, 2021 Depo. Tr. at 7:15-9:2; 23:23-24:11.




                                                   8
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 10 of 137




formed in Colorado.44 He is a co-host for the Conservative Daily podcast, which

broadcasts from Colorado and publishes almost daily podcasts on various online

platforms.45 He was also the founder and authorized representative for SMM, which until

July 9, 2021, conducted business under the trade name Conservative Daily.46

        13.     Oltmann, individually and as a representative of FEC, was actively involved

in political events and rallies in support of former president Trump leading up the 2020

presidential election.47 Similarly, Oltmann published podcasts on Conservative Daily in

support of former president Trump both individually and as a representative of SMM.48

In these roles, Oltmann began advancing various allegations of fraud leading up to the

election, including claims that public health measures in response to the Covid-19

pandemic were intended to allow for election fraud, and various claims of ballot

harvesting.49 Prior to the election Oltmann indicated his belief that former president

Trump would win reelection.50

        14.     As the results for the election began to be reported and former president

Trump’s loss became clear, Oltmann again began advancing allegations of election fraud

to explain the loss, including claims of ballot harvesting and late-night ballot dumps at




44 See Ex. C-2, Oltmann-FEC United, Sept. 9, 2021 Depo. Tr. at 7:10-13.
45 See Ex. D-3, Oltmann-CD Solutions, Sept. 9, 2021 Depo. Tr. at 32:15-18.
46 See Ex. D-2, Oltmann-SMM, Sept. 9, 2021 Depo. Tr. at 7:8-17; 14:11-23; see also Ex. D-1, PX 92-93.
47 See Ex. C-2, Oltmann-FEC United, Sept. 9, 2021 Depo. Tr. at 8:7-12:7.
48 See Ex. B-10 Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 5, 2020); B-11 Oltmann, et al.,
CONSERVATIVE DAILY PODCAST (Nov. 6, 2020).
49 See Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr. at 2:25-3:5, 8:25-9:10; see also Pl.’s Amend. Compl. at ¶¶ 4, 8, 52-53, 56-71,
85, 91-94.
50 See Ex. B-8, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Sept. 9, 2020); Ex. B-9, Oltmann, et al.,

CONSERVATIVE DAILY PODCAST (Aug. 5, 2020)




                                                     9
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 11 of 137




ballot collection centers.51 On November 5, 2020, during a Conservative Daily podcast

segment that was labeled “Democrats Just Got Caught!”, Oltmann made the following

statements:

        Oltmann: I think that it will actually come through. I think that it will
        actually end up working where President Trump becomes President, but he
        is going to have to fight through it. We are going to have to fight through it.
                                                    ...
        Max McGuire: They are throwing so much fraud at this. . .
        Oltmann: Pillowcases, they were bringing in pillowcases filled with stuff.
        McGuire: . . . So much fraud. It’s like an absurd amount of fraud. And they
        are hoping that they can just get this thing certified before you can even
        count it.
        Oltmann: No.
                                                    ...
        McGuire: [Fox News cut away from a press conference in Nevada alleging
        voter fraud and the Fox hosts] started criticizing the Trump Campaign, for
        not putting forward evidence. They were saying “if you are going to allege
        voter fraud, you have got to show the evidence.”
        Oltmann: There is a ton of evidence. There is a ton of evidence.
                                                    ...
        Oltmann: No surrender. No retreat. That is what we have to do. . . . We have
        to die on this hill. . . . You don’t get to take away our country.
        McGuire: Fraud. This is the new Democrat party logo.
                                                    ...
        Oltmann: Now they want to try to steal the election, and they think we are
        going to sit back and watch. Oh no. No. Oh no. No, no, no, no, no, no.
                                                    ...
        McGuire: In Pennsylvania, . . . 23,277 votes came through all in one batch
        and 100% were for Joe Biden. . . .
        Oltmann: It’s not possible. It’s all fraud.


51 See Ex. A, Coomer Dec. at ¶ 15; Ex. Ex. B-10, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 5, 2020);

Ex. B-11, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 6, 2020).




                                                    10
         CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 12 of 137




                                                    ...
         Oltmann: You don’t get to be the minority in this country, steal an election
         and expect that we are going to let Biden to be president. There is no way
         we are going to let Biden be president. Biden will not be president. I am
         going to say it again. He will not be president. You are not going to destroy
         the democracy of the country. Not doing it.
                                                    ...
         McGuire: If he gets inaugurated, he is going to be an illegitimate president.
         Oltmann: Illegitimate president? There are hundreds of millions of people
         in this country who literally will overrun that inauguration. You will not be
         able to stop the wave that comes. You won’t be able to stop it. They won’t
         even be able to have an inauguration. I promise you. I promise you, they
         won’t be able to have one. They won’t. . . . I won’t stand for it. . . You don’t
         get to cheat.
                                                    ...
         Oltmann: They are actually reproducing votes that don’t even exist. They
         are not even on the rolls. They don’t even have a number that correlates to
         that particular vote.
                                                    ...
         Oltmann: They have cheated this whole thing. Look, I’m going to tell you
         right now, we are not going to accept this election. We’re not. It’s not an
         illegitimate president. We are not going to accept it. We have a hundred
         million people that I promise you are going to show up on the doorsteps of
         these democrats. We are not going to accept it.52

         15.    During the November 5, 2020 podcast, when one caller asked what to do if

he were to discover that his deceased parents voted, Oltmann told the caller to send that

information to Conservative Daily, “send it to us.” Oltmann then proceeded to reiterate

that Joe Biden “will not take office. I am telling you right now, he will not take office.”53

         16.    On November 6, 2020, the Conservative Daily podcast was titled “How They

Stole It” and spent time analyzing their recently improving rankings on Apple’s list of



52 Ex. B-10, Oltmann, et al., Conservative Daily Podcast (Nov. 5, 2020).
53 Id.




                                                    11
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 13 of 137




political podcasts. Oltmann repeatedly told viewers to “hit the share button” and Max

McGuire urged the viewers to subscribe to the podcast and to give positive reviews. The

November 6, 2020 podcast was devoted to ongoing allegations of election fraud, but also

included an acknowledgment that one of their claims from November 5th regarding

ballots in Pennsylvania had been fact-checked and was determined to have the potential

of misleading people. Oltmann discussed people at a gun store buying guns in response

to the purported election steal. A caller to the show referenced Venezuela. Oltmann

reiterated that Biden would not be president and that he would not stand for it. McGuire

predicted that the podcast was likely to be labeled “fake news” in the future.54

        17.     On November 9, 2020, after the results of the election were called for

President Joe Biden, Oltmann again co-hosted a Conservative Daily Podcast. On that

podcast, Oltmann claimed to have learned at least six weeks earlier of a conspiracy to

make sure former president Trump was not re-elected as president of the United States. 55

Oltmann claimed he gained this information while infiltrating an Antifa conference call

with unknown and unverified participants.56 Oltmann alleged one of the unknown

participants was referred to as “Eric” and “the Dominion guy.”57 Oltmann paraphrased

this “Eric” as stating on the call, “Don’t worry about the election, Trump is not gonna win.



54 Ex. B-11. It is impossible not to draw a straight line from Oltmann’s threats of violence on his November

5th and 6th podcasts, to his statements regarding Coomer on November 9, 2020 and thereafter, to the violent
attack on democracy that occurred in Washington, D.C. on January 6, 2021.
55 See Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr. at 18:19-21:11; see also Pl.’s Amend. Compl. at ¶¶ 5, 52-53.
56 Id.; see also Ex. F-1, Malkin, July 27, 2021, PX 15; Ex. G-1, Metaxas, Aug. 13, 2021, PX 97, Tr. 3:15-25,

6:6-7:3; Ex. G-2, The Eric Metaxas Radio Show, YOUTUBE (Nov. 24, 2020).
57 See Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr. at 19:8-23; see also Pl.’s Amend. Compl. at ¶ 52.




                                                    12
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 14 of 137




I made f-ing sure of that.”58 Oltmann claimed to have subsequently determined the name

of the speaker by Google searching the terms “Eric,” “Dominion,” and “Colorado.”59

Oltmann then identified Coomer as the alleged speaker60 and accused him of “controlling

elections,” while disclosing Coomer’s name, his photograph, and his place of

employment.61 Oltmann claimed that, although he had forgotten about this alleged

conversation for the past six weeks, he had sufficient recall of the speaker’s voice to be

able to identify the speaker as Coomer. Oltmann bragged that there was “no way they can

deny” the allegations that he raised regarding Coomer. Oltmann also claimed that he was

“unable” to tell listeners how he got the information.62 Oltmann acknowledged that,

despite the fact that he was allegedly infiltrating an Antifa conference call to identify and

reveal Antifa journalists, he did not record any of the Antifa conference call. Oltmann

went so far as to claim on the November 9, 2020 podcast that Coomer wanted to kill the

president.63

       18.     In review of this publication, the substance of Oltmann’s statements alleged

that Coomer participated in this alleged Antifa conference call; that Coomer stated on this

call his intent to subvert the presidential election; and that Coomer then created


58 See Ex. B-3, Joseph Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr. at 19:24-20:7; see also Pl.’s Amend. Compl. at ¶ 52.
59 See Ex. G-2, The Eric Metaxas Radio Show, Joe Oltmann Discusses How A Security Genius at Dominion

Voting Promised Antifa Members a Trump Loss, YOUTUBE (Nov. 24, 2020); Ex. G-1, Metaxas, Aug. 13,
2021, PX 97, Tr. 8:20-25; see also Pl.’s Amend. Compl. at ¶ 52; n.74.
60 See Ex. G-2, The Eric Metaxas Radio Show, Joe Oltmann Discusses How A Security Genius at Dominion

Voting Promised Antifa Members a Trump Loss, YOUTUBE (Nov. 24, 2020); Ex. G-1, Metaxas, Aug. 13,
2021, PX 97, Tr. 8:20-9:24; see also Pl.’s Amend. Compl. at ¶¶ 6, 59; n.80, 115.
61 See Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr. at 3:8-13.
62 Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr.
63 Id.




                                                  13
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 15 of 137




vulnerabilities in the voting machine system that allowed him to actually subvert the

election. Coomer unequivocally denies these allegations.64

        19.     The sheer implausibility of the claims made by Oltmann on the November

9, 2020 Conservative Daily podcast should have given any listener numerous serious

reasons to question the veracity of his claims. Oltmann and Conservative Daily had just

spent two full shows on November 5th and 6th promoting outlandish claims of election

fraud, some of which Oltmann and Maguire had already acknowledged on air had been

fact-checked and labeled as misleading.65 Oltmann had pledged repeatedly that Biden

would not be president and that Oltmann was “going to die on this hill” of election fraud.

Then, on November 9, 2020, Oltmann claimed to have spontaneously remembered a

“smoking gun” that proved Dominion had been engaged in election fraud. Oltmann

claimed that he was able to positively identify a voice on a phone call that he heard at least

six weeks prior. Oltmann said that there were people that had provided him with access

to the information, but he refused to disclose their identity. Miraculously, in addition to

Oltmann spontaneously remembering Coomer’s involvement in the Antifa conference

call, Oltmann also simultaneously obtained a trove of Coomer’s anti-Trump Facebook

posts. Oltmann acknowledged that he did not have any recording of the Antifa conference

call. The entire story appears, on its face, to be manufactured around Coomer’s Facebook

posts, and deliberately crafted in a way to make it impossible to be verified by anyone

attempting to investigate the veracity of Oltmann’s outlandish claims of Coomer’s

involvement in the Antifa conference call.


64 See Ex. A, Coomer Dec. at ¶ 18.
65 See Ex. B-11, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 6, 2020).




                                               14
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 16 of 137




         20.       Interestingly, when Oltmann first broadcast his claims about Coomer and

the Antifa conference call, Oltmann hedged. Specifically, when he was addressing his

identification of Coomer, Oltmann prefaced his remarks by stating:

         As the call carried on, a person who called himself Eric was on the call. Now,
         I can’t tell you if it’s the same Eric, but I’m going to tell you how it led me to
         gather the rest of this information, right?
                                                ...
         And compared to what I remember hearing in his other videos, I think it’s a
         match, but I can’t be sure. So, I’m going to put that out there. But I can be
         sure of everything else I’m about to share with you, right?”
                                                ...
         “So, I - - they identified him as Eric from Dominion, but I didn’t -- I mean,
         I have to basically say that there could be -- maybe it’s a different guy, but
         that led to me to all the other things that I got, which is getting access to
         Facebook, getting access to this information.66

         21.       Further, the Conservative Daily, Oltmann and McGuire appeared to have

defamation concerns on their mind when Oltmann made his first statements about

Coomer. Specifically, Oltmann and McGuire made the following statements during the

November 9, 2020 broadcast:

         I have an attorney here in Colorado that has been advising me with other
         attorneys to tell me to be very careful to make sure that what I have is
         substance, like I can prove it.
                                                ...
         This guy’s a public figure working for Dominion. (emphasis added).67

         22.       Oltmann began repeatedly republishing these allegations against Coomer,

both individually and as a representative of FEC United, across numerous media



66 Ex. B-4, pp. 19-20, 60.
67 Id. at 7, 30.




                                                15
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 17 of 137




platforms.68 Oltmann escalated his claims against Coomer following his initial

publication on November 9, 2020. Oltmann no longer expressed any doubt that it was

Coomer on the Antifa conference call. Oltmann no longer acknowledged that he could

have been mistaken about who was on the alleged Antifa conference call. Moreover, the

range of these numerous publications reflects the incredible breadth and speed with

which malicious disinformation can be spread. Oltmann has continued to republish these

allegations against Coomer on the Conservative Daily podcast, both individually and as a

representative of SMM. At the present time, there are dozens of Conservative Daily

podcasts in the record specifically targeting Coomer.69

        23.      Oltmann has continued to republish these allegations against Coomer

across social media platforms, including Twitter, Parler, Facebook and Telegram, at times

referring to Coomer as a “liar,”70 a “terrorist,”71 or a “shitbag.”72



68 Ex. F-1, Malkin, July 27, 2021, PX 15, at 3:51; Ex. E-1, Hoft-TGP, Aug. 10, 2021, PX 86; Ex. A-1, pub. 11,

Oltmann et. al., WAKE UP! WITH RANDY CORPORON (Nov. 14, 2020) at 43:10; Ex. A-1, pub. 13, Oltmann et.
al., THE DEB FLORA SHOW (Nov. 15, 2020) at 3:40; Ex. A-1, pub. 11, Oltmann et. al., THE GATEWAY PUNDIT
(Nov. 16, 2020) at 0:15; Ex. E-1, Hoft-TGP, Aug. 10, 2021, PX 87; Ex. A-1, pub. 22, Oltmann et. al., THE
PETER BOYLES SHOW, (Nov. 17, 2020) at 24:29; Ex. A-1, pub. 23, Oltmann et. al., THE PETER BOYLES SHOW,
(Nov. 18, 2020) at 6:14; Ex. A-1, pub. 24, Ex. A-1, pub. 33, Oltmann et. al., WAKE UP! WITH RANDY CORPORON
(Nov. 21, 2020) at 30:02; Ex. I-1, Herring-OAN, July 30, 2021, PX 32 at 22:00; Ex. G-2, THE ERIC METAXAS
SHOW (Nov. 24, 2020) at 4:58; Ex. F-1, Malkin, July 27, 2021, PX 17 at 11:55; Ex. A-1, pub. 61, Oltmann et.
al., THE PROFESSOR’S RECORD, (Apr. 20, 2021), at 16:00; THE DEEP RIG (Zero Hour Alchemy, 2021); Ex. A-
1, pub. 63, Oltmann et. al., FRANK TV (May 3, 2020) at 6:18; Ex. A-1, pub. 68, Oltmann et. al., STEEL TRUTH
PODCAST (June 22, 2021); Ex. A-1, pub. 64, Oltmann et. al., THE CHUCK AND JULIE SHOW (May 5, 2020) at
28:26; Ex. A-1, pub. 72, Oltmann, Speech at Reawaken America Tour, (July 18, 2021) at 3:07; Ex. A-1, pub.
73, Oltmann et. al., INTHEMATRIXXX PODCAST (Aug. 4, 2021) at 5:09; Ex. A-1, pub. 74, Oltmann et. al., MIKE
LINDELL CYBER SYMPOSIUM (Aug. 11, 2021) at 6:34; Ex. A-1, pub. 75, Oltmann et. al., STEVE BANNON’S WAR
ROOM PODCAST (Aug. 11, 2021) at 1:35.
69 See generally, Ex. A-1, pubs. 1-4, 17, 25, 29, 35, 40, 42-51, 53-54, 56, 60, 63, 66; Ex. B-3, Oltmann, et al.,

CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-6, Oltmann et. al., CONSERVATIVE DAILY PODCAST (Dec.
28, 2020).
70 See Ex. A-1, pub. 71.
71 Id. at pub. 77.
72 See Ex. I-1, PX 46.




                                                       16
         CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 18 of 137




         24.         The nature and severity of Oltmann’s allegations—and the means through

which he allegedly obtains his information regarding Coomer—have escalated. Oltmann

has denigrated Coomer by referring to him as “trash,” “evil,” and a “sociopath;” 73 has

monitored Coomer’s activities and stated, “I have people in Salida that literally are

following him around and saying, ‘Alright, Joe. Here’s where he’s at next. Here’s where

he’s at next. I found him. He’s staying in this basement, up here. Oh, he’s at this house

now;”74 Oltmann has posted and shared photos of Coomer’s house;75 Oltmann has

encouraged his audience to harass Coomer with statements such as “I want everybody to

put on their social media account, ‘Where is Eric Coomer?;’” 76 and Oltmann has

repeatedly called for violence, including calling for the civil war, and repeatedly asserting

that Coomer could be put to death for treason.77 Oltmann has bragged about harassing

and threatening Coomer’s friends and acquaintances, demanding incriminating

information and promising retribution if they did not deliver.78 In one instance, Oltmann

claimed he called Coomer’s friend and threatened that he would “be the next person that

[Oltmann] put[s] on Twitter” if he hung up the phone.79 It is unclear the full extent of the

allegations Oltmann has made against Coomer given the quantity and scope of his

publications, which Oltmann continues to publish. However, Coomer is the person

Oltmann et al. specifically named in relation to their allegations of election fraud, making



73 Id. at pubs. 1, 19, 52, 68, 77.
74 Id. at pub. 48.
75 Id. at pub. 46.
76 See Ex. A-1, pub. 45.
77 Id. at pubs. 2-5.
78 See Ex. E-3a.
79 Id.




                                                17
         CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 19 of 137




Coomer the face of the Dominion conspiracy theory in certain media streams and across

the internet.80

         25.     Oltmann et al. have not disclosed any witness with personal knowledge that

identified Coomer on the alleged Antifa conference call.81 Oltmann et al. have no personal

knowledge of any election fraud involving Coomer.82 Oltmann et al. have not disclosed

any witness with personal knowledge of any election fraud committed by Coomer.83

Oltmann et al. have offered no evidence of election fraud committed by Coomer.84 And

Oltmann et al. have not identified any expertise in elections systems with which to identify

election fraud.85 Instead, Oltmann et al.’s allegations of fraud were based on Oltmann’s

speculation surrounding Coomer’s Facebook posts and his employment with Dominion,

neither of which include any evidence of election fraud.86 The Facebook posts themselves

are limited to Coomer’s personal and political beliefs, which do not support the allegations

made regarding election fraud.87

         26.     Oltmann et al.’s allegations are based on anonymous sources—specifically

unknown and unverified speakers on an alleged Antifa call Oltmann allegedly

infiltrated.88 Only after Coomer filed suit did Oltmann et al. claim to have personal




80 See supra n.68.
81 See Ex. B-1, Oltmann, Sept. 8, 2021 Depo. Tr. at 15:20-20:18.
82 See Ex. V-5, at 52:10-53:6.
83 Id.
84 Id.
85 See Ex. B-2, Oltmann, Sept. 8, 2021 Depo. Tr. at 140:18-22.
86 See Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020
Conservative Daily Podcast Tr.
87 See Ex. A, Coomer Dec. at ¶ 48.
88 See Ex. A-1, pub. 1.




                                                    18
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 20 of 137




knowledge of other participants on the purported call.89 However, the witnesses Oltmann

et al. directly or indirectly identified have 1) denied any knowledge of such a call, 2) denied

any knowledge of the statements Oltmann alleged occurred on the call, and 3) denied any

knowledge of Coomer on such a call.90 No other participants have come forward and

Oltmann has refused to disclose the name of his Antifa conduit that allegedly got Oltmann

on the Antifa call and listened to portions of the call. Oltmann’s claim that he only knew

his conduit by the conduit’s initials is completely incredible. 91

         27.         Oltmann et al.’s allegations regarding the alleged Antifa call itself have

varied. Oltmann at al. initially provided no explanation for how Oltmann infiltrated the

alleged Antifa call.92 Oltmann has claimed that Heidi Beedle participated in the

conference call.93 However, Heidi Beedle has stated she has no knowledge of the alleged

call or Oltmann et al.’s allegations.94 Oltmann et al. have since acknowledged Oltmann’s

claim that she was on the call was a “wild guess.” 95 Oltmann et al. now claims another

unnamed Antifa member gave Oltmann access to the call but have refused to disclose the

alleged witness’s name.96 Oltmann et al. have not identified when the purported call

occurred. On November 9, 2020, Oltmann claimed that the call took place “three weeks

ago,” which would have been approximately October 12-19, 2020.97 At other times,



89 See Ex. V-5, at 29:13-17.
90 See Ex. Q, Beedle Dec. at ¶¶ 14-15; Ex. T, Maulbetsch Dec. at ¶¶ 5-6; Ex. U, Anderson Dec. at ¶¶ 10-13.
91 See Ex. B-1, Oltmann, Sept. 8, 2021 Depo. Tr. at 11:13-22, 56:1-62:2.
92 See Ex. B-4, Nov. 9, 2020 Conservative Daily Podcast Tr. at 8:5-7.
93 Id. at 18:4-18.
94 See Ex. Q, Beedle Dec. at ¶¶ 14-15.
95 See Ex. B-1, Oltmann, Sept. 8, 2021 Depo. Tr. at 54:10-23.
96 See id. at 11:13-22, 56:1-62:2.
97 Ex. B-4, Nov. 9, 2020 Conservative Daily Podcast Tr. at 72:9-13.




                                                     19
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 21 of 137




Oltmann placed the call in mid-to late-September98 and at times stating it occurred on or

about the week of September 27, 2020.99 A screenshot Oltmann allegedly had the

foresight to take of his Google search of the terms “Eric,” “Dominion,” and “Denver

Colorado” is dated September 26, 2020, which would place the Google search before the

call.100 However, Oltmann et al.’s placement of the call changed again with the filing of

their reply in support of their special motion to dismiss. Specifically, Oltmann at al.

introduced in their reply the Declaration of John “Tig” Tiegen (Tiegen), who claims

Oltmann alleged a call occurred sometime between September 17 and September 21,

2020.101 Notably, Tiegan’s description of Oltmann’s allegations did not include Coomer,

Dominion, or election fraud, but, instead, only theories that “journalists were trying out

some propaganda.”102 Tiegen himself has no personal knowledge of an alleged call or of

Oltmann et al.’s allegations against Coomer.103 Oltmann et al. have provided no record

evidence of the call itself, such as electronic records contemporaneously made that list

identifying information such as the date, time, or method of the call.104 Instead, Oltmann

et al. have provided undated notes Oltmann alleges he took during the call (which differ

in material ways from his summary of the notes which he provided to OAN on November

10, 2020).105 Similarly, the method of communication has also changed with Oltmann




98 See Ex. B-1, Oltmann, Sept. 8, 2021 Depo Tr. at 71:10-72:15.
99 See Ex. K-1, PX 2.
100 See Ex. B-5.
101 See Oltmann et. al. Reply, at Ex. G, Dec. of Johnathan Tiegen AKA “Tig,” ¶¶ 11-14.
102 See id. at ¶ 15.
103 See id. at ¶¶ 11-15.
104 See Ex. B-1, Oltmann, Sept. 8, 2021 Depo Tr. at 71:10-72:15.
105 Compare Ex. F-2, with Ex. I-1, PX 35.




                                                    20
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 22 of 137




first alleging it was a phone call, only to now allege it was a Zoom call. 106 Moreover,

Oltmann et al. have no recording of the call despite Oltmann having allegedly accessed it

for the purpose of investigating and exposing Antifa.107

         28.      Throughout the initial Anti-SLAPP discovery period, Oltmann repeatedly

refused to disclose relevant information. Specifically, at an evidentiary hearing on July 7,

2021, Oltmann refused to disclose information about how he accessed the alleged Antifa

call. This Court found that his testimony was “evasive and not credible,” and concluded

that, for purposes of the Colorado Reporter’s Privilege, C.R.S. § 13-90-119, Oltmann’s

“statements regarding that conference call are probably false.”108 This Court then ordered

Oltmann to disclose the identity of his alleged conduit to the Antifa call.109 Oltmann

persisted in defying that order.110 Oltmann has also refused to disclose the identity of the

individual who allegedly gave him access to Coomer’s Facebook profile, again in defiance

of a Court order.111 Given Oltmann et al.’s refusal to disclose evidence ordered by the

Court, this Court ruled that it would not consider Oltmann et al.’s claims as to the source,

timing, or manner in which Oltmann received the Facebook posts or permit Oltmann et

al. to contest Coomer’s evidence or claims regarding the source, timing, or manner of

Oltmann’s receipt of information regarding Coomer’s Facebook posts.112



106 Id. at 15:18-16:1.
107 See Ex. B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Ex. B-4, Nov. 9, 2020

Conservative Daily Podcast Tr. at 19:8-20:15, 75:25-76:21.
108 See Ex. V-5, July 7, 20221 Hearing Tr. at 90:22-91:7.
109 Id. at 92:14-18.
110 See Ex. B-1, Oltmann, Sept. 8, 2021 Depo. Tr. at 11:13-22, 56:1-62:2.
111 See Ex. B-2, Oltmann, Sept. 8, 2021 Depo. Tr. at 86:5-17.
112 Id.; see also Oct. 12, 2021 Order Re: Pl.’s Second Mot. for Sanctions Against the Oltmann Defs. Pursuant

to C.R.C.P. 37.




                                                    21
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 23 of 137




          29.     Coomer unequivocally denies Oltmann at al.’s allegations. 113 Coomer has

averred under oath that he did not participate in any alleged call; he did not state an intent

to subvert the election in any alleged call; and he did not take any actions to subvert the

election.114 Coomer has put forward sworn statements of witnesses Oltmann et al. directly

or indirectly identified in relation to the alleged call that deny and refute Oltmann et al.’s

allegations.115

          30.     Coomer has provided an expert declaration which confirms that Coomer

will be able to present competent evidence showing that Oltmann et al.’s allegations of

voter fraud against Coomer were not possible as Dominion machines are not capable of

bulk adjudication and that private safeguards and multiple independent layers of security

at the local, state, federal levels all either prevent such manipulation or would make any

such attempted manipulation easily discoverable.116 Dr. Halderman, a nationally-

recognized election security expert, provided examples of how Coomer sought to improve

transparency in the vote adjudication process to make fraud easier to detect as well as

evidence that the Defendants’ vote rigging allegations were “always implausible,

consisting of wild speculation, readily debunked claims, and incoherent technical

assertions, and months of subsequent investigations and audits have both failed to

vindicate their theories and added further evidence that the election outcome was

correctly decided.”117 The Court accepts Dr. Halderman’s expert opinions for purposes of




113 See Ex. A, Coomer Dec. at ¶ 18.
114 Id.
115 See Ex. Q, Beedle Dec.; Ex. T, Maulbetsch Dec.; Ex. U, Anderson Dec.
116 See Ex. A, Coomer Dec. at ¶¶ 5-7; 40-46; see generally Ex. O, Halderman Dec.
117 See Ex. O, Halderman Dec. at ¶¶ 7 and 40-48.




                                                   22
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 24 of 137




evaluating whether Coomer is able to establish a prima facia case and the reasonable

likelihood of Coomer prevailing on his claims.

         31.      Coomer has provided a declaration from an expert criticizing and

challenging the media defendants’ investigation and reporting of Oltmann’s

allegations.118 Coomer proffered Fred Brown, Jr., as an expert on journalistic standards

and practices.119 Brown has four decades of experience both as a reporter/editor at the

Denver Post and teaching journalism to students at University of Denver.120 Brown

opined that the media defendants relied on objectively unreliable information, unreliable

sources such as Ron Watkins, unreliable affiants, and exhibited an unacceptable failure

to even attempt to verify the facts through obvious sources. 121 Brown cited examples in

his declaration of conduct that was “an affront to fundamental journalistic standards and

practice” or exhibited a clear conflict of interest.122 While Brown declined to speculate on

the parties’ subjective motivations, he opined that the media defendants’ “failure to report

on widely accepted, verifiable information that conflicts with their assumptions, may

legitimately be characterized as a reckless disregard for the truth.”123 The Court accepts

Brown’s expert opinion for purposes of evaluating whether Coomer is able to establish a

prima facia case and the reasonable likelihood of Coomer prevailing on his claims.

         32.      Coomer provided a declaration from Mike Rothschild, an author and




118 See generally Ex. N, Brown Dec.
119 See id.
120 See id. at ¶¶ 4-5.
121 See, e.g., id. at ¶¶17, 48, 128-129, and 133.
122 See id. at ¶¶ 38-44, 131.
123 See id. at ¶ 134.




                                                    23
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 25 of 137




conspiracy theorist /QAnon expert, who opined that many of the defendants perpetuated

and sponsored unsupported election fraud conspiracy theories which were consistent

with the QAnon disinformation campaign.124 The defendants’ support of the debunked

QAnon election fraud claims further supports Coomer’s contention that the publication

of defamatory statements about Coomer was part of defendants’ overall goal of

delegitimizing the 2020 election and Coomer’s civil conspiracy claims. The Court accepts

Rothschild’s expert opinion for purposes of evaluating whether Coomer is able to

establish a prima facia case and the reasonable likelihood of Coomer prevailing on his

claims.

        33.      Oltmann et al. had both political and financial motivations to delegitimize

the results of the election by defaming Coomer. Oltmann is an ardent supporter of former

president Trump and frequently advocates for conservative causes, often through FEC

United and SMM.125 Following Oltmann’s publication of claims against Coomer, his

Conservative Daily podcast gained new listeners and quickly climbed the podcast

rankings.126 Oltmann et al. have used this new exposure to promote FEC United to a wider

audience.127 Oltmann et al.’s obsession with increasing their podcast ratings through

vocalizing increased outrage and increasingly provocative, inflammatory and violent


124 See Ex. P, Rothschild Dec. at ¶¶ 81-86.
125 See Ex. C-2, Oltmann-FEC United, Sept. 9, 2021 Depo. Tr. at 8:25-9:8.
126 See Ex. D-4, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 5, 2020) (identifying podcast as #119

most popular political podcast in America), (Nov. 6, 2020) (identifying podcast as #108 most popular
political podcast in America), (Nov. 9, 2020) (identifying podcast as #81 most popular political podcast in
America), (Nov. 10, 2020) (identifying podcast as #62 most popular political podcast in America), (Nov. 14,
2020) (identifying podcast as #53 most popular political podcast in America), (Nov. 19, 2020) (identifying
podcast as #28 most popular political podcast in America), (Dec. 2, 2020) (identifying podcast as #8 most
popular political podcast in America).
127 See Ex. D-2, Oltmann-SMM, Sept. 9, 2021 Depo. Tr. at 35:23-37:14.




                                                   24
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 26 of 137




statements is evident throughout the Conservative Daily podcasts that this Court has

reviewed.

        34.      Oltmann et al. conceived of a feverish storyline regarding the results of the

presidential election designed to delegitimize the election, which is reflected in their false

allegations of elections fraud leading up to and after the election. 128 Oltmann et al.

consciously set out to conform their implausible allegations against Coomer to their

election fraud storyline and efforts to create a basis for their refusal to accept the outcome

of the presidential election. In service of their goal to improve their podcast ratings,

Oltmann et al. created and promoted a storyline that was based on Coomer’s position at

Dominion and Coomer’s Facebook posts, but which involved no other investigation into

Oltmann’s claims regarding an Antifa conference call; failed to identify witnesses with

personal knowledge of the allegations; deliberately refused to obtain corroborating

evidence in support of the allegations; blindly proceeded without consulting with experts

on election systems regarding the allegations; and avoided attempting to contact either

Coomer or Dominion to confirm the allegations.129 Instead, Oltmann et al. continued to

publish the implausible allegations even after learning both Coomer and Dominion stated

they were false.130 Similarly, Oltmann et al. rejected reports from CISA and former

Attorney General Barr regarding the legitimacy of the election.131 Oltmann et al. advanced




128 See Ex. B-8; B-9; B-10; B-11.
129 See Ex. B-1, Oltmann, Sept. 8, 2021 Depo. Tr. at 11:13-22, 56:1-62:2; Ex. A, Coomer Dec. at ¶¶ 16, 23, 34,

36.
130 See generally Ex. A-1, pubs. 47-77.
131 See Ex. D-3, Oltmann-CD Solutions, Sept. 9, 2021 Depo. Tr. at 28:23-32:2.




                                                     25
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 27 of 137




and exploited an wholly improbable132 story for financial gain.

        35.      Oltmann et al. have not retracted any of their publications about Coomer.133

Instead, they remain publicly available to this day.134

C.      Michelle Malkin

        36.      Malkin is a political commentator and the host of a program called

#MalkinLive, which was broadcast from Colorado and published on YouTube from

May 2020 until March 2021.135 She was also the host of a program on Newsmax called

“Sovereign Nation,” which has since been cancelled.136 Since November 2020, Malkin has

had roughly two million Twitter followers.137

        37.      Malkin was one of the first Defendants to interview Oltmann and publish

his statements about Coomer. On November 13, 2020, Malkin first conducted an

interview of Oltmann on #MalkinLive, which was posted on YouTube.138 The substance

of both Malkin’s and Oltmann’s statements alleged that Coomer participated in an Antifa

conference call; that Coomer stated on this call his intent to subvert the presidential

election; and that Coomer then did in fact subvert the election.139 Oltmann began the first

Malkin interview by repeating his previous statements regarding Coomer’s alleged

participation in the Antifa conference call, and Malkin stated that her interview with

Oltmann provided her audience with “information vital to the systemic stealing of the


132 There is evidence to support a strong inference that Oltmann fabricated his account.
133 See Ex. V-1, Demand for Retraction.
134 See generally Ex. A-1.
135 See Ex. F-1, PX 15; PX 17.
136 See Ex. F-1, Malkin, July 27, 2021 Depo. Tr. at 85:21-87:17.
137 Id. at 30:20-22.
138 See Ex. F-1, PX 15.
139 See Ex. F-3, #MalkinLive Tr. at 5:2-23; 15:5-11; 20:12-21:7; 26:24-27:9.




                                                     26
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 28 of 137




election.”140 Referring to Coomer’s alleged participation in the Antifa call, Malkin claimed

Oltmann “got to hear the unhinged rantings of this lunatic in charge of security at

Dominion Voting Systems.”141 After identifying Coomer as the anonymous “Eric,” Malkin

and Oltmann discussed their allegations of criminal conduct against Coomer, with

Oltmann explicitly stating that Coomer committed treason and should be put to death.142

          38.        Throughout the interview, both Malkin and Oltmann insisted they were

presenting facts. Malkin presented Oltmann as an “eyewitness account of the fraud that’s

going on”143 and noted that Oltmann had been censored by Twitter for “telling the

truth.”144 Should anyone be confused and interpret his claims as hyperbole, Oltmann

repeated that “It is truth, a hundred percent truth” 145 and that he “[was] not making any

of this up.”146

          39.        Malkin began repeatedly publishing these allegations against Coomer

across numerous media platforms including YouTube and Twitter. In two consecutive

tweets posted on November 13, 2020, Malkin posted a link to the Oltmann interview

followed by her statement, “Joe Oltmann speaks out about Dominion Systems, Antifa

radical Eric Coomer & Twitter's suspension of his account!"147 Hours later, Malkin posted

another series of tweets promoting the interview and repeating Oltmann’s claims:

          Joe Oltmann (now banned on Twitter) exposes pro-Antifa, cop-hatred
          inciting rants of #EricCoomer, VP of strategy/security of Dominion Voting

140 Id. at 2:1-9.
141 Id. at 20:12-21:7.
142 Ex. F-3, #MalkinLive Tr. at 26:24-27:9.
143 Id. at 2:23-3:9.
144 Id.
145 Id. at 13:10-19.
146 Id. at 15:5-8.
147 See Ex. A-1, pub. 6.




                                               27
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 29 of 137




        Systems. "What if I told you he is a major shareholder" in Dominion &
        "owns patents associated with other voting systems?"148

        Full interview with #joeoltmann on #ericcoomer #dominion here ==>149

        What are they trying to hide? #DominionVotingSystems" [links to now
        deleted tweet from Joey Camp]150

        40.        Throughout the following week, Malkin published multiple tweets

promoting the Oltmann interview and Coomer-related hashtags. On November 15, 2020,

Malkin wrote, “ICYMI – Dominion, Antifa, and #EricCoomer exposed by Joe Oltmann on

#MalkinLive last week.”151 On November 16, 2020, Malkin posted a link to an article from

The Gateway Pundit that identified Coomer as an “unhinged sociopath” and wrote,

“ICYMI: #ExposeDominion #WhoIsEricCoomer #JoeOltmann.”152 On November 19,

2020, Malkin published another series of tweets linking the Oltmann interview, and

stating “In case you missed it: My interview with #joeoltmann from six days ago exposing

#EricCoomer               #Antifa   #Expose   Dominion”       and      “#ExposeDominion

#ExposeEricCoomer.”153

        41.        On November 28, 2020, Malkin interviewed Oltmann on her Newsmax

program “Sovereign Nation.” Malkin introduced Oltmann to her audience by stating:

        Who has control over our elections? Who has dominion over our votes? Is it
        we the people or is it the electronic voting oligarchs? Without full election
        transparency, there can be no election peace. Next up, Denver businessman
        Joe Oltmann joins me to discuss his shocking discoveries about Dominion
        vice president of strategy and security, Eric Coomer, plus much more. Stay

148 See Ex. F-4.
149 See Ex. F-1, PX 20.
150 See Ex. F-1, PX 21.
151 See Ex. F-1, PX 22.
152 See Ex. F-1, PX 23.
153 See Ex. F-1, PX 24.




                                              28
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 30 of 137




          tuned.154

          42.    Malkin specifically invited Oltmann to discuss Coomer, stating, “I want you

to tell our audience at Sovereign Nation who exactly Eric Coomer is and why it matters in

these ongoing battles against election fraud across the country.”155 Upon review of these

publications, the substance of Malkin’s and Oltmann’s statements alleged that Coomer

participated in an Antifa conference call; that Coomer stated on this call his intent to

subvert the presidential election; and that Coomer then did in fact subvert the election.

Gone from Oltmann’s retelling was any suggestion that Oltmann could not be sure that

Coomer was the individual on the alleged Antifa conference call. Instead, Oltmann stated:

          So, Eric Coomer is the Director of Strategy and Security for Dominion
          Voting Systems. He’s also affiliated with or a part of the Antifa movement,
          and frankly, he has the ability – he has a doctorate in nuclear physics and
          has the ability to put his finger on the scale and has, I believe, put his finger
          on the scale of the election across our country.156

          43.    Despite later acknowledging that she had no working theory of how Coomer

could have rigged the election,157 Malkin emphasized the seriousness of Oltmann’s

allegations and in so doing, again accused Coomer of committing election fraud: “And the

reason why this is so alarming -- and it’s obvious, but it should be spelled out -- is that

this is one of the highest ranking officials at Dominion Voting Systems, which has

penetrated our election system across the country and of course around the world.”158

Oltmann agreed, asserting that “[Coomer] truly is the mastermind” and that “he’s a large


154 See Ex. F-1, PX 17; Ex. A-1, pub. 41.
155 Id.
156 Id.
157 See Ex. F-1, Malkin, July 27, 2021 Depo. Tr. at 73:18-25.
158 See Ex. F-1, PX 17; Ex. A-1, pub. 41.




                                                     29
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 31 of 137




shareholder in Dominion Voting Systems.”159 To date, Malkin has not put forward any

evidence in support of her statements about Coomer. Further, Malkin specifically named

Coomer in relation to her allegations of election fraud, making Coomer the face of the

Dominion conspiracy theory.160

          44.    Given Oltmann’s lack of personal knowledge, lack of expertise, and lack of

evidence in support of his allegations against Coomer, Malkin had sufficient reason to

know Oltmann was an unreliable source. Malkin testified that she had listened to

“snippets” of Oltmann’s podcast and that she was aware that he had been suspended by

Twitter prior to her interview of him.161 Oltmann’s suspension from Twitter and the

publicly available contents of Oltmann’s podcast should have informed Malkin that

Oltmann was not a credible or objective source for any first-hand report regarding

election fraud.162 Further, Oltmann had disclosed to Malkin that his allegations were

based on unknown and unverified participants on an unknown and unverified call. 163

Malkin failed to ask Oltmann about how he accessed the alleged Antifa call, 164 about the

notes he claims he took during the call,165 or about the identities of the other alleged

participants, even though these alleged participants would have been able to corroborate

or discredit Oltmann’s allegations.166 Malkin has admitted that she had not investigated



159 Id.
160 See generally Ex. F-1, PX 15; PX 17.
161 See Ex. F-1, Malkin, July 27, 2021 Depo. Tr. at 10-12.
162 Ex. B-10, Oltmann, et al., Conservative Daily Podcast (Nov. 5, 2020) and Ex. B-11, Oltmann, et al.,

Conservative Daily Podcast (Nov. 6, 2020).
163 See Ex. F-3, #MalkinLive Tr. at 4:24-5:23.
164 See generally Ex. F-3; Ex. F-1, PX 17; Malkin Mot. at Ex. A-2.
165 See Ex. F-1, Malkin, July 27, 2021 Depo. Tr. at 70:2-7.
166 Id. at 71:8-22; 126:8-20.




                                                     30
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 32 of 137




Oltmann’s allegations167 nor attempted to contact Coomer or Dominion168 or any other

alleged call participants169 before inviting Oltmann to appear on both of her programs.

          45.    Malkin conceived of a fictious storyline regarding the results of the

presidential election, which is reflected in her allegations of elections fraud leading up to

and after the election. 170 Malkin consciously set out to conform her allegations against

Coomer to that storyline, given her wholly unwarranted reliance on Oltmann, failure to

investigate, and disregard of authoritative sources rejecting all fraud allegations. 171

          46.    Malkin had both political and financial motivations to delegitimize the

results of the election. Malkin is a supporter of former president Trump172 and gained

national exposure advancing allegations of fraud in relation to the election and against

Coomer.173 Malkin’s publications were relied upon by other defendants, including

Hoft-TGP, Metaxas, OAN-Rion, and Powell et al., in publishing their own allegations

against Coomer.174

          47.    Malkin has not retracted any of her publications about Coomer, and they

remain publicly available to this day.175



167 Id. at 16:23-17:18; 29:22-30:4.
168 Id. at 70:15-22; 71:8-22; 72:7-24.
169 Id. at 126:8-20.
170 See Ex. F-5; F-6.
171 See Ex. F-1, Malkin, July 27, 2021 Depo. Tr. at 73:1-16; 109:14-110:2.
172 See generally Ex. F-1, PX 15; PX 17.
173 Id.
174 See Ex. E-1, Hoft-TGP, Aug. 10, 2021 Depo. Tr. at 30:3-15, 33:6-34:17, 37:19-38:2, 124:10-21; Ex. G-1,

Metaxas, Aug. 13, 2021 Depo. Tr. at 69:18-70:2; Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 15:21-16:1, 18:12-
19:7, 73:16-20, 81:16-82:15, 115:2-7, 116:23-117:17, 150:14-19, 160:15-23; Ex. I-1, OAN, July 30, 2021 Depo.
Tr. at 11:22-12:21, 14:6-14, 28:17-22, 30:17-19, 62:4-9; Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 10:14-21,
11:20-12:1, 15:10-18, 26:15-27:4, 41:13-16, 57:22-58:3, 65:22-66:8, 72:15-23, 73:8-15, 88:22-89:6, 92:11-22,
96:4-16, 98:10-15, 108:22-109:7.
175 See Ex. V-1, Demand for Retraction.




                                                     31
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 33 of 137




D.        James “Jim” Hoft and TGP Communications, LLC

          48.      Hoft is the founder and editor of TGP, a political website and blog

conducting business under the trade name The Gateway Pundit.176 As a founder, editor,

and contributing author, Hoft is an authorized representative for TGP.177

          49.      Shortly after the presidential election, on November 13, 2020, Hoft-TGP

began publishing articles and interviews based on Oltmann’s allegations against

Coomer.178 Hoft personally authored most of TGP’s numerous articles discussing Coomer

and approved the rest before publication.179 Upon review of these publications, the

substance of Hoft-TGP’s statements alleged that Coomer participated in an Antifa

conference call; that Coomer stated on this call his intent to subvert the presidential

election; and then did in fact subvert the election.180 Hoft-TGP’s allegations against

Coomer are first found in the article titles:

          Dominion Voting Systems Officer of Strategy and SECURITY Eric Coomer
          Admitted in 2016 Vendors and Election Officials Have Access to Manipulate
          the Vote181

          Report: Anti-Trump Dominion Voting Systems Security Chief was
          Participating in Antifa Calls, Posted Antifa Manifesto Letter to Trump
          Online182

          Denver Business Owner: Dominion’s Eric Coomer Is an Unhinged
          Sociopath – His Internet Profile Is Being Deleted and Erased183



176 See Ex. E-1, Hoft, Aug. 10, 2021 Depo. Tr. at 7:13-18; 9:8-11.
177 Id.
178 See Ex. E-1, PX 86; Ex. E-1, PX 87; Ex. E-3.
179 Id.; see also Ex. E-4-14; Ex. E-1, Hoft, Aug. 10, 2021 Depo. Tr. at 9:8-11.
180 See Ex. E-1-14.
181 See Ex. E-1, PX 86.
182 See Ex. E-1, PX 87.
183 See Ex. E-3.




                                                      32
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 34 of 137




         BREAKING: SECOND VIDEO REVEALED of Dominion Voting System’s
         Eric Coomer Explaining to Elections Officials How to Switch Votes
         (VIDEO)184

         BALD-FACED LIES: Dominion Says Assertions of Vote Switching Are
         ‘Completely False’ – But We Have Two Videos of Dominion Executive Eric
         Coomer Showing How to Switch Votes185

         Developing: Dominion’s Anti-Trump Executive Eric Coomer Owns Patents
         on Adjudication Process That Investigators Found Skimmed Votes from
         Trump in Michigan186

         WAKE UP AMERICA! Bold Billionaire Offers $1 Million Bounty for
         Dominion’s, Eric Coomer’s Comeuppance187

         50.        The articles themselves are replete with similar allegations. On November

14, 2020, Hoft-TGP stated that Coomer participated in “Antifa Calls” and relied on the

November 13, 2020 #MalkinLive interview in alleging that Oltmann infiltrated an Antifa

call and discovered Coomer’s participation.188 On November 16, 2020, Hoft-TGP restated

Oltmann’s previous allegations but went on to state that Coomer is “mentally ill and a

sociopath,” “an unhinged Trump hater and Antifa supporter,” and a “lunatic.”189

Hoft-TGP made similar statements again on December 27, 2020.190                    Hoft-TGP

specifically named Coomer in relation to their allegations of election fraud, making

Coomer the face of the Dominion conspiracy theory.191

         51.        Hoft-TGP repeatedly imputed criminal conduct to Coomer. On November



184 See Ex. E-4.
185 See Ex. E-8.
186 See Ex. E-10.
187 See Ex. E-11.
188 See Ex. E-1, PX 87.
189 See Ex. E-3.
190 See Ex. E-10.
191 See generally Ex. E-1-14.




                                                33
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 35 of 137




27, 2020, Hoft-TGP published photos and videos of Coomer alongside statements like

“Dominion Voting Systems is in a panic as more and more Americans learn of their role

in stealing the 2020 election from President Donald Trump.”192 On December 17, 2020,

Hoft-TGP published an article entitled “More on Dominion Voting Machines: They Could

Easily Duplicate Votes and Security Threats Were Virtually Ignored” that included

statements like “there may be a good case for perjury” against Coomer.193 On December

28, 2020, Hoft-TGP published an article alerting its readers to a “bounty” for Coomer’s

“comeuppance” and stating that Coomer “can be seen in training videos explaining to

users ‘adjudication’ functions on the vote machine that could allegedly be used to alter

votes, singularly or in bulk, if a nefarious user chose to do so.”194 This video does not

support the allegations made against Coomer and, instead, appears intentionally edited

to include only limited and misleading excerpts of a longer presentation.195 Coomer has

put forward evidence these excerpts are misleading and do not accurately describe the

adjudication process or its purpose.196 On January 4, 2021, Hoft-TGP published another

photo of Coomer alongside statements describing the updates to Georgia’s voting

machines as “illegal.”197

          52.       Hoft-TGP and Oltmann have insisted they were presenting facts. On

November 13, 2020, Hoft-TGP stated that “Joe Oltmann did a deep dive on Eric Coomer”




192 See Ex. E-8.
193 See Ex. E-9.
194 See Ex. E-11.
195 Id.
196 See Ex. A, Coomer Dec. at ¶¶ 5-7; see also Ex. O, Halderman Dec. at ¶¶ 35-48.
197 See Ex. E-1, PX 88.




                                                    34
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 36 of 137




and described Oltmann as the only one “investigating [Dr.] Coomer, his far left

background and his role at Dominion.”198 In an audio interview on November 16, 2020,

Hoft said to Oltmann: “You have information that’s truthful and should be released and

is very much, there’s nothing wrong with it and they’re going to just shut you down

because you’re exposing absolute fraud.”199

        53.         Hoft-TGP’s articles and interviews about Coomer were published on TGP’s

website, as well as republished across other media platforms.200 To date, Hoft-TGP have

not put forward any evidence in support of their statements about Coomer.201

        54.         Given Oltmann’s lack of personal knowledge, lack of expertise, obvious lack

of credibility, and lack of evidence in support of his allegations against Coomer, Hoft-TGP

had sufficient reason to know Oltmann was an unreliable witness. Oltmann had disclosed

to Hoft-TGP that his allegations were based on unknown and unverified participants on

an unknown and unverified call.202 Oltmann admitted on his own podcast that he could

not be positive that Coomer was the Eric speaking on the Antifa call. Yet Hoft-TGP relied

almost exclusively on Oltmann as their only source and admitted that they have never

attempted to find corroborating evidence.203 Hoft-TGP never attempted to contact

Coomer, asked to see the notes Oltmann claims he took during the call, or asked about

the identities of the other alleged participants.204



198 See Ex. E-1, PX 86.
199 See Ex. E-3a.
200 See Ex. F-1, PX 23; see also See Ex. I-1, PX 33.
201 See Ex. E-1, Hoft, Aug. 10, 2021 Depo. Tr. at 46:15-17; 51:6-10.
202 See Ex. E-3a.
203 See Ex. E-1, Hoft, Aug. 10, 2021 Depo. Tr. at 32:17-33:6.
204 Id. at 20:25-21:22, 32:13-24; 50:4-7.




                                                       35
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 37 of 137




        55.      Hoft-TGP conceived of a storyline regarding the results of the presidential

election, which is reflected in their allegations of elections fraud leading up to and after

the election.205 Hoft-TGP consciously set out to conform their allegations against Coomer

to that storyline, given their unreasonable reliance on Oltmann, failure to investigate, and

disregard of authoritative sources rejecting all fraud allegations. Hoft-TGP financially

benefitted from this conduct as their post-election coverage resulted in increased

subscriptions, increased advertising revenue, and notoriety as a pro-Trump grassroots

leader.206 Hoft-TGP have not retracted any of their publications about Coomer, and they

remain publicly available to this day.207

E.      Eric Metaxas

        56.      Metaxas is the host of the radio program and podcast called The Eric

Metaxas Radio Show. He views himself as a “variety show host” type of figure and

acknowledges that there are no journalistic standards for his show and neither he nor his

staff does anything to research or vet the reliability or veracity of the guests or information

he puts forth on his program.208 Metaxas is employed by Salem Media, which broadcasts

his program on various media networks and platforms across the United States. 209 A

video version of The Eric Metaxas Radio Show is published on YouTube.210

        57.      On November 24, 2020, Metaxas interviewed Oltmann on The Eric Metaxas




205 Id. at 62:18-64:11; 66:19-69:21.
206 See Ex. E-1, Hoft, Aug. 10, 2021 Depo. Tr. at 73:4-74:20.
207 See Ex. V-1, Demand for Retraction.
208 See Ex. G-1, Metaxas, Aug. 13, 2021 Depo. Tr. at 11-16.
209 See Pl.’s Resp. to Metaxas 12(b)(2) Mot. at Coomer Dec., at ¶¶ 6, 9.
210 See Ex. G-1, PX 97 at 15:18-23.




                                                     36
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 38 of 137




Show during a segment called “Joe Oltmann Discusses How A Security Genius at

Dominion Voting Promised Antifa Members a Trump Loss.”211 The substance of both

Metaxas’s and Oltmann’s statements alleged that Coomer participated in an Antifa

conference call; that he stated on this call his intent to subvert the presidential election;

and that he then did in fact subvert the election.212 These statements started almost

immediately as Metaxas introduced the segment: “Eric Coomer also seems to be so

viciously, insanely anti-Trump that Eric Coomer of Dominion is also involved with Antifa.

We just thought we’d get Joe Oltmann to tell the story.”213 Oltmann repeated his previous

statements regarding Coomer’s alleged participation in the Antifa conference call.214

Oltmann continued, “We were dealing with a person that could put his finger firmly on

the American voice and tip the scale of the election very easily, and that frankly he was

doing it.”215 Not only did Metaxas endorse Oltmann’s allegations, he went on to claim

Coomer is “pro-Antifa, despises not just Donald Trump, but it seems to me if you’re pro-

Antifa, despises America.”216 Metaxas continued, comparing Coomer to the Unabomber

and “Marxist shock troops” and implying he is evil, anti-American, and “flirt[s] with

insanity and violence.”217 Metaxas specifically named Coomer in relation to his allegations

of election fraud, making Coomer the face of the Dominion conspiracy theory.218

         58.         Metaxas went on to state Coomer had engaged in criminal conduct:

         Well, there’s levels of stupidity and evil and we know that not everybody is

211 See Ex. G-2; Ex. G-1, PX 97 at 2:8-17.
212 See Ex. G-1, Metaxas, Aug. 13, 2021 Depo. Tr. at 5:7-8:6; 14:7-16; 28:22-29:23.
213 Id. at 2:8-16.
214 Id. at 5:7-8:6.
215 Id. at 14:7-16.
216 Id. at 11:6-8.
217 Id. at 15:2-9.
218 See generally Ex. G-1, Metaxas, Aug. 13, 2021 Depo. Tr.; Ex. G-2.




                                                    37
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 39 of 137




         on the same level, that there are some people that they just hate Trump but
         then there are other nefarious actors like Mr. Coomer and others who, you
         know, they’re -- it’s hard to know what to say other than there is wickedness,
         there is evil here because nothing that they’re doing, even if you hate Trump,
         I have many friends who hate Trump, but they would never do what we’re
         talking about. What we’re talking about is evil. In fact, let’s just say this. It’s
         extremely criminal and these folks know they’re going to go to jail for the
         rest of their lives.219
                                           ...

         Eric Coomer, has he gone into hiding? What is he thinking? Does he know
         he’s going to go to prison for the rest of his life?220

         59.      During the interview, Oltmann repeatedly alleged that he was presenting

facts: “[T]his isn’t all made up. This isn’t hyperbole that we’re just throwing out there.

This is absolute fact.”221 Metaxas emphasized the alleged significance of Oltmann’s claims

to the wider narrative of election fraud surrounding the 2020 election:

         The idea that anyone would dare to try to mess with our elections, many
         patriots have died, suffered and died so that we could have what we have,
         and I cannot think of anything more despicable and more worthy of our
         doing everything we can, including give our lives if necessary to fight for
         this. And so that’s why I’m so glad to be speaking with you and getting this
         information out. People need to understand. I keep saying we need a
         thousand Paul Revere’s to get this information out. This is utterly
         unacceptable. There’s no way that anyone will accept the presidency of Joe
         Biden under this black cloud now unless they can prove that this was a fair
         election, there is no way the American people with all this evidence coming
         out are going to accept it.222

         60.      Metaxas went on to promote the November 24, 2020 interview on Twitter,

where he included a link to the interview and wrote, “Today Joe Oltmann explained how

after infiltrating Antifa he bumped into someone working w/them named Eric Koomer


219 See Ex. G-1, Metaxas, Aug. 13, 2021 Depo. Tr. at 28:22-29:10.
220 Id. at 26:13-16.
221 Id. at 28:14-16.
222 Id. at 22:8-24.




                                                    38
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 40 of 137




[sic] – who was the head of Security and Safety at #Dominion – and who PROMISED the

Antifa folks that “effing” Trump WOULD NOT WIN! Please RT.”223

        61.        Given Oltmann’s lack of personal knowledge, partisanship and obvious lack

of credibility as a first-hand fact witness, lack of expertise, and lack of evidence in support

of his allegations against Coomer, Metaxas had sufficient reason to know Oltmann was an

unreliable witness. Oltmann had disclosed to Metaxas that his allegations were based on

unknown and unverified participants on an unknown and unverified call. 224 Metaxas

failed to ask Oltmann about how he accessed the alleged Antifa call, about the notes he

claims he took during the call, or about the identities of the other alleged participants,

even though these participants would have been allegedly able to corroborate Oltmann’s

allegations.225 Metaxas knew what Oltmann intended to discuss on his show but admitted

that he had not investigated Oltmann’s allegations226 nor attempted to contact Coomer or

Dominion or any other alleged call participants before inviting Oltmann to appear on his

program. 227

        62.        Metaxas conceived of a storyline regarding the results of the presidential

election, which is reflected in his allegations of elections fraud leading up to and after the

election.228 For example, on November 7, 2020, soon after the election was called for

President Biden, Metaxas had already claimed that “If an election bears signs of fraud –




223 See Ex. G-5.
224 See Ex. G-1, PX 97 at 5:7-8:6.
225 See Ex. G-1, Metaxas, Aug. 13, 2021 Depo. Tr. at 28:5-19.
226 Id. at 21:10-23:11-20.
227 Id. at 28:5-19; 30:3-20.
228 See Ex. G-9; Ex. G-5.




                                                    39
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 41 of 137




so that the will of the people was thwarted – it is not an official election. STAY TUNED.

And pray. This is absolutely not over, despite what some seem to think. The American

people will not roll over.”229 Metaxas consciously set out to conform his allegations

against Coomer to this storyline, given his unreasonable reliance on Oltmann, failure to

investigate, and disregard of authoritative sources rejecting all fraud allegations. 230

          63.    Metaxas had both political and financial motivations to delegitimize the

results of the election. Metaxas is a supporter of former president Trump231 and sought

national attention advancing allegations of fraud in relation to the election and against

Coomer.232

          64.    Metaxas has not retracted any of his publications about Coomer, and they

remain publicly available to this day.233

F.        OAN and Chanel Rion

          65.    Herring Networks, Inc. owns and operates OAN, a national conservative

news network with bureaus in San Diego and Washington D.C. 234 Charles Herring and

the Herring family own OAN and exercise direct control over the content published by

OAN.235 Rion is OAN’s Chief White House Correspondent.236 Rion produces and hosts

program specials that are nationally broadcast on OAN and often posted on Rion’s




229 Id.
230 See Ex. G-1, Metaxas, Aug. 13, 2021 Depo. Tr. at 39:15-25; 46:19-47:1; 73:21-74:21.
231 See generally Ex. G-1; G-2.
232 See generally Ex. G-1; G-2; G-3; G-4; G-5; G-6; G-7; G-8; G-9.
233 See Ex. V-1, Demand for Retraction.
234 See Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 63:25-65:2; 66:19-67:6.
235 See Ex. I-1, OAN, July 30, 2021 Depo. Tr. at 10:17-11:6; see also Ex. R, Golingan Dec. at ¶¶ 5, 14; Ex. C.
236 See Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 30:20-25.




                                                     40
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 42 of 137




personal website and YouTube.237 Rion began working for OAN in 2019238 and has no

formal journalism training.239

          66.    OAN was one of the first entities that Oltmann reached out to with his

claims about Coomer. On the morning of November 10, 2020, the day after Oltmann

originally published his allegations against Coomer on the Conservative Daily, he

informed OAN that he had “massive amounts of information on Eric Coomer.” 240 In a

follow up email that same afternoon, Oltmann wrote, “Now I want to start [sic] that I

cannot verify on this call that it is the same Eric but let me tell you as I jotted down notes

what I discovered.”241 In this same follow-up email, Oltmann indicates that he has notes

from the alleged Antifa call, and he describes what some of his notes say. 242 Within days,

Oltmann was in contact with Rion, who was preparing a story on Dominion Voting

Systems.243 Rion did not know who Coomer was at the time and had to familiarize herself

with his role at Dominion.244 On November 15, 2020, Rion told Oltmann that she was

“working with Rudy [Giuliani] and Sidney [Powell]” and that she “would like to include

[him] in the special.”245

          67.    On November 17, 2020, Rion tweeted #EricCoomer alongside “Trump




237 Id.
238 Id. at 30:10-19.
239 Id. at 29:10-14.
240 See Ex. I-1, PX 34.
241 See Ex. I-1, PX 35.
242 The notes, as described by Oltmann in this email (PX 35), do not match the handwritten notes that

Oltmann has produced in this litigation (Ex. F-2).
243 See Ex. I-1, PX 37.
244 See Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 115:2-23.
245 See Ex. I-1, PX 37.




                                                     41
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 43 of 137




won’t win. I made F***ing sure of that.”246 The tweet attached another tweet from Ron

Watkins, former administrator of the online message board 8chan, that claimed

Dominion’s voting software “Allows staff to adjust tally based on review of scanned ballot

images.”247 On November 21, 2020, Rion tweeted again, this time promoting her program

“Dominion-izing the Vote” and claiming that the FBI should have been investigating

Dominion employees.248

          68.    OAN broadcast Rion’s “Dominion-izing the Vote” on November 21, 2020.249

This program was an “H Story” required by Charles Herring to be given priority

broadcasting.250 The report included an interview with Ron Watkins, who OAN-Rion

claimed was a “large systems technical analyst”, misleadingly implying that he had

experience with voting machine systems. Watkins stated that “your vote doesn’t matter

in these districts with the Dominion machines in them, because these 2-6 people trained

by Dominion have ultimate control.” OAN-Rion concluded the Watkins segment by

wondering aloud, “to what extent was this actually designed by the top, on purpose?” 251

This segue led into an interview with Oltmann that focused on Coomer.

          69.    In the pre-recorded interview, OAN-Rion introduced Oltmann by stating,

“Joe, you infiltrated an antifa conference call this past September and accidentally came

upon a top Dominion Voting Systems executive named Eric Coomer. Describe your call

and what it led you to find.” Oltmann then proceeded to repeat his claims about Coomer,



246 See Ex. I-1, PX 33.
247 Id.
248 See Ex. A-1, pub. 32.
249 See Ex. I-1, PX 32.
250 See Ex. R, Golingan Dec. at ¶ 14; Exs. A-E.
251 See Ex. I-1, PX 32.




                                                  42
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 44 of 137




specifically that Coomer was on an Antifa conference call, that Coomer stated on that call

that he had rigged the election, and that Coomer did in fact rig the election. Rather than

challenge Oltmann’s allegation that Coomer “tipped the scales of the election,” Rion

stated, “In Coomer’s case, he was in a position of power to actually act on his rage against

Trump and Trump voters. What does he mean when he says ‘Trump won’t win. I made f-

ing sure of that? Nothing?”252 Referencing Coomer, Rion went on to state that Dominion’s

“antifa drenched engineers are hell bent on deleting half of America’s voice.” 253 OAN-Rion

named Coomer in relation to their allegations of election fraud, making him the face of

the Dominion conspiracy theory.254

          70.    On November 24, 2020, OAN again used its official Twitter account to

promote the Rion interview with Oltmann: “Dominion executive: Trump is not going to

win. I made f***ing sure of that. [YouTube link] via @YouTube @ChanelRion #OANN.” 255

          71.    Given Oltmann’s lack of personal knowledge, partisanship and obvious lack

of credibility as a first-hand fact witness, the contradictions between Oltmann’s own

November 10th description of his notes of the Antifa call and handwritten notes ultimately

produced by Oltmann, Oltmann’s lack of expertise in election security matters, and his

lack of evidence in support of his allegations against Coomer, OAN-Rion had sufficient

reason to know Oltmann was an unreliable witness. Oltmann had disclosed to OAN-Rion

that his allegations were based on unknown and unverified participants on an unknown



252 Id.
253 Id.
254 See id.
255 See Ex. A-1, pub. 38.




                                             43
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 45 of 137




and unverified call,256 and he had explicitly stated that he could not confirm whether or

not the “Eric” on the alleged call was actually Coomer.257 OAN-Rion failed to ask Oltmann

about how he accessed the alleged Antifa call,258 about the notes he claims he took during

the call, or about the identities of the other alleged participants, even though these

participants would have been allegedly able to corroborate Oltmann’s allegations. 259 OAN

was aware that there was no video or audio recording of the call 260 and that Oltmann

claimed to have accessed the Antifa call through Heidi Beedle, yet ignored her as a

potential source to corroborate Oltmann’s allegations.261 Rion failed to verify the

credibility of her sources for “Dominion-izing the Vote,” including Ron Watkins.262 Rion

has admitted that she had not investigated Oltmann’s allegations nor attempted to

contact Coomer or Dominion263 or any other alleged call participants264 before inviting

Oltmann to appear on OAN. OAN published the “Dominion-izing the Vote” segment,

knowing it was false.265

          72.    OAN-Rion conceived of a storyline regarding the results of the presidential

election, which is reflected in their allegations of elections fraud leading up to and after

the election.266 To this end, OAN reporters worked closely with Giuliani and the Trump




256 See Ex. I-1, PX 35.
257 Id.
258 See Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 78:21-79:5.
259 Id. at 79:22-80:17; 80:23-81:15; 84:1-13.
260 See Ex. I-1, OAN, July 30, 2021 Depo. Tr. at 21:20-22:9.
261 Id. at 27:17-23; 32:24-34:5.
262 See Ex. R, Golingan Dec. at ¶ 11; see generally Exhibit P, Rothschild Dec.
263 See Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 89:13-90:20.
264 Id. at 80:8-81:15.
265 See Ex. R, Golingan Dec. at ¶¶ 5, 12-15, 17.
266 See Ex. I-2; I-3; I-4; Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 40:11-41:21.




                                                      44
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 46 of 137




Campaign, with any reporting by OAN reporter, Christina Bobb, being subject to the

Trump Campaign’s express approval.267 OAN-Rion maliciously and consciously set out to

conform their allegations against Coomer to that storyline, concealing their wholly

unreasonable reliance on Oltmann, failure to investigate, and disregard of authoritative

sources rejecting fraud allegations.

         73.         OAN-Rion had political and financial motivations to delegitimize the results

of the election. OAN-Rion sought national exposure promoting support for former

president Trump and in advancing allegations of fraud in relation to the election and

against Coomer.268

         74.         OAN-Rion has not retracted any of their publications about Coomer, and

they remain publicly available to this day.269

G.       Sidney Powell, Powell, P.C., and Defending the Republic

         75.         Powell is an attorney practicing out of Dallas, Texas. 270 Powell, P.C. is

Powell’s law firm.271 Defending the Republic is a Texas-based 501(c)(4) corporation

directed and represented by Powell and Powell, P.C.272 Powell formed Defending the

Republic as a fundraising organization and website in order to solicit donations to fund

her election-related litigation.273



267 See Ex. H-1, Rion, Aug. 9, 2021 Depo. Tr. at 30:4-20.
268 See generally Ex. A-1, pub. 32, 38; Ex. I-1, PX 32-33.
269 See Ex. V-1, Demand for Retraction.
270 See Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 25:1-3, 115:17.
271 Id. at 8:9-12.
272 See Ex. L-1, DTR, Aug. 4, 2021 Depo. Tr. at 13:10-17, 14:11-13.
273 In a November 10, 2020 appearance on Lou Dobbs’ show, Powell directed viewers to DTR’s website

stating, “I’m starting a website called DefendingtheRepublic.org where people can donate to the fund
because I want this fraud fully prosecuted on behalf of the voters and the American people.”




                                                      45
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 47 of 137




        76.        Throughout the relevant time period, Powell interchangeably acted

individually and on behalf of the Trump Campaign, Defending the Republic, and

Powell, P.C.274 Former president Trump tweeted on November 14, 2020 that Powell was

on the legal team, and Giuliani introduced her as a part of the team at the November 19,

2020 press conference.275 When asked whether she was working with Giuliani at that

time, Powell’s response was “Yes and no.”276

        77.        A Defending the Republic website appears to have been established as early

as November 10, 2020, and was promoted on Fox News’ Lou Dobbs Tonight on November

10, 2020.277 The site was used to solicit funds for Powell’s litigation, which included

generating Oltmann’s affidavit regarding Coomer.278 While Powell testified that she was

representing Powell, P.C. in her legal efforts to overturn the election, she hoped to be paid

from Defending the Republic donations at some point.279

        78.        On November 19, 2020, the Trump Campaign provided an update on its

legal challenges to the election from the Republican National Committee in Washington,

D.C.280 Among those who spoke at the press conference were personal attorneys for

former president Trump and then attorneys for the Trump Campaign, Powell, Giuliani,

and Jenna Ellis.

        79.        Upon review of this publication, the substance of Powell’s statements


274 Id.; see also Ex. M-3; Ex. K-1, PX 5 (identifying Powell as “Attorney for President Trump”).
275 See Ex. K-1, PX 6, PX 3.
276 See Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 21:10-19.
277 See Ex. L-2.
278 See, e.g., Ex. K-5 (promoting the “Kraken” suits in Georgia and Michigan, referring to Powell as the

“KRAKEN RELEASER”, and seeking donations to Defending the Republic as a 501(c)(4) organization).
279 See Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 98:21-99:4; 101:16-102:1.
280 See generally Ex. K-1, PX 3.




                                                     46
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 48 of 137




alleged that Coomer participated in an Antifa conference call, that the call was recorded,

that Coomer stated he had rigged the election for Joe Biden and was “going to f- Trump,”

and that Coomer had in fact rigged the election.281 Powell also alleged incorrectly that

Coomer was a member of Smartmatic.282

          80.      As the press conference continued, Powell continued making other

allegations about Dominion and Smartmatic, saying that “people can [ ] go in and change

whatever they want,” and that the ratio of votes could be weighted by the use of an alleged

algorithm.283 Powell declared that votes were “injected into the machine.”284 Powell made

numerous allegations about hacking, mentioning another algorithm for “vote-

flipping.”285 Powell also appeared to refer to the video of Coomer explaining the

adjudication process, falsely stating there was video of “him” admitting that they changed

a million votes with no problem.286 Coomer is the only person Powell specifically named

during her speech, making him the face of the Dominion and Smartmatic conspiracy

theory.287

          81.      On November 20, 2020, Newsmax host Howie Carr interviewed Powell on

“The Howie Carr Show.”288 During that interview, Carr asked Powell whether Coomer had

actually stated: “Don’t worry about President Trump, I already made sure that he’s going

to lose the election.” Powell responded by asserting the alleged facts were true: “Yes, it’s


281 See Ex. K-1, PX 3 at 35.
282 Id.
283 See Ex. K-1, PX 3 at 32:4-33:3.
284 Id. at 33:9-13.
285 Id. at 33:1-34:22; see also Ex. E-1, PX 86.
286 See Ex. K-1, PX 3 at 34:23-35:1.
287 See generally Ex. K-1, PX 3.
288 See Ex. K-4.




                                                  47
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 49 of 137




true. We have an affidavit to that effect, and I think we have a copy of the call.”289 Powell

also closed her appearance by implying that Coomer had committed a crime: “It’s called

a confession in a courtroom, it’s called a confession.”290

          82.        The same day, Powell appeared on Fox News’ Mornings with Maria

Bartiromo where she alleged she had “Eric Coomer admitting on tape that he rigged the

election for Biden and hated Trump.”291 Powell also alleged she had pictures of Coomer

“in other countries helping people rig elections,” that Coomer had a long history of doing

so, and that “I’m sure that it’s for money.”292

          83.        Powell had sufficient reason to know Oltmann was an unreliable witness.

During her deposition, Powell stated that she learned of the accusations against Coomer

from the #MalkinLive interview with Oltmann and Oltmann’s affidavit. 293 Oltmann

disclosed in that interview his lack of personal knowledge, experience, and evidence as

well as his personal motivations. Further, to this day, Powell cannot articulate what role

Coomer would have played in any election fraud.294 Instead, she referred to Coomer as a

“gnat in the tsunami of information that was being thrown at me.”295

          84.        Powell believed she was provided Oltmann’s affidavit by Jenna Ellis, who

was working with Giuliani.296 Powell claimed she was unaware that Joe Oltmann hosted

a podcast or had advanced election fraud disinformation in favor of former president


289 Id.
290 Id.
291 See Ex. K-1, PX 5.
292 See Id.
293 See Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 10:14-22, 15:10-16:10.
294 Id. at 12:2-9; 13:2-8; 97:10-17.
295 Id. at 13:16-17.
296 Id. at 30:2-4.




                                                     48
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 50 of 137




Trump.297 Powell did not ask Oltmann how Coomer would have influenced the outcome

of the election.298 Powell did not vet Oltmann’s affidavit or its contents other than

watching his interview with Malkin.299 The only thing Powell claims to have known about

Oltmann was what was in that interview and his affidavit.300 Powell never reached out to

Coomer to verify any information regarding her allegations.301

         85.       Instead, Powell et al. conceived of a storyline regarding the results of the

presidential election, which is reflected in their allegations of the elections fraud leading

up to and after the election. Powell et al.’s allegations regarding Coomer and Dominion

were very similar to allegations Powell had made prior to the election regarding a program

called “Hammer and Scorecard” that would have allegedly been able to switch 3% of the

national presidential election vote total.302 Further, Powell et al.’s allegations of fraud

immediately after the election continued to advance similar allegations of fraud before

focusing on Coomer and Dominion.303

         86.       When discussing her unfounded claims of election fraud, Powell neglected

to read any of the sources rebutting accusations of election fraud, such as the CISA report,

the Michigan report, or the statements of Attorney General Barr.304

         87.       Powell et al. had both political and financial motivations to delegitimize the




297 Id. at 125:22-126:20.
298 Id. at 14:21-15:2.
299 See id. at 27:15-28:18.
300 Id. at 32:3–34:4.
301 Id. at 58:4–19.
302 See id. at 104:21-107:10.
303 See Ex. K-6.
304 See Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 94:12-96:3.




                                                     49
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 51 of 137




results of the election. Powell is a supporter of former president Trump. 305 Powell et al.

gained national exposure advancing allegations of fraud in relation to the election and

against Coomer.306 Powell et al.’s allegations accompanied and furthered her efforts to

raise funds for Defending the Republic.307

        88.      Powell et al. have not retracted any of their publications about Coomer, and

they remain publicly available to this day.308

H.      Rudolph Giuliani

        89.      Giuliani is an attorney that was licensed in the state of New York with his

practice based in New York City.309 He served as the U.S. Attorney for the Southern

District of New York, the mayor of New York City, and as an authorized representative for

Donald Trump as well as the Trump Campaign.310

        90.      On November 19, 2020, Giuliani appeared with Sidney Powell at the

Republican National Convention, where Powell published statements (described above)

against Coomer and Dominion.311 Giuliani introduced himself and Powell, stating “This is

representative of our legal team. We are representing President Trump and we’re

representing the Trump Campaign.”312 Giuliani explained that Powell’s statements would

follow his, indicating a collective message by the legal team. 313 Giuliani added his


305 See generally Ex. K-1, PX 3.
306 See Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 102:7-16.
307 See, e.g., Ex. K-5 (promoting the “Kraken” suits and seeking donations on behalf of Defending the

Republic as a 501(c)(4) organization).
308 See Ex. V-1, Demand for Retraction.
309 See Ex. V-2, New York Bar Association Opinion re Giuliani.
310 See Giuliani Mot. at 2; see also Ex. K-1, PX 3 at 3:12-14.
311 See generally Ex. K-1, PX 3; see also Ex. K-1, Powell, July 20, 2021 Depo. Tr. at 64:1-16.
312 See Ex. K-1, PX 3 at 3:12-14.
313 Id. at 3:14-21.




                                                     50
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 52 of 137




statements to Powell’s, including allegations that Coomer was a “vicious man” that was

“close to Antifa,” “biased” against former president Trump, and who had not only

indicated an intent to “fix the election” but committed a crime in relation to it.314 Giuliani

emphasized, “I’ve tried a hundred cases. I prosecuted some of the most dangerous

criminals in the world. I know crimes. I can smell them. You don’t have to smell this one.

I can prove it to you 18 different ways.”315 Upon review of this publication, the substance

of the statements alleged that Coomer participated in an Antifa conference call; that he

stated on this call his intent to subvert the presidential election; and that he then did in

fact subvert the election. Giuliani specifically named Coomer in relation to his allegations

of election fraud, making Coomer the face of the Dominion conspiracy theory.316

         91.         Giuliani had ample reason to know his information regarding Coomer was

unreliable and false. Prior to making statements regarding Coomer at the November 19,

2020 press conference, Giuliani spent virtually no time investigating Coomer or the Antifa

call.317 When asked what his theoretical attorney bill would be on “Coomer time” before

the November 19th press conference, Giuliani stated, “Before the press conference, gosh

almighty, I bet it’s not an hour.”318

         92.         Giuliani testified that he relied on Col. Phil Waldron (Waldron) of Allied

Security Operations Group (ASOG) for his information on Coomer.319 ASOG had




314 Id. at 49:14-50:7.
315 Id. at 50:1-4.
316 See generally Ex. K-1, PX 3.
317 See Ex. J-1, Giuliani, Aug. 14, 2021 Depo. Tr. at 47:3-18.
318 Id. at 45:19-20.
319 Id. at 41:7-43:9, 46:14-50:17.




                                                      51
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 53 of 137




performed a forensic audit of voting tabulators in Antrim County, Michigan, which was

debunked by the Michigan Senate Oversight Committee.320 The information Giuliani

acquired from Waldron appears to be derived from Oltmann’s allegations against

Coomer, as the substance of the statements is substantially the same.321 Giuliani testified

he had a four-minute conversation with Waldron regarding Coomer.322 Giuliani was told

that there was a recording of the Antifa call and there were “a couple of witnesses” who

could corroborate the story. From there, Giuliani alleges to have read some media reports

about Coomer and some of his social media posts.323

         93.      This was the extent of Giuliani’s investigation regarding the accusations he

made about Coomer. Giuliani never spoke to Oltmann (who he referred to as Olzheimer

in his deposition);324 did not have any information as to whether Oltmann was credible

(or not);325 never tried to listen to the (non-existent) recording he thought actually

existed;326 did not try to talk to the other “Antifa people” on the call;327 does not recall

reviewing Oltmann’s notes of the alleged call;.328 did not reach out to Coomer or

Dominion;329 and had access to research by the Trump Campaign’s communications

department but did not receive a copy of the research on Coomer or Dominion.330




320 See Ex. B-2, Oltmann, Sept. 8, 2021, PX 107 at 15.
321 See Ex. J-1, Giuliani, Aug. 14, 2021 Depo. Tr. at 40:10-44:5, 44:23-45:9.
322 Id.; see also Ex. A-1 at pub. 75.
323 See Ex. J-1, Giuliani, Aug. 14, 2021 Depo. Tr. at 47:19-55:12.
324 Id. at 60:18-61:18.
325 Id. at 120:8-20.
326 Id. at 133:6-11.
327 Id. at 133:12-19.
328 Id. at 133:20-134:8.
329 Id. at 134:9-15.
330 Id. at 134:16-136:20.




                                                      52
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 54 of 137




Instead, Giuliani has stated on multiple occasions that he was allegedly constrained by

time and was unable to conduct his own investigation of Coomer.331

        94.      Giuliani discounted any official sources that found there was no evidence of

widespread election fraud. He discounted CISA even though he was on the cybersecurity

advisory committee when CISA was created; he called CISA’s election security report a

“totally phony report”; and he said the Department of Homeland Security was afraid to

investigate the fraud claims.332

        95.      Likewise, Giuliani discounted the Trump Campaign’s internal memo which

found no basis for any of the allegations regarding Coomer, calling it a “corporate

document” and explaining that there were members of the Trump Campaign who were

trying to undermine his efforts because “they wanted Trump to lose because they could

raise more money.”333 Giuliani further stated that the Trump Campaign was trying to keep

things from him and undermine the litigation, citing to alleged Republication National

Convention memos and internal Trump Campaign memos telling campaign officials not

to cooperate with Giuliani and Jenna Ellis.334

        96.      In his deposition, Giuliani stated that if Coomer had rigged the election it

would have been a crime and likely would have been in concert with Dominion. 335

Generally, throughout his deposition, Giuliani continued to maintain the validity of his

various election fraud theories involving Dominion, Smartmatic, and Sequoia; the


331 See, e.g., Ex. J-1, Giuliani, Aug. 14, 2021 Depo. Tr. at 120:8-122:13.
332 Id. at 160:11-161:15, 164:21-165:24.
333 Id. at 159:9-160:7.
334 Id. at 139:14-144:20.
335 Id. at 58:10-22.




                                                       53
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 55 of 137




existence of “fugazi” voting machines; fraud in various battleground states; and the same

theories that lead to the suspension of his law license in New York.336 But, when asked for

his theory on Coomer’s participation in this fraud, Giuliani stated, “I mean I could guess

but it would not be an educated guess.”337 Ultimately, Giuliani filed no litigation involving

Coomer.338

          97.    Giuliani had political motivations to delegitimize the results of the election.

Giuliani is a supporter of former president Trump.339 Giuliani sought national attention

by advancing allegations of fraud in relation to the election and against Coomer.340 When

Giuliani was asked why he felt he needed to speak about Coomer at the press conference

(as opposed to saying nothing), Giuliani replied:

          It was my obligation at that time to give the public all the facts that I had
          because we had had an unprecedented three weeks of censorship unheard
          of in the United States which had followed three months of censorship on
          the Hunter Biden hard drive, which the American people elected a president
          without knowing the complete evidence of how he was engaged for 30 years
          of taking bribes through his son, which his son spells out in great deal in the
          hard drive and the American people have never seen it. . . .341

In other words, Giuliani’s decision to spread Oltmann’s story regarding Coomer was not

based on any sort of legitimate purpose, but rather was in response to his grievances

regarding the lack of media coverage regarding Hunter Biden.

          98.    Further, Giuliani conceived of a storyline regarding the results of the




336 Id. at 71:19-83:20, 104:9-108:4.
337 Id. at 83:21-84:3 (emphasis added).
338 Id. at 108:16-109:7.
339 See generally Ex. K-1, PX 3.
340 Id.
341 See Ex. J-1, Giuliani, Aug. 14, 2021 Depo. Tr. at 124:8-125:22.




                                                     54
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 56 of 137




presidential election, which is reflected in his allegations after the election. Giuliani

collaborated with other parties in early efforts to contest election results even before his

allegations against Coomer. Giuliani was at the White House on election night on

November 3, 2020.342 After an Oval Office meeting with former president Trump on

November 4, 2020, Giuliani took over the Trump Campaign’s legal team.343

          99.     Immediately after Joe Biden was declared the winner of the presidential

election on November 7, 2020, Giuliani appeared at a press conference in front of Four

Seasons Total Landscaping to make multiple accusations of voter fraud.344 Giuliani

alleged that votes for Trump had “disappeared,” and that Philadelphia had a “history of

voter fraud,” even including alleged dead voters.345 Giuliani then consciously set out to

conform his allegations against Coomer to this manufactured storyline of election fraud.

          100.    Giuliani cooperated with OAN reporter, Christina Bobb (Bobb), in his

efforts to contest the election results. Prior to the November 19 th press conference, Bobb

was approved as part of the Trump Campaign’s legal team through Giuliani’s

connections.346 Giuliani had gotten to know OAN’s president, Charles Herring, “very well”

when Rion and OAN did a documentary with Giuliani on “Ukrainian collusion.” 347

Giuliani agreed with Charles Herring about the terms of Bobb’s placement on the Trump

Campaign’s legal team, which included Giuliani approving when Bobb could report on




342 Id. at 168:21-24.
343 Id. at 27:6-28:3.
344 See Ex. M-1, PX 65.
345 Id.
346 See Ex. J-1, Giuliani, Aug. 14, 2021 Depo. Tr. at 30:4-20.
347 Id. at 88:3-13.




                                                     55
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 57 of 137




information obtained while working for Giuliani. 348

        101.       Giuliani has not retracted his publications regarding Coomer, and they

remain publicly available to this day.349

I.      Trump Campaign

        102.       The Trump Campaign is a corporation organized for the purpose of electing

Donald Trump president. Following the 2020 presidential election, the Trump Campaign

allowed Giuliani to assume control over much of its public messaging and legal efforts to

subvert the campaign results.350 In the beginning, that control included cooperation with

Powell.351 Former president Trump tweeted on November 14, 2020 that Powell was on

his legal team.352

        103.       On November 17, 2020, Eric Trump, who the Trump Campaign refers to as

its “surrogate speaker,” retweeted a story from Hoft-TGP stating that Coomer said “Don't

worry about the election, Trump's not gonna win. I made f*cking sure of that!”353 By

November 12, 2020, former president Trump himself tweeted the allegation that

Dominion had “deleted 2.7 million Trump votes Nationwide.”354 These allegations

continued despite CISA’s joint statement with other governmental entities issued on

November 12, 2020 that “[t]here is no evidence that any voting system deleted or lost

votes, changed votes, or was in any way compromised.” 355 Former president Trump


348 Id. at 89:23-91:22, 93:23-94:3.
349 See Ex. V-1, Demand for Retraction.
350 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 44:8-10; 47:8-15.
351 See Ex. K-1, PX 6; PX 3.
352 See Ex. M-3.
353 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 58:12-15; PX 69.
354 See Ex. M-1, PX 66.
355 See Ex. M-1, PX 67.




                                                  56
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 58 of 137




retweeted Rion’s story “Dominion-izing the Vote” on November 21, 2020.356

          104.    On November 19, 2020, Giuliani appeared with Powell at the Republican

National Convention for a press conference as authorized representatives on behalf of the

Trump Campaign.357 The substance and gist of Giuliani and Powell’s statements at the

press conference alleged that Coomer participated in an Antifa conference call; that he

stated on this call his intent to subvert the presidential election; and that he then did

subvert the election.

          105.    Powell went on multiple nationally televised news programs before and

after the November 19, 2020 press conference to repeat the allegations regarding

Coomer.358 During these programs Powell was identified as a representative of the Trump

Campaign.359

          106.    Shortly after the election, Giuliani and his legal team set up their offices in

Trump Campaign headquarters, where he would coordinate efforts to contest the election

results and promote election fraud narratives.360 During this time, the Trump Campaign

itself had done research debunking many of the allegations by Giuliani and Powell, but

the Trump Campaign did not widely share this information. After Giuliani moved into the

Campaign headquarters, the Trump Campaign neglected its prior internal processes for

distribution of information. According to Trump Campaign representative Sean Dollman:

          So when Mr. Giuliani came in as legal – or as a lawyer, he – he and his team
          took over a conference room. And we spent, I mean, years setting up an

356 See Ex. M-1, PX 70; Ex. M-1, PX 71.
357 See generally Ex. K-1, PX 3.
358 See, e.g., Ex. K-1, PX 5.
359 Id.
360 Id. at 44; see also Ex. J-1, Giuliani, Aug. 14, 2021, Depo. Tr. at 29:22-30:25.




                                                      57
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 59 of 137




        internal process of where documents would go, who sees them, and then
        making sure that people review them, and approvals.

        But when Mr. Giuliani came in with his team, the – that whole approval
        chain, that whole – everything pretty much went out the window.361

        107.    The Trump Campaign had reason to know the allegations against Coomer

were false and unreliable. Prior to the press conference on November 19, 2020, the Trump

Campaign performed its own research into the accusations regarding Coomer and

Dominion. In the only email chain produced by the Trump Campaign, Zach Parkinson

requested researchers look into the accusations regarding Dominion, stating: “Let’s cut

this off at 10:30. Have more dead voters we’ll need to get to in the morning.”362

        108.    The memo produced by the Trump Campaign shows that the Trump

Campaign found there was no evidence to support the conspiracy theories regarding

Dominion and Coomer. That memo found in part: “Dominion and Smartmatic Are

Independent Companies that Split from Each Other in 2012”; “Dominion Has Not [Sic]

Direct Ties to Venezuela”; “There Is No Evidence That Dominion’s CEO Or Any Other

Leader Of The Group Has Ties to Antifa”; and “There is no evidence Coomer is a member

or has any ties to Antifa.”363

        109.    The memo itself purportedly never made it to Giuliani, even though Giuliani

continued to make public statements regarding Coomer and allegations of election

fraud.364 Giuliani, Powell, and Eric Trump continued to allege Coomer and Dominion


361 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 44:8-10, 47:8-15.
362 See Ex. M-1, PX 68 at TC-01.
363 See Ex. M-1, PX 68 at TC-03-04.
364 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 62:19-63:24; see also Ex. J-1, Giuliani, Aug. 14,

2021 Depo. Tr. at 162:13-163:24.




                                                    58
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 60 of 137




were to blame for election fraud without acknowledging the Campaign’s own research

debunking those theories.365

          110.   The Trump Campaign made no effort to correct statements made by

Giuliani and Powell, and as late as August 2021, the Trump Campaign stated that “at this

point in time, . . . [they] were still investigating and trying to get facts together.”366 The

Trump Campaign also claimed to be unaware that Oltmann, the source of Giuliani’s and

Powell’s allegations regarding Coomer, was the host of a conservative podcast who had

held rallies in support of President Trump and made allegations of election fraud even

before the election.367 Giuliani and Powell performed virtually none of their own research

into Oltmann or verifying the statements they made at the November 19 th press

conference.368

          111.   The Trump Campaign conceived of a false storyline regarding the results of

the presidential election, as reflected in its allegations leading up to and immediately

following the election, in an effort to spread political disinformation aimed at

undermining faith in democracy. As early as July 2020, former president Trump stated

in an interview with Fox News: “I think mail-in voting is going to rig the election. I really

do.”369 The Trump Campaign’s efforts to contest the election results as fraudulent began

immediately after election day, even before Coomer became a subject of those efforts. In

the early morning hours of November 4, 2020, before the total votes were ever counted,


365 Id.
366 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 38:10-16.
367 Id. at 38:6-39:19.
368 See supra at ¶¶ 85-88, 93-98.
369 Ex. M-1, Trump Campaign, Aug. 9, 2021; PX 62, at 24.




                                                  59
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 61 of 137




former president Trump announced “This is a fraud on the American public. This is an

embarrassment to our country. We were getting ready to win this election. Frankly, we

did win this election.”370 Former president Trump also tweeted in part: “We are up BIG,

but they are trying to STEAL the Election. We will never let them do it.”371

        112.    As late as August 9, 2021, the Trump Campaign representative, Sean

Dollman, could only explain that immediately after the election, the Trump Campaign

“felt like” there was “some type of fraud,” but still could not give detail on why they

believed there was fraud, and admitted they were still “looking into the facts” at the

time.372

        113.    Despite still reportedly “looking into the facts,” on November 7, 2020,

Giuliani appeared at a press conference in front of Four Seasons Total Landscaping to

make his first accusations of voter fraud.373 Giuliani alleged that votes for former

president Trump had “disappeared,” and that Philadelphia had a “history of voter fraud,”

even including alleged dead voters.374 The Trump Campaign never made any effort to

correct statements made by Giuliani, and stated in August 2021 that “at this point in time,

. . . [they] were still investigating and trying to get facts together.”375

        114.    The Trump Campaign had political and financial motivations to

delegitimize the results of the election. The Trump Campaign maintained national



370 See Ex. M-1, PX 65.
371 Ex. M-1, PX 64.
372 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 25:6-20; 29:19-24.
373 Ex. M-1, PX 65.
374 Id. This same reference to dead voters was made in Zach Parkinson’s email to the research team

requesting information on the Dominion and Coomer allegations.
375 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 38:10-16.




                                                  60
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 62 of 137




exposure by advancing allegations of fraud against Coomer while garnering political

support.376 The Trump Campaign continues to raise funds to support its efforts to contest

the election results and to pay Trump Campaign debt.377 Regarding these fundraising

efforts, Trump Campaign representative Sean Dollman testified:

            I think there was a lot of people within the United States that were –
            wanted answers and wanted to entrust their funds and their money to
            the campaign, to look into it, right?

            They had nowhere – not nowhere else to turn, but the President and the
            campaign was an entity they put their donations and money behind
            before.378

        115.    While the Trump Campaign filed a number of lawsuits challenging the

election results, none alleged Coomer had any role in changing the election results.379

Nevertheless, the Trump Campaign never made any retraction or clarification regarding

defamatory statements by its agents or representatives.380

        116.    Even as late as August 9, 2021, the Trump Campaign maintained that there

was some kind of election fraud but could not state why.381 The Campaign representative

stated the Campaign believed the election was the result of fraud because they “have no

underlying definite facts that it wasn’t.”382 The Campaign has not articulated in any




376 See generally Ex. K-1, PX 3.
377 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 30:11-13; 32:19-24; see also Ex. M-2, Trump

Campaign, Aug. 13, 2021 Depo. Tr. at 46:20-47:5 (admitting fundraising efforts likely involved challenging
election results).
378 See Ex. M-1, Trump Campaign, Aug. 9, 2021 Depo. Tr. at 73:1-7.
379 Id. at 25:10-18.
380 Id. at 32:21-33:3. When asked whether anyone at the Trump Campaign asked Giuliani to stop making

allegations regarding Dominion or Coomer, the Trump Campaign’s representative said he could not answer
due to privilege. Id. at 17:15-18:17.
381 Id. at 27:5-11.
382 Id. at 74:19-75:6.




                                                   61
          CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 63 of 137




manner how Coomer had anything to do with the alleged election fraud. The

Trump Campaign continues to take the position that the election was the result of fraud

but has presented absolutely no facts in support of that claim, and no idea how Coomer

could have aided in alleged election fraud.383 The Trump Campaign has not retracted its

publications regarding Coomer, and they remain publicly available.384

J.        Coomer’s injuries and damages

          117.   As a direct consequence of Defendants’ false statements, Coomer faced an

onslaught of harassment, threats of violence, and credible death threats against himself

and his family.385 The conduct of Defendants, separately and collectively, has caused

Coomer severe emotional distress, including anxiety and depression requiring medical

treatment.386 Defendants’ conduct has destroyed Coomer’s ability to continue working

in elections, resulting in lost wages and other negative harm.387

                                      LEGAL FRAMEWORK

A.        The Anti-SLAPP Statute

          118.   In 2019 the Colorado General Assembly enacted C.R.S. § 13-20-1101 (the

“Anti-SLAPP Statute”). Because the statute is relatively new and untested, Colorado

courts look to the more well-established body of authority interpreting the California law

for guidance since the Anti-SLAPP Statute “tracks California’s statute almost exactly.” See

Stevens v. Mulay, No. 19-cv-01675-REB-KLM, 2021 WL 1153059, at *2 n. 7 (D. Colo.




383 Id.
384 See Ex. V-1, Demand for Retraction.
385 See Ex. A, Coomer Dec. at ¶¶ 19-20, 53; see generally Ex. W, Bania Dec.
386 See Ex. A, Coomer Dec. at ¶ 53.
387 Id.




                                                   62
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 64 of 137




2021); compare C.R.S. § 13-20-1101 (2019), with CALIF. CODE OF CIV. PROC. § 425.16.

       119.   Anti-SLAPP laws serve a limited purpose—to dismiss frivolous claims

targeting constitutional rights. These laws were enacted specifically to combat strategic

lawsuits against public participation (“SLAPP”). They are intended to enable courts to

dismiss frivolous cases brought with the intent to chill a person’s constitutional rights.

FilmOn.com Inc. v. DoubleVerify Inc., 439 P.3d 1156, 1160 (Cal. 2019). They provide a

procedural mechanism invoked in limited circumstances early in a case for the purpose

of dismissing meritless claims. See Baral, 376 P.3d at 608 (Cal. 2016) (“The Anti-SLAPP

statute does not insulate defendants from any liability for claims arising from the

protected rights of petition or speech. It only provides a procedure for weeding out, at an

early state, meritless claims arising from protected activity”) (emphasis in original).

However, they do not bar meritorious claims.

       120.   Colorado enacted its Anti-SLAPP statute to prevent the “abuse of the

judicial process.” C.R.S. § 13-20-1101(1)(a) (2019).

       121.   An additional purpose of the Anti-SLAPP Statute is “to encourage and

safeguard the constitutional rights of persons to petition, speak freely, associate freely,

and otherwise participate in government to the maximum extent permitted by law.”

C.R.S. § 13-20-1101(1)(b). However, the statute expressly requires courts to

simultaneously “protect the rights of persons to file meritorious lawsuits for

demonstrable injury.” Id.

       122.   Under the statute, “[a] cause of action against a person arising from any act

of that person in furtherance of the person’s right of petition or free speech under the




                                            63
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 65 of 137




United States constitution or the state constitution in connection with a public issue is

subject to a special motion to dismiss . . .” C.R.S. § 13-20-1101(3)(a) (2019) (emphasis

added).

       123.   An “act of [a] person in furtherance of [a] person’s right of petition or free

speech under the United States constitution or the state constitution in connection with

a public issue” as that phrase is used in the statute shall be referred to herein as a

“protected act.” That statute states that protected acts include:

       (a) Any written or oral statement or writing made before a legislative, executive,
           or judicial proceeding or any other official proceeding authorized by law;

       (b) Any written or oral statement or writing made in connection with an issue
           under consideration or review by a legislative, executive, or judicial body or
           any other official proceeding authorized by law;

       (c) Any written or oral statement or writing made in a place open to the public or
           a public forum in connection with an issue of public interest; or

       (d) Any other conduct or communication in furtherance of the exercise of the
           constitutional right of petition or the constitutional right of free speech in
           connection with a public issue or an issue of public interest.

       C.R.S. § 13-20-1101(2)(a) (2019) (emphasis added).

       124.   A protected act is any statement, conduct or communication in furtherance

of a person’s exercise of their constitutional rights of petition or free speech in connection

with a public issue or an issue of public interest.

B.     Burdens of Proof

       125.   When a defendant has engaged in protected activity, the burden shifts to the

plaintiff to establish “that there is a reasonable likelihood that the plaintiff will prevail on

the claim.” C.R.S. § 13-20-1101(3)(a) (2019).




                                              64
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 66 of 137




       126.   The California Court of Appeals has described this two-step analysis under

the Anti-SLAPP Statute as follows:

       When a party moves to strike a cause of action under the anti-SLAPP law, a
       trial court evaluates the special motion to strike by implementing a two-
       prong test: (1) has the moving party made a threshold showing that the
       challenged cause of action arises from protected activity, and, if it has, (2)
       has the non-moving party demonstrated that the challenged cause of action
       has minimal merit by making a prima facie factual showing sufficient to
       sustain a judgment in its favor?

       Trinity Risk Mgmt., LLC v. Simplified Lab. Staffing Sols., Inc., 59 Cal. App. 5th

995, 1003-1004, 273 Cal. Rptr. 3d 831, 837-838 (Cal. Ct. App. 2021), review denied (Apr.

21, 2021).

       127.   The term “prima facie” evidence means evidence that is sufficient to

establish a fact unless disproved or rebutted. See Application for Water Rts. of Well

Augmentation Subdistrict of Cent. Colo. Water Conservancy Dist., 435 P.3d 469, 475

(Colo. 2019), quoting Black’s Law Dictionary (10th ed. 2014). To meet this burden, a

plaintiff must adduce admissible evidence – not merely allegations in the complaint or

conclusory statements by counsel. See Finton Constr., Inc. v. Bidna & Keys, APLC, 238

Cal. App. 4th 200, 213, 190 Cal. Rptr. 3d 1, 12 (Cal. Ct. App. 2015).

       128.   A plaintiff can prevail against an Anti-SLAPP motion only if he

demonstrates “that there is a reasonable likelihood that [he] will prevail on the claim.”

C.R.S. § 13-20-1101(3)(a) (2019). The statute provides that in making its determination

of a special motion to dismiss, “the court shall consider the pleadings and supporting and

opposing affidavits stating the facts upon which the liability or defense is based.”

C.R.S. § 13–20–1101(3)(b) (2019). Thus, to “defeat an anti-SLAPP motion, [the party




                                            65
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 67 of 137




asserting the claim] must overcome any substantive defenses that exist.” Trinity Risk

Mgmt., LLC, 273 Cal. Rptr. 3d at 840.

C.    Plaintiff’s Burden to Prevail Against Anti-SLAPP Motion

      129.   As a division of this Court has noted, “section 1101(3)(a) clearly establishes

a burden on a plaintiff at the outset of a case – which is higher than a Rule 12(b)(5)

plausibility test.” Salazar v. Public Trust Institute, Case No. 2021CV33689, Denver,

Colorado District Court (March 10, 2021 Order, p. 4).

      130.   This Court concurs with Judge Myers’s analysis in Salazar, supra, that a

plaintiff’s burden under the Anti-SLAPP Statute is higher than the Rule 12(b)(5)

plausibility test. Thus, the plausibility test set forth in Bell Atl. Corp. v. Twombly, 550

U.S. 544 (2007) and Warne v. Hall, 373 P.3d 588 (Colo. 2016) is not applicable at this

stage of the proceedings. To prevail against an Anti-SLAPP motion, a plaintiff need

demonstrate more than mere plausibility of his claims. He must demonstrate that he has

a reasonable likelihood of prevailing on those claims. The applicable standard is

summarized in Mindys Cosmetics, Inc. v. Dakar, 611 F.3d 590 (9th Cir. 2010):

      Reasonable probability in the anti-SLAPP statute has a specialized
      meaning. The statute requires only a minimum level of legal sufficiency and
      triability. Indeed, the second step of the anti-SLAPP inquiry is often called
      the “minimal merit” prong. To establish minimal merit, the plaintiff need
      only “state and substantiate a legally sufficient claim.” Put another way, the
      plaintiff must demonstrate that the complaint is both legally sufficient and
      supported by a sufficient prima facie showing of facts to sustain a favorable
      judgment if the evidence submitted by the plaintiff is credited. . . . The
      applicable burden is much like that used in determining a motion for
      nonsuit or directed verdict, which mandates dismissal when no reasonable
      jury could find for the plaintiff. The court does not weigh the credibility or
      comparative probative strength of competing evidence, but should grant the
      motion if, as a matter of law, the defendant’s evidence supporting the




                                            66
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 68 of 137




      motion defeats the plaintiff’s attempt to establish evidentiary support for
      the claim.

      Id., 611 F.3d at 598–99 (9th Cir. 2010) (internal citations and quotations omitted).

      131.   When a plaintiff bears a heightened burden of proof, a court must take that

heightened burden into account when determining whether the plaintiff has a reasonable

likelihood of prevailing. As Judge Myers concluded, “[t]he precise question the court must

ask [in determining an Anti-SLAPP motion] is whether a jury properly instructed on the

law, including any applicable heightened fault and proof requirements, could reasonably

find for the claimant on the evidence presented.” Salazar, supra, at p. 9, quoting

Competitive Enter. Inst. v. Mann, 150 A.3d 1213, 1236 (D.C. 2016), as amended (Dec. 13,

2018); see also Ampex Corp. v. Cargle, 27 Cal. Rptr. 3d 863, 871 (Cal. App. 2005) (courts

must consider the pertinent burden of proof in ascertaining whether the plaintiff has

shown a probability of prevailing on anti-SLAPP motion).

      132.   As discussed below, in defamation cases involving public issues Anti-SLAPP

statutes require plaintiffs to prove actual malice by clear and convincing evidence. In

Christian Research Inst. v. Alnor, 148 Cal. App. 4th 71 (2007), the court described the

burden placed on plaintiffs as follows:

      Judges, as expositors of the Constitution, must independently decide
      whether the evidence in the record is sufficient to cross the constitutional
      threshold that bars the entry of any judgment that is not supported by clear
      and convincing proof of ‘actual malice.’ Accordingly, a reviewing court is not
      bound to consider the evidence of actual malice in the light most favorable
      to respondents or to draw all permissible inferences in favor of respondents.
      To do so would compromise the independence of our inquiry. The
      constitutional responsibility of independent review encompasses far more
      than an exercise in ritualistic inference granting. Independent review is
      applied with equal force in considering whether a plaintiff has established a




                                           67
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 69 of 137




       probability of demonstrating malice by clear and convincing evidence in
       opposing an anti-SLAPP motion.

Id., at 86 (internal citations omitted).

D.     The Anti-SLAPP Statute Applies Because Defendants’ Statements
       About Coomer Involved Matters of Public Concern

       133.   For the Anti-SLAPP Statute to apply, the allegedly harmful statements must

have been made in furtherance of a person’s right of free speech “in connection with a

public issue.” C.R.S. § 13-20-1101(3)(a) (2019). Where a statement relates to a matter of

public concern, the defamed party is subject to heightened burdens of proof. These are:

(1) the defamed party must prove the falsity of the statement by clear and convincing

evidence, rather than by a mere preponderance; (2) the defamed party must prove that

the speaker published the statement with actual malice—that is, with actual knowledge

that the statement was false or with reckless disregard for whether the statement was true;

and (3) the defamed party must establish actual damages to maintain the action, even if

the statement is defamatory per se. McIntyre v. Jones, 194 P.3d 519, 523-24 (Colo. App.

2008); see Diversified Mgmt., Inc. v. Denver Post, Inc., 653 P.2d 1103, 1106–09 (Colo.

1982); see also Keohane v. Stewart, 882 P.2d 1293, 1304 (Colo. 1994).

       134.   The boundaries of public concern cannot be readily defined but must be

determined on a case-by-case basis. Lawson v. Stow, 327 P.3d 340, 346 (Colo. App.

2014). Generally, a matter is of public concern whenever “it embraces an issue about

which information is needed or is appropriate,” or when “the public may reasonably be

expected to have a legitimate interest in what is being published.” Williams v. Cont'l

Airlines, Inc., 943 P.2d 10, 17 (Colo. App. 1996) (quoting in part Lewis v. McGraw–Hill

Broad. Co., 832 P.2d 1118, 1121 (Colo. App. 1992)); see also City of San Diego v. Roe, 543



                                            68
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 70 of 137




U.S. 77, 83–84 (2004) (“public concern is something that is a subject of legitimate news

interest; that is, a subject of general interest and of value and concern to the public at the

time of publication”).

       135.   Generally, a matter is of public concern whenever “it embraces an issue

about which information is needed or is appropriate,” or when “the public may reasonably

be expected to have a legitimate interest in what is being published.” Shoen v. Shoen, 292

P.3d 1224, 1229 (Colo. App. 2012); Smiley’s Too, Inc. v. Denver Post Corp., 935 P.2d 39,

42 (Colo. App. 1996).

       136.   Conversely, the mere fact that the press is attracted to a particular person

or activity does not make that person a public figure or that activity a matter of public

concern. See Diversified Mgmt., Inc., 653 P.2d at 1106–09; Saro Corp. v. Waterman

Broad. Corp., 595 So.2d 87, 89 (Fla. Dist. Ct. App. 1992) (where media defendant created

controversy, transmission repair shop accused of recommending unnecessary repairs

held to be a “private claimant”); Smiley's Too, Inc., 935 P.2d at 41.

       137.   Broadly speaking, courts have recognized that safeguarding elections is a

matter of public concern. See Mauff v. People, 123 P. 101, 103 (Colo. 1912) (“It is a matter

of general public concern that, at all elections, such safeguards be afforded.”); see Johnson

v. Bradley, 4 Cal. 4th 389, 409 (Cal. 1992) (the integrity of the electoral process, at both

the state and local level, is undoubtedly a statewide concern.); Burroughs v. United

States, 290 U.S. 534, 545 (1934) (the importance of a presidential election “cannot be too

strongly stated”).




                                             69
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 71 of 137




       138.   More recently, in Curling v. Raffensperger, 493 F. Supp. 3d 1264 (N.D. Ga.

2020), the court specifically held that the issues of voting machine security in the 2020

election were matters of public interest. Specifically, the court stated: “Amidst the many

other serious concerns facing the public in this challenging era, issues surrounding

election system security, reliability, fairness, and the correct counting of votes continue

on the forefront of citizen concerns.” Id. at 1268.

       139.   As relevant to defamation standards, it is the matter or issue being

discussed, not the specific individual referenced, that must be a matter of public interest.

       If a matter is a subject of public or general interest, it cannot suddenly
       become less so merely because a private individual is involved, or because
       in some sense the individual did not ‘voluntarily’ choose to become
       involved. The public’s primary interest is in the event; the public focus is
       on the conduct of the participant and the content, effect, and significance of
       the conduct, not the participant’s prior anonymity or notoriety.

Rosenbloom v. Metromedia, Inc., 403 U.S. 29, 43 (1971).

Colorado courts have expressly adopted Rosenbloom. See Diversified Mgmt., Inc., 653

P.2d at 1110 and Walker v. Colorado Springs Sun, Inc., 538 P.2d 450 (1975).

       140.   Citing Quigley v. Rosenthal, 327 F.3d 1044 (10th Cir. 2003), Plaintiff argues

that because his employer is a private company and he is privately employed, his

purported actions in his role as Director of Product Strategy and Security is not a matter

of public concern. The Court is not persuaded. Instead, this case is more akin to Spacecon

Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028 (10th Cir. 2013). In Spacecon the

defendant made a documentary in which he alleged the plaintiff had engaged in ethnically

discriminatory labor practices. The plaintiff argued that the film did not involve a matter

of public concern because its statements were made in a private context against a private




                                            70
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 72 of 137




company. The Spacecon court noted that Colorado courts have held a statement involves

a matter of public concern “if its message has the potential to impact many members of

the public or the public as a whole.” Id. at 1036, citing Diversified Mgmt., Inc., 653 P.2d

at 1108 (Colo. 1982) (public contained a number of potential buyers who had interest in

alleged land fraud); and Lewis, 832 P.2d 1118 (Colo. App. 1992) (public had interest in

racially discriminatory policies of private retailer). The court then held that the

defendant’s statements did involve a matter of public concern because “[l]ike in

Diversified Management, the public includes current and potential employees, business

owners, and government officials who have an abiding interest in matters discussed in

the film.” Id. at 1037. The court also noted that the form of the statements (screening of

film in context of discussion regarding significant social issues) indicated the film was not

published in a purely private context. Id. The Spacecon court distinguished Quigley,

noting that in Quigley the allegations were not made against a company with which the

general public had contact and thus exposure to discrimination and abuse. Here, Coomer

worked for a company which supplied and serviced voting machines utilized by members

of the public.

       141.      On March 26, 2020, the HBO documentary Kill Chain premiered. (Ex. 911).

The parties stipulated to the Court’s review of this documentary and the Court has done

so. The Court has considered the statements in Kill Chain not for the truth of the matters

asserted, but for the purpose of ascertaining whether a concern regarding security of

voting machines was a “public issue” or “an issue of public importance” prior to the

Defendants’ publication of their allegedly defamatory statements in November 2020. Kill




                                             71
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 73 of 137




Chain addressed potential election security vulnerabilities and contained interviews

regarding this issue with Senators James Lankford (R-OK), Mark Warner (D-VA), Ron

Wyden (D-OR) and Amy Klobuchar (D-MN), all of whom expressed reservations about

certain voting machine vulnerabilities.

       142.   In this case, the Defendants’ statements concerning Coomer’s alleged

involvement in election fraud fall within the holding of Spacecon because those

statements related to existing public concerns about security of voting machines and thus,

their statements have “the potential to impact many members of the public or the public

as a whole.” Accordingly, the Court concludes that Defendants’ statements regarding

Coomer’s alleged participation in election fraud relate to a matter of public concern.

E.     Public Person

       143.   Following the reasoning in Diversified Management, Inc., supra at 1107,

the Court concludes that Coomer was not a public figure. While Coomer participated in

activities that were in the public view, such as demonstrating voting machine capabilities

to various governmental bodies or being called to testify in judicial proceedings, there is

no indication that Coomer ever sought media attention or thrust himself into a particular

controversy. See Hutchinson v. Proxmire, 443 U.S. 111, 135 (1979) (fact that press was

attracted to appellants’ activities does not make them public figures); cf. DiLeo v.

Koltnow, 613 P.2d 318 (Colo. 1980) (police officer was limited public figure because he

actively sought press coverage of the controversy surrounding his termination).

F.     Elements of Defamation Claim

       144.   The elements of a cause of action for defamation are: (1) a defamatory




                                            72
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 74 of 137




statement concerning another; (2) published to a third party; (3) with fault amounting to

at least negligence on the part of the publisher; and (4) either actionability of the

statement irrespective of special damages or the existence of special damages to the

plaintiff caused by the publication. McIntyre v. Jones, 194 P.3d 519, 523–24 (Colo. App.

2008).

       145.   If the alleged defamatory statement involves a matter of public concern

or a public figure, the plaintiff must also prove the statement was made with “actual

malice.” Rosenbloom v. Metromedia, Inc., 403 U.S. 29 (1971). Colorado courts have

expressly adopted Rosenbloom. See Walker v. Colorado Springs Sun, Inc., 538 P.2d 450

(1975); Diversified Mgmt., Inc. v. Denver Post, Inc., 653 P.2d 1103, 1110 (Colo. 1982).

G.     The First Amendment Implements a Profound Commitment to Robust
       Debate

146.   The First Amendment implements a “profound national commitment to the

principle that debate on public issues should be uninhibited, robust, and wide-open.”

New York Times v. Sullivan, 376 U.S. 254, 270 (1964). The protection offered by the First

Amendment is at its strongest for speech on matters of public concern. Snyder v. Phelps,

562 U.S. 443, 452 (2011). “[S]peech on public issues occupies the highest rung of the

hierarchy of First Amendment values and is entitled to special protection.” Id., 562 U.S.

at 452 (quoting Connick v. Myers, 461 U.S. 138, 145 (1983) (internal quotation marks

omitted)).

H.     The Actual Malice Standard Applies

       147.   The actual malice standard applies in this case because, as discussed above,

the Defendants’ statements about Plaintiff, if they were to be believed, related to a matter




                                            73
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 75 of 137




of public concern, namely voting machine vulnerabilities. Where statements involve “a

matter of public concern,” the plaintiff cannot prevail absent proof, by clear and

convincing evidence, “that the defendant published the defamatory statement with actual

malice.” See Lewis v. McGraw-Hill Broad. Co., 832 P. 2d 1118, 1122-23 (Colo. App. 1992).

I.     The “Actual Malice” Standard Requires Reckless Disregard for the
       Truth

       148.   At common law, actual malice was shown by ill will, evil or corrupt motive,

intention to injure, hatred, enmity, hostility, or spite. Carson v. Allied News Co., 529 F.2d

206 (7th Cir. 1976). However, in the post-New York Times v. Sullivan world of

defamation, the term has taken on a new meaning and has become a term of art to provide

a convenient shorthand for the New York Times standard of liability. Id.

       149.   Except for requiring that it be shown with convincing clarity, New York

Times v. Sullivan did not define “actual malice” beyond saying that it was “with

knowledge that . . . (the defamatory falsehood) was false or with reckless disregard of

whether it was false or not.” New York Times Co. v. Sullivan, 376 U.S. 254, 280(1964).

Later opinions of the U.S. Supreme Court have defined it as making statements with a

high degree of awareness of their probable falsity, Garrison v. State of Louisiana, 379

U.S. 64, 74 (1964), or where the defendant entertained serious doubts as to the truth of

the statements. St. Amant v. Thompson, 390 U.S. 727, 731 (1968).

       150.   Thus, the term of art, “actual malice”, is quite different from the common

law standard of “malice” which focused on the defendant's attitude toward the plaintiff.

Carson, 529 F.2d at 209.




                                             74
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 76 of 137




        151.    Under Colorado law, for a statement to be made with actual malice, a

defendant must have made the statement with knowledge of its falsity or with reckless

disregard as to its truthfulness. Lewis v. McGraw-Hill Broad. Co., 832 P.2d 1118, 1122-

23 (Colo. App. 1992); Fry v. Lee, 408 P.3d 843, 848 (Colo. App. 2013).388 To prove actual

malice, “the plaintiff must demonstrate that the defendant in fact entertained serious

doubts as to the truth of the statement . . . or acted with a high degree of awareness of its

probable falsity.” Lewis, 832 P.2d at 1122-23. Reckless disregard “cannot be fully

encompassed in one infallible definition.” See St. Amant, 390 U.S. at 730. Instead, actual

malice can be inferred from objective circumstantial evidence, which can override a

defendant’s protestations of good faith. See Brown v. Petrolite Corp., 965 F.2d 38, 46-47

(5th Cir. 1992).

        152.    It is helpful to review what types of evidence other courts have determined

is or is not sufficient to establish actual malice.

        153.    “Failure to investigate obvious sources of refutation or corroboration of

statements, especially when there is no time-pressure on their publication, may indicate

not only negligence, but the higher standard of actual malice.” Quigley v. Rosenthal, 43

F. Supp. 2d 1163, 1180 (D. Colo. 1999) citing Burns v. McGraw-Hill Broadcasting Co.,

Inc., 659 P.2d 1351, 1362 (Colo. 1983). Circumstantial evidence of actual malice can

include instances when a story is fabricated by a defendant or is the product of his

imagination; when a defendant relies on anonymous sources; when a defendant has


388 To prove actual malice, a public figure plaintiff bringing a defamation suit must present some evidence

that the defendant purposefully published mistaken facts or that the circumstances were so improbable that
only a reckless publisher would have made the mistake. Fox Entm’t Group, Inc. v. Abdel-Hafiz, 240 S.W.3d
524 (Tex. App. Fort Worth 2007), review denied, (Sept. 26, 2008).




                                                    75
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 77 of 137




reason to know that a source is unreliable; when the allegations made are inherently

improbable that only a reckless person would publish them; when a defendant

intentionally avoids the truth; when a defendant’s allegations conform to a preconceived

storyline; and when a defendant has an incentive or motive to make the defamatory

statements. See, e.g., Curtis Publ’g Co. v. Butts, 388 U.S. 130, 157-58 (1967); St. Amant,

390 U.S. at 732. Actual malice may be inferred by the finder of fact if an investigation is

grossly inadequate. Kuhn v. Tribune-Republican Pub. Co., 637 P.2d 315, 319 (Colo. 1981).

A reporter’s failure to pursue the most obvious available sources of possible corroboration

or refutation may clearly and convincingly evidence a reckless disregard for the truth. Id.,

citing Alioto v. Cowles Communications, Inc., 623 F.2d 616 (9th Cir. 1980). Once the

publisher has obvious reasons to doubt the accuracy of a story, the publisher must act

reasonably in dispelling those doubts. Lohrenz v. Donnelly, 350 F.3d 1272, 1284 (D.C.

Cir. 2003). “Repetition of another's words does not release one of responsibility if the

repeater knows that the words are false or inherently improbable, or there are obvious

reasons to doubt the veracity of the person quoted.” Goldwater v. Ginzburg, 414 F.2d

324, 337 (2d Cir. 1969), cert. denied, 396 U.S. 1049, (1970) (stating that repetition is one

factor that may be probative of actual malice). While actual malice cannot be inferred

from ill will or intent to injure alone, “[i]t cannot be said that evidence of motive or care

never bears any relation to the actual malice inquiry.” Harte-Hanks Commc'ns, Inc. v.

Connaughton, 491 U.S. 657 (1989); see also Duffy v. Leading Edge Prods., Inc., 44 F.3d

308, 315 n.10 (5th Cir. 1995) (evidence of ill will can often bolster an inference of actual

malice). Evidence that a defendant conceived a story line in advance of an investigation




                                             76
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 78 of 137




and then consciously set out to make the evidence conform to the preconceived story is

evidence of actual malice and may often prove to be quite powerful evidence. Harris v.

City of Seattle, 152 Fed.Appx. 565, 568 (9th Cir. 2005).

       154.   “The actual malice standard is not satisfied merely through a showing of ill

will or “malice” in the ordinary sense of the term.” Harte-Hanks Commc'ns, Inc., 491 U.S.

at 666. Although "actual malice" is not synonymous with ill will, spite, or evil motive,

evidence that the defendant harbored ill will towards the plaintiff is probative on the issue

of whether the defendant was reckless with the truth in publishing the allegedly

defamatory statements about a public figure. Texas Disposal Systems Landfill, Inc. v.

Waste Mgmt. Holdings, Inc., 219 S.W.3d 563 (Tex. App. 2007). Although the failure to

investigate does not, on its own, demonstrate actual malice, a purposeful avoidance of the

truth does. Id. at 578–79.

       155.   Although the serious doubt inquiry “is too fact-bound to be resolved on the

basis of any single factor or mechanical test,” Tavoulareas v. Piro, 817 F.2d 762, 788 (D.C.

Cir. 1987), several principles guide the analysis. For example, “actual malice does not

automatically become a question for the jury whenever the plaintiff introduces pieces of

circumstantial evidence tending to show that the defendant published in bad faith.” Id. at

789. Nor is it enough for the plaintiff to offer evidence of “highly unreasonable conduct

constituting an extreme departure from the standards of investigation and reporting

ordinarily adhered to by responsible publishers.” Harte-Hanks Commc'ns, 491 U.S. at

664–65. Nor, does it suffice for a plaintiff merely to proffer “purportedly credible evidence

that contradicts a publisher's story.” Lohrenz v. Donnelly, 350 F.3d 1272, 1284 (D.C. Cir.




                                             77
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 79 of 137




2003). Rather, it is only when a plaintiff offers evidence that “a defendant has reason to

doubt the veracity of its source” does “its utter failure to examine evidence within easy

reach or to make obvious contacts in an effort to confirm a story” demonstrate reckless

disregard. McFarlane v. Sheridan Square Press, Inc., 91 F.3d 1501, 1509 (D.C. Cir. 1996).

Absent such concerns, the defendant has no duty to corroborate the defamatory

allegation. Id. Even “ill will toward the plaintiff or bad motives are not elements of actual

malice,” and “such evidence is insufficient by itself to support a finding of actual malice.”

Tavoulareas, 817 F.2d at 795. That is, “a newspaper's motive in publishing a story—

whether to promote an opponent's candidacy or to increase its circulation—cannot

provide a sufficient basis for finding actual malice.” Harte-Hanks Commc'ns, 491 U.S. at

665. Only when the evidence of ill will or bad motive is also probative of a “willingness to

publish unsupported allegations” is it suggestive of actual malice. Jankovic v. Int'l Crisis

Grp., 822 F.3d 576, 590–91 (D.C. Cir. 2016).

       156.   The United States Supreme Court analyzed evidence sufficient to establish

actual malice in Curtis Publishing Company. There, the court analyzed a case involving

allegations that the athletic director for the University of Georgia conspired to rig the

football game with the University of Alabama. See 388 U.S. at 135-36. These allegations

were based on a witness to an alleged telephone conversation between the athletic

director for Georgia and the coach for Alabama that outlined Georgia’s offensive plays

and how Georgia planned to defend in advance of the game. See id. at 136. While the

allegations necessitated an investigation given the seriousness of the charges and injury

that would result, the publisher relied solely on an affidavit from the witness to the alleged




                                             78
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 80 of 137




call and conducted no additional investigation. See id. at 157-58. The publisher did not

review the witness’s alleged notes of the call; interview other witnesses allegedly present

when the call occurred; review the game itself to see if the allegations were accurate; or

determine whether Alabama adjusted its plans based on the alleged call. See id. It neither

assigned nor consulted a football expert to assess the allegations. See id. There was

evidence the publisher was motivated to publish the allegations as part of a policy

intended to change its image, and it assigned writers to assist on the story that were

separately involved in another libel action involving the Alabama football coach. See id.

Further, no subsequent investigation was made after the athletic coach informed the

publisher that the allegations were untrue. See id. at 169-170. The United States Supreme

Court found this evidence sufficient to establish actual malice as the publisher recklessly

disregarded the truth. See id. Subsequent decisions have upheld the court’s analysis. See

St. Amant, 390 U.S. at 732; see also Harte-Hanks Comm’ns Inc., 491 U.S. at 692-93.

       157.   Finally, actual malice is a subjective standard. Makaeff v. Trump Univ.,

LLC, 26 F. Supp. 3d 1002, 1008 (S.D. Cal. 2014). Thus, “reckless conduct is not measured

by whether a reasonably prudent man would have published, or would have investigated

before publishing. There must be sufficient evidence to permit the conclusion that the

defendant in fact entertained serious doubts as to the truth of his publication.” St. Amant,

390 U.S. at 731.




                                            79
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 81 of 137




                                CONCLUSIONS OF LAW

A.     Reasonable Likelihood of Success on Coomer’s Claims

       158.   As described above, in the second step of the anti-SLAPP analysis, courts

must assess whether a plaintiff has sufficient evidence to establish a “reasonable

likelihood that the plaintiff will prevail on the claim[s]” to which the statute applies. C.R.S.

§ 13-20-1101(3)(a) (2019).

       159.   In making this assessment, the Court looks to whether the plaintiff “has

stated a legally sufficient claim and made a prima facie factual showing.” Baral v. Schnitt,

376 P.3d 604, 608 (Cal. 2016). The Court does not weigh the evidence and must accept

all admissible evidence in the plaintiff’s favor as true. Id. at 608–609. As the California

Supreme Court noted in Baral:

       The anti-SLAPP statute does not insulate defendants from any liability for
       claims arising from the protected rights of petition or speech. It only
       provides a procedure for weeding out, at an early stage, meritless claims
       arising from protected activity.

Id. at 608. Once a plaintiff provides the minimum quantum of evidence to show a legally

cognizable claim, the plaintiff has satisfied its burden under the second prong. See id.

       160.   Defendants argue that the anti-SLAPP statute applies to all claims that

Coomer has brought against them for (1) defamation, (2) intentional infliction of

emotional distress, (3) civil conspiracy, and (4) request for permanent injunction.

Although Defendants advance different bases, they collectively argue that Coomer cannot

establish a likelihood of success on his claims. However, Coomer has made a prima facie

showing that his claims are do have a reasonable likelihood of success on the merits and

thus are viable under Colorado law.




                                              80
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 82 of 137




      i.   Coomer has established a prima facie showing of defamation
by clear and convincing evidence.

       161.   Under Colorado law, the elements for defamation are: (1) a defamatory

statement concerning another; (2) published to a third party; (3) with fault amounting to

at least negligence on the part of the publisher; and (4) either actionability of the

statement irrespective of special damages or the existence of special damages to the

plaintiff caused by the publication.” Williams v. Dist. Court, Second Judicial Dist., City &

Cnty. of Denver, 866 P.2d 908, 911 n.4 (Colo. 1993).

       162.   If a defamatory statement does not involve a public official, public figure, or

a matter of public concern, at trial the plaintiff must only prove defamation by a

preponderance of the evidence. McIntyre v. Jones, 194 P.3d 519, 524 (Colo. App. 2008).

However, if, as here, the statement pertains to a matter of public concern, there are two

additional burdens the plaintiff must prove at trial: (1) the statement’s falsity by clear and

convincing evidence and (2) that the defendant published the statement with actual

malice. Id.; see also Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861 F.3d 1081,

1110 (10th Cir. 2017). At this stage of the proceeding, a plaintiff need only establish a

reasonable probability that he would be able to produce at trial clear and convincing

evidence of falsity and actual malice. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

252 (1986); see also Young v. CBS Broad., Inc., 212 Cal. App. 4th 551, 562 (2012); Ampex

Corp. v. Cargle, 128 Cal. App. 4th 1569, 1576 (2005). Here, Coomer has established

prima facie evidence of Defendants’ defamation, including falsity and actual malice.




                                             81
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 83 of 137




        a.       Oltmann, FEC United, and Shuffling Madness Media

        163.     As to the first element, Coomer has put forward overwhelming prima facie

evidence that Oltmann made defamatory, false statements of fact concerning Coomer.

These statements include allegations that “Eric” the “the Dominion guy” participated in

an Antifa call; said he made “f-ing sure” that “Trump is not gonna win;” and that he was

in fact “controlling the elections.”           There is no dispute that Oltmann made these

statements about Coomer, both individually and as a representative of FEC United, which

Oltmann identified when publishing his statements.389 In its reply, SMM argues for the

first time that it is not the proper party as to the claims asserted. 390 This argument is

refuted by evidence showing SMM operated under the trade name Conservative Daily at

the time of Oltmann’s statements, which is the primary media platform and podcast

through which Oltmann published his statements concerning Coomer.

        164.     Oltmann et al. argue their statements are opinions and hyperbolic rhetoric

that cannot be proven true or false.391 For a statement to be actionable as defamatory, it

must express or imply a verifiably false fact about the plaintiff. See Milkovich v. Lorain

Journal Co., 497 U.S. 1, 19-20 (1990); Burns v. McGraw Hill Broad. Co., Inc., 659 P.2d

1351, 1360 (Colo. 1983). Statements of opinion can be actionable if they imply provably

false facts or rely upon stated facts that are provably false. See Milkovich, 497 U.S. at 20.

In deciding whether a statement expressed or implied a false statement of fact, courts

consider the entire statement, the context in which it was made, and whether a reasonable



389 See generally Oltmann, et al. Mot.; Oltmann, et al. Reply.
390 See Oltmann, et al. Reply at 15-16.
391 See Oltmann, et al. Mot. at 9-12.




                                                    82
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 84 of 137




person would conclude that the statements at issue expressed or implied a false fact. See

Burns, 659 P.2d at 1360. The reasonable person standard does not require that a majority

of the community consider the statement defamatory, but, instead, a substantial and

respectable minority of the community. See Keohane, 882 P.2d 1293, 1299, n.9 (Colo.

1994).

         165.   In reviewing the entire statements and the context in which they were made,

Oltmann et al. allege that Coomer participated in an Antifa conference call, stated on that

call that he intended to subvert the presidential election, and then that he did in fact

subvert the presidential election. These are verifiable facts. Coomer either participated in

the call or he did not; he either made the statement or he did not; and he either committed

election fraud or he did not. Coomer has unequivocally declared that these statements are

false. For purposes of the anti-SLAPP statute, Coomer’s evidence is accepted as true. See

Baral v. Schnitt, 376 P.3d 604, 608-09 (Cal. 2016). Further, Coomer’s evidence is

uncontroverted by credible evidence. Absent Oltmann’s testimony, Oltmann et al. have

put forward no evidence in support of their allegations against Coomer. Oltmann

proffered himself as a witness to the allegations made but had no personal knowledge of

Coomer so as to identify him on the alleged Antifa call; no personal knowledge of any

election fraud committed by Coomer; and no expertise with which to form the allegations

made. Instead, Oltmann et al. seemingly relied on Coomer’s Facebook posts. However,

the posts were limited to Coomer’s personal and political beliefs, neither of which prove

Oltmann’s allegations. Oltmann has acknowledged that the anonymous “Eric” on the call

was only identified by another anonymous source that he cannot identify or verify. As




                                             83
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 85 of 137




such, Oltmann et al.’s allegations were, at best, speculation, which is not credible

evidence.

        166.     Accusations of criminal activity, even if in the form of opinion, are not

constitutionally protected and are actionable. See Keohane, 882 P.2d at 1304 (citing

Burns, 659 P.2d at 1359). Oltmann et al.’s statements about Coomer impute a criminal

offense—here, election fraud—and, therefore, are actionable regardless of whether they

are in the form of an opinion.

        167.     As to the second element of defamation, there is prima facie evidence that

Oltmann et al. published the defamatory statements against Coomer to third parties.

These publications were made across numerous media platforms including podcasts,

radio broadcasts, online articles, social media posts, and television broadcasts. In its reply

brief, FEC United argues that it is immune from liability for its publication of statements

under Section 230 of the Communications Decency Act (CDA).392 Again, this argument

is untimely and unsupported given the CDA creates a federal immunity from state law

causes of action that protects providers and users of interactive computer services from

being treated as publishers or speakers of information originating from third parties.

See 47 U.S.C. §§ 230(c)(1), (e)(3) (2018); see also Silver v. Quora, Inc., 666 F. App’x 727,

729 (10th Cir. 2016). FEC United’s liability stems from its own publication of statements

through Oltmann and not from interactive, user-generated content. Cf. Zeran v. America

Online Inc., 129 F.3d 327, 329 (4th Cir. 1997) (involving posts on AOL online bulletin




392 See Oltmann, et al. Reply at 13.




                                             84
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 86 of 137




board), and Universal Commc’n Sys., Inc. v. Lycos, Inc., 478 F.3d 413, 420 (1st Cir. 2007)

(involving posts on defendant’s online message board).

        168.     As to the third defamation element, there is prima facie evidence that, at a

minimum, Oltmann et al. negligently published their defamatory statements.393 Evidence

that Oltmann et al. failed to investigate the allegations against Coomer, lacked

corroborating evidence in support of their allegations, and based their allegations on

speculation and conjecture are sufficient to support a finding of negligence. See Quigley

v. Rosenthal, 43 F. Supp. 2d 1163, 1180 (D. Colo. 1999) (“Failure to investigate obvious

sources of refutation or corroboration of statements, especially when there is no time-

pressure on their publication, may indicate not only negligence, but the higher standard

of actual malice.”).

        169.     There is prima facie evidence that Oltmann et al. acted with actual malice

in publishing their statements. Actual malice “requires at a minimum that the statements

were made with reckless disregard for the truth.” Harte-Hanks Commc’ns, Inc. v.

Connaughton, 491 U.S. 657, 686 (1989); Diversified Mgmt., Inc. v. Denver Post, Inc., 653

P.2d 1103, 1110-11. Circumstantial evidence of actual malice can include when a story is

fabricated by a defendant or is the product of his imagination; when a defendant relies on

anonymous sources; when a defendant has reason to know that a source is unreliable;

when the allegations made are inherently improbable that only a reckless person would

publish them; when a defendant intentionally avoids the truth; when a defendant’s

allegations conform to a preconceived storyline; and when a defendant has an incentive


393 There is also evidence to support a finding that Oltmann et al. published their defamatory statements

knowing of their falsity.




                                                   85
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 87 of 137




or motive to make the defamatory statements. See, e.g., Curtis Publ’g Co. v. Butts,

388 U.S. 130, 157-58 (1967); St. Amant v. Thompson, 390 U.S. 727, 732 (1968). All of

these bases are present here with respect to Oltmann et al.

       170.   The facts at issue in Curtis (detailed in paragraph 156 above) are analogous

to the facts at issue here. As in Curtis, the allegations of fraud in this case are premised

on a purported witness to a call. Similarly, here there is reason to question the reliability

of the witness, Joe Oltmann. Oltmann did not know Coomer and could not identify

Coomer during the Antifa call. Instead, Oltmann premised his allegations against Coomer

on unknown and unverified speakers on an alleged phone call. Oltmann identified no

expertise or reliable means with which he subsequently identified any of the speakers on

the alleged call. Oltmann possessed no expertise in election systems or evidence to

support his allegations against Coomer. There is prima facie evidence that Oltmann

fabricated his allegations based on his determination to “die on this hill” that Joe Biden

did not win the 2020 presidential election and Oltmann refused to identify any

individuals that could corroborate his account. Further, like Curtis, the allegations here

necessitated an investigation and corroborating evidence given the seriousness of the

charges. Yet Oltmann et al. did not obtain witnesses or evidence in support of their

allegations or consult with experts on election systems to confirm their allegations.

Instead, they disregarded credible sources of information that refuted their allegations,

including statements by CISA and former U.S. Attorney General Barr that there was no

evidence of widespread fraud. There is prima facie evidence that Oltmann et al.’s

allegations against Coomer were inherently improbable considering the lack of evidence




                                             86
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 88 of 137




supporting Oltmann’s claims and the extensive evidence disproving all claims of election

fraud. Oltmann et al.’s allegations against Coomer conformed to a preconceived storyline

of fraud they adopted and advanced leading up to and after the election aimed at

undermining Biden’s election. Further, there is evidence that Oltmann et al. had political

and financial incentive to defame Coomer, both to support former president Trump and

to gain national exposure, thereby improving the ratings of the Conservative Daily

podcast. This evidence is sufficient to support a finding of actual malice. See Curtis Publ’g

Co. v. Butts, 388 U.S. 130, 157-58 (1967); see also Kuhn v. Trib.-Republican Publ’g Co.,

637 P.2d 315, 319 (Colo. 1981); Burns v. McGraw Hill Broad. Co., Inc., 659 P.2d 1351,

1361-62 (Colo. 1983).

       171.   As to the fourth element of defamation, there is prima facie evidence that

Coomer has suffered special damages in the form of serious emotional distress, pecuniary

loss, and other damages that were caused by Oltmann et al.’s defamatory statements.

       172.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against Oltmann et al.

       b.     Malkin

       173.   As to the first and second elements, Coomer has put forward prima facie

evidence that Malkin made defamatory, false statements of fact concerning Coomer.

These statements include allegations that Coomer was the anonymous “Eric” on the

Antifa call, that he stated on the Antifa call that he intended to subvert the presidential

election, and that he did in fact “penetrate[ ] our election system across the county and of

course around the world.” Malkin is the host of the program #MalkinLive, which she




                                             87
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 89 of 137




publishes on YouTube. There is prima facie evidence that in this role, Malkin both invited

Oltmann to be interviewed and published Oltmann’s statements regarding Coomer.

Malkin then actively promoted her interviews with Oltmann, republishing them on

Twitter. Similarly, Malkin was the host of the program Sovereign Nation on Newsmax.

There is prima facie evidence that in this role Malkin again invited Oltmann to be

interviewed so as to publish his allegations on Newsmax’s Sovereign Nation program. To

the extent that Malkin republished Oltmann’s allegations, Malkin is equally liable for such

republication as “the republication of false defamatory statements is as much a tort as the

original publication.” See Dixson v. Newsweek, Inc., 562 F.2d 626, 631 (10th Cir. 1977);

see also Colo. Jury Instr., Civil 22:7 (citing Restatement (Second of Torts § 578 (1977))

(“Each time that libelous matter is communicated by a new person, a new publication has

occurred, which is a separate basis of tort liability . . . It is no defense that the second

publisher names the author or original publisher of the libel.”).

       174.   As to the third element, there is prima facie evidence that Malkin acted with

actual malice in publishing her statements. Here, Malkin’s allegations against Coomer

were based on Oltmann’s allegations without substantial independent support. Malkin

had reason to question the reliability of Oltmann as a witness given Oltmann’s prior

statements regarding the election, the wildly improbably nature of his allegations and the

lack of evidence in support of his claims. Yet, there is prima facie evidence Malkin did

not investigate the allegations against Coomer; did not review the notes Oltmann

allegedly took during the call; did not seek other witnesses or evidence in support; and

did not consult with experts on election systems to confirm the allegations made. Instead,




                                            88
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 90 of 137




there is evidence that Malkin disregarded credible sources of information that refuted the

allegations, including statements by CISA and former U.S. Attorney General Barr that

there was no evidence of widespread fraud. There is evidence the allegations against

Coomer were inherently improbable and that Oltmann was not a neutral observer. Yet,

Malkin republished these allegations. There is evidence that Malkin’s allegations against

Coomer conformed to a preconceived storyline of fraud given her allegations of fraud

leading up to and after the election. Further, there is evidence that Malkin had incentive

to defame Coomer both in support of former president Trump and to gain national

exposure. This evidence is sufficient to support a finding of actual malice. See Curtis

Publ’g Co. v. Butts, 388 U.S. 130, 157-58 (1967); see also Kuhn v. Trib.-Republican Publ’g

Co., 637 P.2d 315, 319 (Colo. 1981); Burns v. McGraw Hill Broad. Co., Inc., 659 P.2d 1351,

1361-62 (Colo. 1983).

      175.   As to the fourth element, there is prima facie evidence that Coomer has

suffered special damages in the form of serious emotional distress, pecuniary loss, and

other damages that were caused by Malkin’s defamatory statements.

      176.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against Malkin.

      c.     Hoft and TGP

      177.   As to the first element, Coomer has put forward prima facie evidence that

Hoft-TGP made defamatory, false statements of fact concerning Coomer.               These

statements include allegations that Coomer “was participating in Antifa calls,” that he

intended to subvert the presidential election, and then that he did “manipulate,” “skim,”




                                           89
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 91 of 137




and “steal” votes. There is no dispute that Hoft-TGP made the statements at issue.394

Hoft is the owner of TGP as well as an editor and writer for TGP. 395 In that role, Hoft

authorized the publication of articles regarding Coomer on TGP’s website.396 These

articles were either drafted by Hoft or subject to his editorial control.397 Although

Hoft-TGP have challenged whether Coomer sufficiently pleaded the defamatory

statements at issue, this Court has previously determined that Coomer’s pleading was

sufficient.398

        178.     Hoft-TGP also argue that their statements are protected as opinion and

hyperbolic rhetoric.399 In reviewing Hoft-TGP’s entire statements and the context in

which they were made, their arguments fail. While there are certainly many instances

where Holt-TGP did employ hyperbole and dangerous rhetoric, those statements are

distinct from Hoft-TGP’s additional statements of fact which alleged that Coomer

participated in an Antifa conference call, stated on that call that he intended to subvert

the presidential election, and then did in fact subvert the presidential election. These

statements express or imply verifiably false facts about Coomer and, therefore, are

actionable. See Milkovich v. Lorain Journal Co., 497 U.S. 1, 19-20 (1990); Burns v.

McGraw Hill Broad. Co., Inc., 659 P.2d 1351, 1360 (Colo. 1983). Coomer has

unequivocally declared that these statements are false. Not only is this evidence accepted

as true at this stage of the proceeding, but it is uncontroverted. See Baral v. Schnitt, 376


394 See generally Hoft-TGP Mot.; Hoft-TGP Reply.
395 See Ex. E-1, Hoft-TGP, Aug. 10, 2021 Depo. Tr. at 9:10-11; 11:8-10.
396 See Id. at 11:19-22; 18:12-22:7; 46:12-48:10; 101:9-22; 120:6-10; and 133:4-134:8.
397 See Id. at 23:20-21; 42:19-20; 100:6-101:2; 106:8-22; 107:5-9; and 122:17-24.
398 See Sept. 15, 2021 Order Denying Hoft-TGP C.R.C.P. 12(e) Mot.; see also Order Regarding Pl.’s Resp. to

All Defendants’ Objections, Dec. 5, 2021 at 10.
399 See Hoft-TGP Mot. at 16-21; Hoft-TGP Reply at 4.




                                                    90
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 92 of 137




P.3d 604, 608-09 (Cal. 2016). Absent Oltmann’s wholly incredible testimony, Hoft-TGP

similarly have not put forward evidence in support of their allegations against Coomer.

        179.    Hoft-TGP also contend they are not liable for their opinions because they

fully disclosed the facts upon which they relied. 400 Statements of opinion may not be

actionable when the facts underlying them are nondefamatory and fully disclosed.

See Restatement (Second) of Torts § 566, cmt. c. However, the publication of false

statements of fact is itself actionable regardless of whether an opinion was formed. See id.

To the extent that Hoft-TGP formed opinions, including that Coomer is “mentally ill and

a sociopath,” “an unhinged Trump hater and Antifa supporter,” and a “lunatic,” those

opinions are premised on false statements of fact and, therefore, are actionable. See id.;

see also Milkovich, 497 U.S. at 18-19; see also NBC Subsidiary (KCNC-TV), Inc. v. Living

Will Ctr., 879 P.2d 6, 11 (Colo. 1994). Further, there is evidence that Hoft-TGP did not

fully disclose the facts upon which they formed their opinions. See Burns, 659 P.2d at

1360; Keohane v. Stewart, 882 P.2d 1293, 1302-04 (Colo. 1994). For example, Hoft-TGP

published statements alleging there were notes, recordings, and witnesses of the

purported call that were not disclosed. Hoft-TGP published deliberately misleading

statements alleging to have video evidence that Coomer showed how votes could be

altered. Hoft-TGP also presented Oltmann as a witness, despite Oltmann having no

personal knowledge of the election fraud/vote changing allegations made against

Coomer. As such, there is prima facie evidence that Hoft-TGP both withheld information

and positioned themselves to be perceived as having additional knowledge. See Burns,



400 See Hoft-TGP Mot. at 16-21.




                                            91
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 93 of 137




659 P.2d at 1360; Keohane, 882 P.2d at 1302-04. Regardless, Hoft-TGP’s statements

impute a criminal offense, which is actionable even if in the form of an opinion. See

Keohane, 882 P.2d at 1304.

       180.   As to the second element, it is undisputed that Hoft-TGP published their

defamatory statements against Coomer to third parties as these statements were

published on TGP’s website. To the extent that Hoft-TGP republished Oltmann’s

allegations, Hoft-TGP are equally liable for such republication as “the republication of

false defamatory statements is as much a tort as the original publication.” See Dixson v.

Newsweek, Inc., 562 F.2d 626, 631 (10th Cir. 1977); see also Colo. Jury Instr., Civil 22:7.

       181.   As to the third element, there is prima facie evidence that Hoft-TGP acted

with actual malice in publishing their statements. Here, Hoft-TGP’s allegations against

Coomer were based on Oltmann’s wholly incredible allegations without substantial

independent support. Hoft-TGP also had reason to question the reliability of Oltmann as

a witness given Oltmann’s prior statements regarding the election, the wildly improbably

nature of his allegations and the lack of evidence in support of his claims. Yet there is

prima facie evidence Hoft-TGP did not investigate the allegations against Coomer; did

not review the notes Oltmann allegedly took during the call; did not seek other witnesses

or evidence in support; did not consult with experts on election systems to confirm the

allegations made. Instead, there is evidence that Hoft-TGP disregarded credible sources

of information that refuted their allegations, including statements by CISA and former

U.S. Attorney General Barr that there was no evidence of widespread fraud. There is

evidence the allegations against Coomer were inherently improbable. Yet Hoft-TGP




                                            92
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 94 of 137




republished and embellished these allegations. There is evidence that Hoft-TGP

allegations against Coomer conformed to a preconceived storyline of fraud given their

allegations of fraud leading up and after the election. Further, there is evidence that

Hoft-TGP had political and financial incentive to defame Coomer, as their statements

resulted in increased subscriptions, increased advertising revenue, and notoriety as a

supporter of former president Trump. This evidence is sufficient to support a finding of

actual malice as well as overcome Hoft-TGP’s professions of good faith. See, e.g., Curtis

Publ’g Co., 388 U.S. at 157-58; St. Amant v. Thompson, 390 U.S. 727, 732 (1968).

      182.   As to the fourth element, there is prima facie evidence that Coomer has

suffered special damages in the form of serious emotional distress, pecuniary loss, and

other damages that were caused by Hoft-TGP’s defamatory statements.

      183.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against Hoft-TGP.

      d.     Metaxas

      184.   As to the first element, Coomer has put forward prima facie evidence that

Metaxas made defamatory, false statements of fact concerning Coomer. These statements

include allegations that Coomer participated in an Antifa call, “promised Antifa members

a Trump loss,” and then subverted the presidential election. There is no dispute that

Metaxas made the statements at issue. Metaxas is the host of the radio program and

podcast, The Eric Metaxas Radio Show, which Metaxas publishes through national radio

broadcasts as well as on his website and YouTube. There is prima facie evidence that in

that role, Metaxas both invited Oltmann to be interviewed and published Oltmann’s




                                           93
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 95 of 137




statements regarding Coomer. Metaxas then actively promoted his interviews with

Oltmann, republishing them on Twitter.

        185.    For the first time in his supplemental reply, Metaxas argues, like the

defendants above, that his statements are protected opinion and hyperbolic rhetoric. 401

While this argument is untimely, it also fails for the same reasons outlined above. While

there are certainly many instances where Metaxas did employ hyperbole and dangerous

rhetoric, those statements are distinct from Metaxas’s additional statements of fact

wherein Metaxas alleged that Coomer participated in an Antifa conference call, stated on

that call that he intended to subvert the presidential election, and then did in fact subvert

the presidential election. These statements are actionable because they express or imply

verifiably false facts about Coomer. See Milkovich v. Lorain Journal Co., 497 U.S. 1, 19-

20 (1990); Burns v. McGraw Hill Broad. Co., Inc., 659 P.2d 1351, 1360 (Colo. 1983).

Coomer has unequivocally declared that these statements are false. This evidence is

accepted as true. See Baral v. Schnitt, 376 P.3d 604, 608-09 (Cal. 2016). This evidence

is also uncontroverted because, absent Oltmann’s wholly incredible testimony, Metaxas

has not put forward any evidence in support of his allegations against Coomer.

Regardless, Metaxas’s statements impute a criminal offense, which is actionable even if

in the form of an opinion. See , Keohane v. Stewart, 882 P.2d 1293, 1304 (Colo. 1994).

        186.    As to the second element, it is undisputed that Metaxas published his

defamatory statements against Coomer to third parties as these statements were

published on his website, on YouTube, and through national radio broadcasts. 402 To the


401 See Metaxas Supp. Reply at 6-8.
402 See generally Metaxas Mot.




                                             94
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 96 of 137




extent that Metaxas republished Oltmann’s allegations, Metaxas is equally liable for such

republication as “the republication of false defamatory statements is as much a tort as the

original publication.” See Dixson v. Newsweek, Inc., 562 F.2d 626, 631 (10th Cir. 1977);

see also Colo. Jury Instr., Civil 22:7.

       187.   As to the third element, there is prima facie evidence that Metaxas acted

with actual malice in publishing his statements. Here, Metaxas’s allegations against

Coomer were based on Oltmann’s incredible allegations without substantial independent

support. Metaxas also had reason to question the reliability of Oltmann as a witness given

Oltmann’s prior statements regarding refusing to accept the results of the election, the

wildly improbably nature of his allegations and the lack of evidence in support of his

claims. Yet, there is prima facie evidence Metaxas did not investigate the allegations

against Coomer; did not review the notes Oltmann allegedly took during the call; did not

seek other witnesses or evidence in support; and did not consult with experts on election

systems to confirm the allegations made. Instead, there is evidence that Metaxas

purposefully refuses to investigate the claims of his guests and was determined to willfully

disregard credible sources of information that refuted the allegations, including

statements by CISA and former U.S. Attorney General Barr that there was no evidence of

widespread fraud. There is evidence the allegations against Coomer were inherently

improbable. Yet Metaxas republished these allegations as facts. There is evidence that

Metaxas’s allegations against Coomer conformed to a preconceived storyline of fraud

given his allegations of fraud after the election. Further, there is evidence that Metaxas

had incentive to defame Coomer both in support of former president Trump and to gain




                                            95
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 97 of 137




national exposure. This evidence is sufficient to support a finding of actual malice. See,

e.g., Curtis Publ’g Co. v. Butts, 388 U.S. 130, 157-58 (1967).

       188.    As to the fourth element, there is prima facie evidence that Coomer has

suffered special damages in the form of serious emotional distress, pecuniary loss, and

other damages that were caused by Metaxas’ defamatory statements.

       189.    For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against Metaxas.

       e.      OAN and Rion

       190.    As to the first element, Coomer has put forward prima facie evidence that

OAN-Rion made defamatory, false statements of fact concerning Coomer. These

statements include allegations that Coomer participated in an Antifa conference call, that

he was “hell bent on deleting half of America’s voice,” and that he subverted the

presidential election. There is no dispute that OAN-Rion made the statements at issue.

Rion is the Chief White House Correspondent for OAN, a national news network. OAN

authorized the publication of Rion’s news segments regarding Coomer. In their reply,

OAN-Rion argue for the first time that they cannot be held to Coomer for statements made

about Dominion.403 Not only is this argument untimely, there is prima facie evidence that

OAN-Rion inextricably linked Coomer to Dominion such that no discernable distinction

between references to Coomer and Dominion existed in their statements. See Gordon v.

Boyles, 99 P.3d 75, 88-89 (Colo. App. 2004)(finding identity can be inferred from prior

statements).



403 See OAN-Rion Reply at 9-11.




                                            96
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 98 of 137




       191.    Further, OAN-Rion also argue, that their statements are protected opinion

and hyperbolic rhetoric.404 While there are certainly many instances where OAN-Rion did

employ hyperbole and dangerous rhetoric, those statements are distinct from OAN-Rion’s

additional statements of fact wherein OAN-Rion alleged that Coomer participated in an

Antifa conference call, stated on that call that he intended to subvert the presidential

election, and then did in fact subvert the presidential election. These statements are

actionable because they express or imply verifiably false facts about Coomer. See

Milkovich v. Lorain Journal Co., 497 U.S. 1, 19-20 (1990); Burns v. McGraw-Hill

Broadcasting Co., Inc., 659 P.2d 1351, 1360 (Colo. 1983). Coomer has unequivocally

declared that these statements are false. This evidence is accepted as true. See Baral v.

Schnitt, 376 P.3d 604, 608-09 (Cal. 2016). This evidence is uncontroverted because,

absent Oltmann’s wholly incredible testimony, OAN-Rion has failed to put forward any

evidence in support of their allegations against Coomer. OAN-Rion’s attacks on Coomer’s

credibility and speculation surrounding whether an Antifa call actually occurred do not

overcome Coomer’s prima facie evidence for purposes of the anti-SLAPP statute.

Regardless, OAN-Rion’s statements impute a criminal offense, which is actionable even

if in the form of an opinion. See Keohane v. Stewart, 882 P.2d 1293, 1304 (Colo. 1994).

       192.    As to the second element, it is undisputed that OAN-Rion published their

defamatory statements against Coomer to third parties as these statements were

published on the OAN network, YouTube, Twitter, and Rion’s personal website. To the

extent that OAN-Rion republished Oltmann’s allegations, OAN-Rion are equally liable for



404 See OAN-Rion Mot. at 17-18.




                                           97
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 99 of 137




such republication as “the republication of false defamatory statements is as much a tort

as the original publication.” See Dixson v. Newsweek, Inc., 562 F.2d 626, 631 (10th Cir.

1977); see also Colo. Jury Instr., Civil 22:7.

       193.   As to the third element, there is prima facie evidence that OAN-Rion acted

with actual malice in publishing their statements. Here, OAN-Rion’s allegations against

Coomer were based on Oltmann’s facially incredible allegations without substantial

independent support. OAN-Rion had reason to question the reliability of Oltmann as a

witness given Oltmann’s prior statements regarding the election, the wildly improbably

nature of his allegations, the internal inconsistencies between Oltmann’s prior statements

regarding his identification of Coomer, and the lack of evidence in support of his claims.

Yet, there is prima facie evidence OAN-Rion did not investigate the allegations against

Coomer; did not review the notes Oltmann allegedly took during the call; did not seek

other witnesses or evidence in support; and did not consult with experts on election

systems to confirm the allegations made. Instead, there is evidence that OAN-Rion

disregarded credible sources of information that refuted the allegations, including

statements by CISA and former U.S. Attorney General Barr that there was no evidence of

widespread fraud. There is evidence the allegations against Coomer were inherently

improbable. Yet OAN-Rion republished and embellished these allegations. There is

evidence that OAN-Rion’s allegations against Coomer conformed to a preconceived

storyline of fraud given their allegations of fraud leading up to and after the election.

Further, there is evidence that OAN-Rion had incentive to defame Coomer both in

support of former president Trump and as a conservative news network seeking national




                                                 98
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 100 of 137




attention. This evidence is sufficient to support a finding of actual malice. See, e.g., Curtis

Publ’g Co. v. Butts, 388 U.S. 130, 157-58 (1967).

        194.     As to the fourth element, there is prima facie evidence that Coomer has

suffered special damages in the form of serious emotional distress, pecuniary loss, and

other damages that were caused by OAN-Rion’s defamatory statements.

        195.     OAN-Rion initially raised a “newsworthy” exception to avoid liability for

defamation.405 However, OAN-Rion appear to have abandoned this claim and did not

address it in their Reply to Special Motion to Dismiss, during the hearing on October 13th

and 14th, or in their proposed Findings of Fact and Conclusions of Law. Colorado courts

have rejected protecting speech based solely on what a news organization deems of

interest or newsworthy. See Diversified Mgmt. Inc. v. Denver Post, Inc., 653 P.2d 1103,

1107 (mere fact that press was attracted to a person’s activities does not make that person

a public figure). Additionally, there is nothing about OAN-Rion’s reporting that could be

considered “accurate or dispassionate.” Therefore, the Court will not grant OAN-Rion’s

Special Motion to Dismiss on the basis of this newsworthy argument.406

        196.     OAN-Rion additionally argue that the filing of an affidavit by Oltmann in

subsequent judicial proceedings immunizes them from liability for defamation under the

fair report privilege.407 OAN-Rion’s reliance on this privilege is misplaced. The fair report


405 See OAN-Rion Mot. at 12.
406 The Superior Court in Delaware recently rejected a similar argument made by Fox News, finding that

Dominion’s claims that Fox ignored contrary evidence and promoted a narrative that “Dominion committed
election fraud” negated any argument that Fox’s reporting was accurate and dispassionate. See US
Dominion, Inc., et al v. Fox News Network, LLC, C.A. No. N21C-03-257, at 42-44 (Del. Super. Ct. Dec. 16,
2021)      (Order       Denying      Defendant’s       Motion       to      Dismiss).        Available      at:
https://courts.delaware.gov/Opinions/Download.aspx?id=327750. The evidence regarding OAN-Rion’s
reporting similarly does not support application of a neutral reporting privilege, even if it were available.
407 See OAN-Rion Mot. at 15-16.




                                                     99
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 101 of 137




privilege protects reports of judicial proceedings that are fair and substantially correct.

See Quigley v. Rosenthal, 327 F.3d 1062 (10th Cir. 2003). It does not apply to reporting

before any judicial action has been taken, does not extend to reporting on preliminary

pleadings, and cannot extend beyond accurate reporting of the judicial proceedings.

See id. The privilege does not apply merely because Oltmann memorialized some of his

allegations against Coomer in an affidavit. Indeed, a review of “Dominion-izing the Vote”

reveals that this segment was not a report of active judicial proceedings.

       197.    OAN-Rion also argue, for the first time on reply, that the incremental harm

doctrine bars Coomer’s recovery as a matter of law because any harm that accrued to

Coomer was the result of his own Facebook posts.408 This argument is untimely but will

be addressed by this Court. Under the incremental harm doctrine, malicious or false

statements may not be actionable where there are nonactionable parts of a particular

publication that are damaging, and the malicious and false statements fail to cause any

incremental harm above what is caused by the remainder of the publication. See

Tonnessen v. Denver Pub. Co., 5 P.3d 959, 965 (Colo. App. 2000) (referencing the

incremental harm doctrine in court’s analysis of a second statement which was identical

to a statement which was protected by the fair report doctrine). While it is questionable

whether the incremental harm doctrine applies in Colorado, that doctrine would not serve

to immunize OAN-Rion from liability here because the harm associated with Coomer’s

Facebook posts being made public was dwarfed by the Oltmann allegations that Coomer

had stated he had “fixed” the election and the statements that Coomer had actually acted



408 See OAN-Rion Reply at 18-20.




                                           100
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 102 of 137




engaged in election fraud. It is one thing to hold strong political beliefs. It is another

thing entirely to engage in criminal conduct to change the results of an election.

       198.    For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against OAN-Rion.

       f.      Powell, Powell P.C., and Defending the Republic

       199.    As to the first and second elements, Coomer has put forward prima facie

evidence that Powell et al. made defamatory, false statements of fact concerning Coomer.

These statements include allegations that Coomer participated in an Antifa conference

call, that Coomer made statements on that call that he was “going to f- Trump,” a claim

that there was a recording of Coomer making these statements, and then a claim that

Coomer subverted the presidential election. There is no dispute that Powell made the

statements at issue. There is prima facie evidence that Powell published the statements

regarding Coomer on her own behalf, as a representative of her entities, Powell, P.C. and

Defending the Republic, and as a representative of the Trump Campaign. These

statements were first made on November 19, 2020 during a televised press conference at

the Republican National Convention. Powell then actively promoted her statements,

republishing them on a national media tour. To the extent that Powell et al. republished

Oltmann’s allegations, Powell et al. are equally liable for such republication as “the

republication of false defamatory statements is as much a tort as the original publication.”

See Dixson v. Newsweek, Inc., 562 F.2d 626, 631 (10th Cir. 1977); see also Colo. Jury

Instr., Civil 22:7.




                                            101
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 103 of 137




        200. Powell et al. continue to claim that the statements were substantially true.

However, Powell et al. have produced no evidence that would support a finding that any

of these statements were true. Powell et al. presented no evidence that 1) Coomer was on

an Antifa call; 2) that Coomer stated he would make sure Trump did not win the election;

or 3) that Coomer interfered with the election in any manner whatsoever.

        201.    In its reply, Defending the Republic argues for the first time that it is not the

proper party as to the claims asserted because it was not formed with the Texas Secretary

of State until after the statements were made.409 Not only is this argument untimely but

it is refuted by prima facie evidence showing Defending the Republic was actively

soliciting donations at the time of Powell’s statements.

        202.    Further, Powell et al. argue, like the defendants above, that their statements

are protected opinion and hyperbolic rhetoric.410 This argument fails for the same

reasons outlined above. While there are certainly many instances where Powell et al. did

employ hyperbole and dangerous rhetoric, those statements are distinct from Powell et

al.’s additional statements of fact which alleged that Coomer participated in an Antifa

conference call, stated on that call that he intended to subvert the presidential election,

then did in fact subvert the presidential election and that there was a recording of

Coomer’s statements. These statements of Powell et al. are actionable because they

express or imply verifiably false facts about Coomer and the existence of a recording. See

Milkovich v. Lorain Journal Co., 497 U.S. 1, 19-20 (1990); Burns v. McGraw Hill Broad.

Co., Inc., 659 P.2d 1351, 1360 (Colo. 1983). Coomer has unequivocally declared that these


409 See DTR Reply at 1-7.
410 See Powell Mot. at 24-25; DTR Mot. at 24-26.




                                                   102
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 104 of 137




statements are false. This evidence is accepted as true. See Baral v. Schnitt, 376 P.3d 604,

608-09 (Cal. 2016). This evidence is also uncontroverted because, absent Oltmann’s

wholly incredible testimony, Powell et al. have not put forward any evidence in support

of their allegations against Coomer. Regardless, Powell et al.’s statements impute a

criminal offense, which is actionable even if in the form of an opinion. See Keohane v.

Stewart, 882 P.2d 1293, 1304 (Colo. 1994).

       203.   As to the third element, there is prima facie evidence that Powell et al. acted

with actual malice in publishing their statements. Here, Powell et al.’s allegations against

Coomer were based on Oltmann’s allegations without substantial independent support.

Powell et al. also had reason to question the reliability of Oltmann as a witness given

Oltmann’s prior statements regarding the election, the wildly improbably nature of his

allegations and the lack of evidence in support of his claims. Yet, there is prima facie

evidence Powell et al. did not investigate the allegations against Coomer; did not review

the notes Oltmann allegedly took during the call; did not seek other witnesses or evidence

in support; did not consult with experts on election systems to confirm the allegations

made. Instead, there is evidence that Powell et al. disregarded credible sources of

information that refuted the allegations, including statements by CISA and former U.S.

Attorney General Barr that there was no evidence of widespread fraud. There is evidence

the allegations against Coomer were inherently improbable. Yet Powell et al. republished

and embellished these allegations to a national audience. There is evidence that Powell et

al.’s allegations against Coomer conformed to a preconceived false storyline of fraud given

their allegations of fraud leading up to and after the election. Further, there is evidence




                                            103
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 105 of 137




that Powell et al. had incentive to defame Coomer both in support of former president

Trump and to gain national exposure and financial contributions. This evidence is

sufficient to support a finding of actual malice. See, e.g., Curtis Publ’g Co. v. Butts,

388 U.S. 130, 157-58 (1967).

        204.     As to the fourth element, there is prima facie evidence that Coomer has

suffered special damages in the form of serious emotional distress, pecuniary loss, and

other damages that were caused by Powell et al.’s defamatory statements.

        205.     To avoid liability for their statements, Powell et al. argue that the various

election-related lawsuits immunize their statements about Coomer under the litigation

privilege.411 Broadly speaking, an attorney’s statements, even if defamatory, when made

in the course of, or in preparation for, judicial proceedings in a filed case cannot be the

basis of a tort claim if the statements are related to the litigation. Patterson v. James, 454

P.3d 345, 350 (Colo. App. 2018), citing Begley v. Ireson, 399 P.3d 777 (Colo. App. 2017).

        206. The best summary of Colorado’s treatment of the litigation privilege in

defamation suits is found in Miller v. Inst. for Def. Analyses, No. 17-CV-02411-NYW,

2018 WL 10563049, at *5 (D. Colo. May 29, 2018) wherein Magistrate Judge Nina Y.

Wang stated:

        In certain instances, Colorado law shields an attorney's communications
        from liability for defamation, even if the statements are in fact defamatory.
        Derived from the Restatement (Second) of Torts § 586, an attorney is
        “absolutely privileged to publish defamatory matter concerning another in
        communications preliminary to a proposed judicial proceeding, or in the
        institution of, or during the course” of judicial proceedings in which the
        attorney participates as counsel, “if it has some relation to the proceeding.”
        Club Valencia Homeowners Ass'n, Inc. v. Valencia Assocs., 712 P.2d 1024,
        1027 (Colo. App. 1985) (emphasis added) (“[T]he alleged defamatory matter
411 See Powell Mot. at 5, 11-17; DTR Mot. at 5-6, 12-18.




                                                     104
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 106 of 137




       must have been made in reference to the subject matter of the proposed or
       pending litigation, although it need not be strictly relevant to any issue
       involved in it.”); Buckhannon v. U.S. West Commc'ns, Inc., 928 P.2d 1331,
       1335 (Colo. App. 1996) (extending this privilege to “bar[] other non-
       defamation claims that stem from the same conduct.”). see also Partminer
       Worldwide Inc. v. Siliconexpert Techs. Inc., No. 09-cv-00586-MSK-MJW,
       2010 WL 502718, at *5 (D. Colo. Feb. 10, 2010) (dismissing defamation
       claim, because the litigation privilege shielded communications from the
       plaintiff's general counsel that Mr. Williams was the “leak” of proprietary
       information alleged in a state court case and noting communications were
       an attorney's concerning a judicial proceeding). A division of the Colorado
       Court of Appeals has since qualified that defamatory communications made
       preliminary to actual litigation must not only relate to the proposed
       litigation but that the proposed litigation must be contemplated in good
       faith. See Begley v. Ireson, 399 P.3d 777, 781 (Colo. App. 2017). Several
       Colorado courts have also inquired as to whom the communication was
       disclosed, as the “maker of the statement and the recipient must be involved
       in and closely connected with the proceeding.” Club Valencia Homeowners
       Ass'n, Inc., 712 P.2d at 1027 (holding the privilege applied to an attorney's
       letter apprising individual homeowners of a lawsuit initiated by the
       homeowner's association); see also Seidl v. Greentree Mortg. Co., 30 F.
       Supp. 2d 1292, 1315 (D. Colo. 1998) (holding the privilege did not apply to
       an attorney's statements about a pending lawsuit made to the press or
       posted on the internet); Cache la Poudre Feeds, LLC v. Land O'Lakes, Inc.,
       438 F. Supp. 2d 1288, 1294–95 (D. Colo. 2006) (holding the privilege did
       not apply to attorney statements made in a press release and brochures
       distributed to the public despite being published in the course of a judicial
       proceeding).

       207.   In asserting the litigation privilege, Powell et al. rely on various lawsuits

filed to challenge the election results, including those wherein Powell included the

Oltmann affidavit. However, Coomer’s claims against Powell et al. are based on

statements made to national media—not on statements made in those lawsuits. Here,

Powell’s statements made in the course of the national press conference and her

statements regarding Coomer which were made to the national media bore no relation to

judicial proceedings and were directed to individuals with no relationship to any potential

litigation. Thus, Colorado’s litigation privilege does not apply to protect Powell et al. from




                                             105
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 107 of 137




Coomer’s defamation claims, and any election-related litigation filed before or after the

alleged defamation is irrelevant. See Kleier Advert., Inc. v. Premier Pontiac, Inc., 921

F.2d 1036, 1043-44 (10th Cir. 1990) (citations omitted) (“unnecessary publication to the

news media may result in loss of the privilege as well as publication to those wholly

unconnected with the judicial process”).

        208. Additionally, the litigation privilege applies only to statements made prior

to a judicial proceeding when those statements have “some relation to a proceeding that

is contemplated in good faith and under serious consideration.” See Begley, 399 P.3d at

782 (Colo. App. 2017) (emphasis added). Powell et al. have not presented any evidence

that they ever considered pursuing litigation against Coomer, much less that any of their

litigation decisions or strategies involving Coomer were made in good faith. Therefore,

their statements may still be actionable, even if made by means other than press

conference or media appearance. There is significant evidence in the record that Powell

et al.’s assertions of good faith regarding her reference to Coomer are baseless and thus,

the litigation privilege will not protect her pre-litigation statements concerning Coomer.

        209. Defending the Republic attempts, for the first time on reply, to create a

distinction between an “absolute” and a “conditional” litigation privilege.412 But when

analyzing an attorney’s prelitigation statements, the distinction between an absolute and

a conditional, or qualified, privilege is ultimately irrelevant. See Begley, 399 P.3d at 791

(“Whether this privilege is characterized as absolute or qualified is beside the point.”).

The inquiry remains whether the prelitigation statements were made in connection with



412 See DTR Reply at 12-15.




                                            106
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 108 of 137




prospective litigation and whether the litigation was contemplated in good faith. Id. It is

unclear how Powell et al.’s statements were made in connection with prospective

litigation or contemplated in good faith given their statements against Coomer were likely

made with knowledge or reckless disregard for the falsity of those statements. Moreover,

applying Defending the Republic’s interpretation of the litigation privilege here would

reward Powell’s post-defamation filing of bad faith and meritless lawsuits, realizing the

fear articulated in Begley, supra, that extending the litigation privilege to prelitigation

statements could “encourage or protect attorneys who file bad faith litigation in order to

immunize otherwise tortious conduct.” Id.

       210.   In summary, even where privilege applies in a defamation suit, it can be lost

by a finding of actual malice, see Burke v. Greene, 963 P.2d 1119, 1122 (Colo. App. 1998),

or by unnecessary publication of privileged statements to news media or “those wholly

unconnected with the judicial process.” See Seidl, 30 F. Supp. 2d at 1314; see also Club

Valencia Homeowners Ass’n, Inc. v. Valencia Assocs., 712 P.2d 1024, 1027 (Colo. App.

1985) (“the maker of the statement and the recipient must be involved in and closely

connected with the proceeding”). When analyzing statements made to the press, the

attorney’s intent is relevant. Statements made solely for the purpose of publicity are not

privileged. See Seidl, 30 F. Supp at 1315. Here, as addressed above, there is sufficient

evidence to support a finding of actual malice. There is also sufficient evidence that Powell

et al.’s purpose in publishing their statements to the press was pure publicity. Thus, even

if the privilege did apply, Powell et al. would not be entitled to its protections.




                                             107
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 109 of 137




        211.    For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against Powell et al.

        g.      Giuliani

        212.    As to the first and second elements, Coomer has put forward prima facie

evidence that Giuliani made defamatory, false statements of fact concerning Coomer.

These statements include allegations that Coomer was “close to Antifa” and participated

in an Antifa call, that he intended to “fix the election,” and that he did in fact subvert the

presidential election. There is no dispute that Giuliani published the statements at

issue.413 There is prima facie evidence that Giuliani published the statements regarding

Coomer, both individually and as a representative of the Trump Campaign, on November

19, 2020 during a televised press conference at the Republican National Convention. To

the extent Giuliani republished Oltmann’s allegations, Giuliani is equally liable for such

republication as “the republication of false defamatory statements is as much a tort as the

original publication.” See Dixson v. Newsweek, Inc., 562 F.2d 626, 631 (10th Cir. 1977);

see also Colo. Jury Instr., Civil 22:7.

        213.    As to the third element, there is prima facie evidence that Giuliani acted

with actual malice in publishing his statements. Here, Giuliani’s allegations against

Coomer were based on Oltmann’s wholly incredible allegations without substantial

independent support and which were contradicted by the Trump Campaign’s own

internal research and memo. Giuliani also had reason to question the reliability of his

sources given the wildly improbable nature of the allegations and lack of evidence in



413 See generally Giuliani Mot.; Giuliani Reply.




                                                   108
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 110 of 137




support of those allegations. Yet there is prima facie evidence Giuliani did not investigate

the allegations against Coomer; did not speak with witnesses or review any evidence in

support of the allegations despite his purported understanding that there was a video and

witnesses; did not review research prepared by the Trump Campaign, including the

internal memo rejection the claims; and did not consult with experts on election systems

to determine whether the allegations against Coomer were accurate. Instead, there is

evidence that Giuliani disregarded credible sources of information that refuted the

allegations, including statements by CISA and former U.S. Attorney General Barr that

there was no evidence of widespread fraud. There is evidence the allegations against

Coomer were inherently improbable. Yet Giuliani republished and embellished these

allegations. There is evidence that Giuliani’s allegations against Coomer conformed to a

preconceived storyline of fraud given his allegations of fraud after the election. Further,

there is evidence that Giuliani had incentive to defame Coomer both in support of former

president Trump and to maintain national attention. This evidence is sufficient to support

a finding of actual malice. See Curtis Publ’g Co. v. Butts, 388 U.S. 130, 157-58 (1967); see

also Kuhn v. Trib.-Republican Publ’g Co., 637 P.2d 315, 319 (Colo. 1981); Burns v.

McGraw Hill Broad. Co., Inc., 659 P.2d 1351, 1361-62 (Colo. 1983).

       214.   As to the fourth element, there is prima facie evidence that Coomer has

suffered special damages in the form of serious emotional distress, pecuniary loss, and

other damages that were caused by Giuliani’s defamatory statements.




                                            109
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 111 of 137




        215.     Like Powell et al., Giuliani relies on the various election-related lawsuits to

argue that his statements about Coomer are immunized under the litigation privilege.414

However, Giuliani was not involved in any election-related lawsuits referencing Coomer.

Further, as addressed above in relation to Powell et al.’s claims of litigation privilege, the

litigation privilege does not apply because Coomer’s claims against Giuliani are based on

statements made to the national media, not on statements made in those lawsuits. See

Seidl v. Greentree Mortg. Co., 30 F. Supp. 2d 1292, 1314-15 (D. Colo. 1998); and Cache la

Poudre Feeds, LLC v. Land O'Lakes, Inc., 438 F. Supp. 2d 1288, 1294–95 (D. Colo. 2006).

Nor can Giuliani establish that his pre-litigation statements were made in good faith

contemplation of litigation against Coomer given the lack of evidence in support of the

allegations. See Begley v. Ireson, 399 P.3d 777, 782 (Colo. App. 2017). Moreover, even if

the privilege did apply, Giuliani would not be entitled to its protections because there is

sufficient evidence to support a finding of actual malice and the purpose of publishing

their statements to the press was publicity.

        216.     For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against Giuliani.

        h.       Trump Campaign

        217.     As to the first and second elements, Coomer has put forward prima facie

evidence that the Trump Campaign, through its agents made defamatory, false statements

of fact concerning Coomer. These statements include allegations that Coomer

participated in an Antifa conference call, made statements on that call that he intended



414 See Giuliani Mot. at 9-16; Giuliani Reply at 7.




                                                      110
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 112 of 137




to subvert the presidential election, and that votes for Trump had in fact “disappeared.”

There is prima facie evidence that the Trump Campaign, through its agents Powell and

Giuliani, Eric Trump and former president Trump, published the statements regarding

Coomer. The Trump Campaign then actively promoted the statements about Coomer

through a national media tour and on Twitter. To the extent the Trump Campaign

republished Oltmann’s allegations, the Trump Campaign is equally liable for such

republication as “the republication of false defamatory statements is as much a tort as the

original publication.” See Dixson, 562 F.2d at 631; see also Colo. Jury Instr., Civil 22:7.

       218.   As to the third element, there is prima facie evidence that the Trump

Campaign acted with actual malice in publishing its statements. In publishing its

statements, the Trump Campaign ignored its own research expressly rejecting any

connection between Coomer and claims of election fraud. The Trump Campaign’s

allegations against Coomer were based on Oltmann’s wholly incredible and discredited

allegations without substantial independent support. The Trump Campaign had reason

to question the reliability of Oltmann as a witness given Oltmann’s prior statements

regarding his determination to reject the results of the election, the wildly improbably

nature of his allegations, the lack of evidence in support of Oltmann’s claims, and the

Trump Campaign’s own internal research and memo which discredited the allegations.

Further, there is prima facie evidence the Trump Campaign did not review the notes

Oltmann allegedly took during the call; did not seek other witnesses or evidence in

support of the allegations; and did not consult with experts on election systems to

determine whether the allegations against Coomer were accurate. Instead, there is




                                             111
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 113 of 137




evidence that the Trump Campaign disregarded its own research debunking the

allegations against Coomer and disregarded outside credible sources of information that

refuted the allegations at the time they were made, including statements by CISA and

former U.S. Attorney General Barr that there was no evidence of widespread fraud. There

is evidence the allegations against Coomer were inherently improbable. Yet the Trump

Campaign republished and promoted these allegations. There is evidence that the Trump

Campaign’s allegations against Coomer conformed to a preconceived false storyline of

fraud given its allegations leading up to and after the election. Further, there is evidence

that the Trump Campaign had incentive to defame Coomer both in support of former

president Trump and to continue to solicit campaign contributions under the guise of

challenging the election results. This evidence is sufficient to support a finding of actual

malice. See Curtis Publ’g Co., 388 U.S. at 157-58 (1967); see also Kuhn, 637 P.2d at 319;

Burns, 659 P.2d at 1361-62.

       219.    As to the fourth element, there is prima facie evidence that Coomer has

suffered special damages in the form of serious emotional distress, pecuniary loss, and

other damages that were caused by the Trump Campaign’s defamatory statements.

       220. The Trump Campaign relies on the various election-related lawsuits to

argue that its statements about Coomer were immunized under the litigation privilege.415

However, the Trump Campaign was not involved in any election-related lawsuits

referencing Coomer. Further, as addressed above in relation to Powell et al.’s claims of

litigation privilege, the litigation privilege does not apply because Coomer’s claims against



415 See Trump Campaign Mot. at 11-14; Trump Campaign Reply at 3-7.




                                                112
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 114 of 137




the Trump Campaign are based on statements made to the national media, not on

statements made in those lawsuits. See also Seidl v. Greentree Mortg. Co., 30 F. Supp. 2d

1292, 1314-15 (D. Colo. 1998). Nor can the Trump Campaign establish that its pre-

litigation statements were made in good faith contemplation of litigation against Coomer

or related to Coomer given the lack of evidence in support of its allegations. See Begley v.

Ireson, 399 P.3d 777, 782 (Colo. App. 2017). Moreover, even if the privilege did apply,

the Trump Campaign would not be entitled to its protections because there is sufficient

evidence to support a finding of actual malice and the purpose of publishing its statements

to the press was publicity, false propaganda, and fundraising.

       221.    The Trump Campaign next argues that it is immune from liability under the

Westfall Act for former president Trump’s Twitter posts about Coomer because President

Trump was acting within the scope of his federal employment at the time of his posts. 416

While the Westfall Act provides immunity for federal employees acting within the scope

of their office or employment, it does not grant absolute immunity for that employee’s

conduct. 28 U.S.C. §§ 2679(b)(1), (d) (1988). Rather, if the Attorney General or the court

certifies that an employee was acting within the scope of their employment at the time the

tortious conduct occurred, the United States will be substituted as the defendant in the

litigation. Id. at §§ 2679(d)(1), (3). The Trump Campaign offers no certification from the

Attorney General that President Trump was acting within the scope of his employment

when the statement was made, nor does it seek such certification from the Court. The

Trump Campaign fails altogether to identify the President’s scope of employment or



416 See Trump Campaign Mot. at 18.




                                            113
       CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 115 of 137




explain how defaming Coomer with actual malice might fall within it. The Trump

Campaign further fails to explain how the Westfall Act precludes the Trump Campaign’s

own liability, especially because former president Trump has not been sued in his

individual capacity.

         222.    The Trump Campaign also argues that it is immune from liability under

Section 230 of the CDA because Eric Trump was a “mere distributor/re-publisher” when

he posted Oltmann’s alleged defamatory statements about Coomer on Twitter.417 For the

first time on reply, the Trump Campaign attempts to expand this argument to include

former president Trump and his tweets.418 While the Trump Campaign’s attempt to

expand this argument is untimely, the application of Section 230 to Eric Trump’s and

former president Trump’s tweets strains the reach of CDA immunity. The United States

Supreme Court has recently cautioned against the “sweeping immunity” some courts have

read into the CDA, noting that “[e]xtending [this] immunity beyond the natural reading

of the text can have serious consequences.” Malwarebytes, Inc. v. Enigma Software Grp.

USA, LLC, 141 S. Ct. 13, 18 (2020). Here, on November 17, 2020, Eric Trump did not

merely republish the statements of Holt-TGP. Rather, Eric Trump’s tweet included his

own statement “Eric Coomer - Dominions [sic] Vice President of U.S. Engineering—‘Don’t

worry about the election, Trump’s not gonna win. I made f*cking sure of that.’”419 Eric

Trump published his own defamatory statements to his Twitter followers. Thus,




417 Id. at 20.
418 See Trump Campaign Reply at 7-8.
419 Ex. M-1, PX 69.




                                           114
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 116 of 137




the Trump Campaign’s reliance on Barrett v. Rosenthal, 146 P.3d 510 (Cal. 2006) is

misplaced.

      223.   Further, even if Eric Trump or the former president were properly

considered “mere” distributors or re-publishers, this immunity does not extend to a

provider’s or user’s distribution of information it knew or had reason to know was

defamatory. See Malwarebytes, Inc., 141 S. Ct. at 15-16. As addressed above, there is

sufficient evidence that Eric Trump, former president Trump, and the Trump Campaign

had reason to know Oltmann’s statements about Coomer were false, precluding Section

230 immunity.

      224.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for defamation against the Trump Campaign.

       ii.   Coomer has established a prima facie showing of intentional
infliction of emotional distress by clear and convincing evidence.

      225.   Coomer has made a prima facie showing for intentional infliction of

emotional distress by clear and convincing evidence. A claim for intentional infliction of

emotional distress requires proof that “(1) the defendant(s) engaged in extreme and

outrageous conduct, (2) recklessly or with the intent of causing the plaintiff severe

emotional distress, and (3) causing the plaintiff severe emotional distress.” Mackall v.

JPMorgan Chase Bank, N.A., 356 P.3d 946, 955 (Colo. App. 2014) (citing Archer v.

Farmer Bros. Co., 70 P.3d 495, 499 (Colo. App. 2002), aff’d, 90 P.3d 228 (Colo. 2004)).

Claims for intentional infliction of emotional distress that are premised on defamatory

publications are subject to the same constitutional protections for public speech as

applied to claims for defamation. See Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 50-




                                           115
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 117 of 137




52 (1988). If a statement involves a public official, public figure, or matter of public

concern, the plaintiff must also prove falsity and actual malice. See id. For purposes of

this review, a plaintiff need only establish a reasonable probability that he would be able

to prove falsity and actual malice at trial. See Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 252 (1986); see also Young v. CBS Broad., Inc., 212 Cal. App. 4th 551, 562 (2012);

Ampex Corp. v. Cargle, 128 Cal. App. 4th 1569, 1576 (2005). Coomer has established

prima facie evidence of falsity and actual malice.

       a.     Oltmann, FEC United, and Shuffling Madness Media

       226.   As to the first element, Coomer has put forward prima facie evidence that

Oltmann et al. engaged in extreme and outrageous conduct. Extreme and outrageous

conduct exists when “the recitation of the facts to an average member of the community

would arouse his resentment against the actor, and lead him to exclaim, ‘Outrageous!’”

Han Ye Lee v. Colorado Times, Inc., 222 P.3d 957, 963 (Colo. App. 2009). Courts have

found allegations of extreme and outrageous conduct sufficient when the statements at

issue defame, denigrate, harass, or threaten the plaintiff. See, e.g., Han Ye Lee, 222 P.3d

at 963 65 (finding a newspaper’s unverified statements that a wife failed to testify in her

husband’s murder trial outrageous); Meiter v. Cavanaugh, 580 P.2d 399, 401 (Colo. App.

1978) (finding a tenant’s statements suggesting a special influence in judicial proceedings

and mocking a landlord’s serious physical condition outrageous); Montoya v. Bebensee,

761 P.2d 285, 286-90 (Colo App. 1988) (finding alleged bad faith reports of child abuse

by an unlicensed mental health provider outrageous); Ellis v. Buckley, 790 P.2d 875, 877

(Colo. App. 1990) (finding accusations of theft against an employee with no evidence




                                           116
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 118 of 137




outrageous); Rugg v. McCarty, 476 P.2d 753, 754 56 (Colo. 1970) (finding requests for

payment and threats to garnish wages without a judgment outrageous); Donaldson v. Am.

Banco Corp. Inc., 945 F. Supp. 1456, 1465 66 (D. Colo. 1996) (finding derogatory

comments by a supervisor to pregnant employees outrageous); Mass v. Martin Marietta

Corp., 805 F. Supp. 1530, 1543 44 (D. Colo. 1992) (finding racial slurs in an employment

setting outrageous). Such a finding is not necessarily predicated on a pattern of conduct.

      227.    In Han Ye Lee, supra, a plaintiff sued a newspaper for causing her severe

emotional distress with a defamatory newspaper article that falsely reported that she

declined to testify in her husband’s murder trial. Han Ye Lee, 222 P.3d at 964. The article

implied that the plaintiff was disloyal to her husband and impugned her integrity. Id.

Further, the evidence established that the defendants published the article recklessly and

without verifying the information. Id. The court in Han Ye Lee explained that a reasonable

jury could find such defamatory statements by a newspaper article were extreme and

outrageous. Id.

      228.    Like Han Ye Lee, Oltmann et al. have impugned Coomer’s integrity and

reputation by alleging Coomer conspired to defraud the American public from

democratically electing their next president. It is difficult to comprehend statements more

extreme and more damaging than the ones Oltmann et al. have made regarding Coomer,

especially given the fact that Coomer’s professional career was in election services. There

is evidence Oltmann et al. repeatedly, maliciously and without legitimate evidence, falsely

accused Coomer of overturning the presidential election. These allegations imputed

criminal conduct, accused Coomer of being mentally ill, a sociopath, and claimed that




                                           117
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 119 of 137




“not one person has said that this person is a decent human being.” Further, there is

evidence Oltmann et al.’s allegations incited threats of real violence against Coomer by

disclosing his home address, encouraging the public to find him, and calling him a traitor,

and calling for him to be put to death. This is sufficient to establish a prima facie showing

that Oltmann et al.’s defamatory statements were extreme and outrageous.

       229.   As to the second element, there is prima facie evidence that Oltmann et al.

acted recklessly and with the intent to cause Coomer severe emotional distress. Intent

exists when a defendant engages in conduct with the purpose of causing severe emotional

distress to another person or knows that his conduct is certain or substantially certain to

have that result. Culpepper v. Pearl St. Bldg. Inc., 877 P.2d 877, 882-83 (Colo. 1994).

Recklessness exists when, at the time of the conduct, a defendant knew or reasonably

should have known that there was a substantial probability that his conduct would cause

another severe emotional distress. Id. Given the nature and scope of Oltmann et al.’s

defamation, there is prima facie evidence they knew or should have known there was a

substantial probability that their conduct would cause Coomer severe emotional distress.

Coomer has put forward prima facie evidence establishing both falsity and Oltmann et

al.’s actual malice.

       230.   As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has

sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by Oltmann et al.’s statements. See Paulson v.

State Farm Mut. Auto. Ins. Co., 867 F. Supp. 911, 919 (C.D. Cal. 1994) (noting that, in




                                            118
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 120 of 137




order to establish severe emotional distress, the plaintiff must “prove that he suffered

objective symptoms of distress.”). Because Coomer has suffered objective and verifiable

symptoms of distress, he has made a prima facie showing for this element.

       231.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

Oltmann et al.

       b.     Malkin

       232.   As to the first element, Coomer has put forward prima facie evidence that

Malkin engaged in extreme and outrageous conduct. Like the defendants above, there is

evidence that Malkin repeatedly and without evidence, falsely accused Coomer of

overturning the presidential election. These allegations imputed criminal conduct as well

as professional misconduct. Further, there is evidence Malkin’s allegations incited threats

of real violence against Coomer. This is sufficient to establish a prima facie showing that

Malkin’s defamatory statements were extreme and outrageous.

       233.   As to the second element, there is prima facie evidence that Malkin acted

recklessly and with the intent to cause Coomer severe emotional distress. Given the

nature, scope and reach of Malkin’s defamation, there is prima facie evidence she knew

or should have known there was a substantial probability that her conduct would cause

Coomer severe emotional distress. See Culpepper, 877 P.2d at 882-83. Coomer has put

forward prima facie evidence establishing both falsity and Malkin’s actual malice.

       234.   As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has




                                           119
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 121 of 137




sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by Malkin’s statements. See Paulson, 867 F.

Supp. at 919. Because Coomer has suffered objective and verifiable symptoms of distress,

he has made a prima facie showing for this element.

       235.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

Malkin.

       c.     Hoft and TGP Communications

       236.   As to the first element, Coomer has put forward prima facie evidence that

Hoft-TGP engaged in extreme and outrageous conduct. Like the defendants above, there

is evidence that Hoft-TGP repeatedly, without evidence, falsely accused Coomer of

overturning the presidential election. These allegations imputed criminal conduct as well

as professional misconduct. There is evidence Hoft-TGP labeled Coomer an “unhinged

sociopath” in an article that was shared with millions of people. Further, there is evidence

Hoft-TGP’s allegations incited threats of real violence against Coomer, including posting

an article advertising a million-dollar bounty on Coomer. This is sufficient to establish a

prima facie showing that Hoft-TGP’s defamatory statements were extreme and

outrageous.

       237.   As to the second element, there is prima facie evidence that Hoft-TGP acted

recklessly and with the intent to cause Coomer severe emotional distress. Given the

nature, scope and reach of Hoft-TGP’s defamation, there is prima facie evidence they

knew or should have known there was a substantial probability that their conduct would




                                            120
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 122 of 137




cause Coomer severe emotional distress. See Culpepper, 877 P.2d at 882-83. Indeed, it

appears that they intended this result. Coomer has put forward prima facie evidence

establishing both falsity and Hoft-TGP’s actual malice.

       238.   As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has

sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by Hoft-TGP’s statements. See Paulson, 867 F.

Supp. at 919. Because Coomer has suffered objective and verifiable symptoms of distress,

he has made a prima facie showing for this element.

       239.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

Hoft-TGP.

       d.     Metaxas

       240.   As to the first element, Coomer has put forward prima facie evidence that

Metaxas engaged in extreme and outrageous conduct. Like the Defendants above, there

is evidence that Metaxas without evidence, falsely accused Coomer of overturning the

presidential election. These allegations imputed criminal conduct as well as professional

misconduct. Further, there is evidence Metaxas’s allegations incited threats of real

violence against Coomer. This is sufficient to establish a prima facie showing that

Metaxas’s defamatory statements were extreme and outrageous.

       241.   As to the second element, there is prima facie evidence that Metaxas acted

recklessly and with the intent to cause Coomer severe emotional distress. Given the




                                           121
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 123 of 137




nature, scope and reach of Metaxas’s defamation, there is prima facie evidence he knew

or should have known there was a substantial probability that his conduct would cause

Coomer severe emotional distress. See Culpepper, 877 P.2d at 882-83. Coomer has put

forward prima facie evidence establishing both falsity and Metaxas’s actual malice.

       242.   As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has

sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by Metaxas’s statements. See Paulson, 867 F.

Supp. at 919. Because Coomer has suffered objective and verifiable symptoms of distress,

he has made a prima facie showing for this element.

       243.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

Metaxas.

       e.     OAN and Rion

       244.   As to the first element, Coomer has put forward prima facie evidence that

OAN-Rion engaged in extreme and outrageous conduct. Like the defendants above, there

is evidence that OAN and Rion without evidence and in the face of compelling evidence

to the contrary, falsely accused Coomer of overturning the presidential election. These

allegations imputed criminal conduct as well as professional misconduct. Further, there

is evidence OAN-Rion’s allegations incited threats of real violence against Coomer. This

is sufficient to establish a prima facie showing that OAN-Rion’s defamatory statements

were extreme and outrageous.




                                           122
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 124 of 137




       245.   As to the second element, there is prima facie evidence that OAN-Rion

acted recklessly and with the intent to cause Coomer severe emotional distress. Given the

nature, scope and reach of OAN-Rion’s defamation, there is prima facie evidence they

knew or should have known there was a substantial probability that their conduct would

cause Coomer severe emotional distress. See Culpepper, 877 P.2d at 882-83. Coomer has

put forward prima facie evidence establishing both falsity and OAN-Rion’s actual malice.

       246.   As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has

sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by OAN-Rion’s statements. See Paulson, 867

F. Supp. at 919. Because Coomer has suffered objective and verifiable symptoms of

distress, he has made a prima facie showing for this element.

       247.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

OAN-Rion.

       f.     Powell, Powell P.C., and Defending the Republic

       248.   As to the first element, Coomer has put forward prima facie evidence that

Powell et al. engaged in extreme and outrageous conduct. Like the Defendants above,

there is evidence that Powell et al. without evidence, falsely accused Coomer of

overturning the presidential election. These allegations imputed criminal conduct as well

as professional misconduct. Further, there is evidence Powell et al.’s allegations incited




                                           123
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 125 of 137




threats of real violence against Coomer. This is sufficient to establish a prima facie

showing that Powell et al.’s defamatory statements were extreme and outrageous.

       249.     As to the second element, there is prima facie evidence that Powell et al.

acted recklessly and with the intent to cause Coomer severe emotional distress. Given the

nature, scope and reach of Powell et al.’s defamation, there is prima facie evidence they

knew or should have known there was a substantial probability that their conduct would

cause Coomer severe emotional distress. See Culpepper, 877 P.2d at 882-83. Coomer has

put forward prima facie evidence establishing both falsity and Powell et al.’s actual

malice.

       250.     As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has

sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by Powell et al.’s statements. See Paulson, 867

F. Supp. at 919. Because Coomer has suffered objective and verifiable symptoms of

distress, he has made a prima facie showing for this element.

       251.     For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

Powell et al.

       g.       Giuliani

       252.     As to the first element, Coomer has put forward prima facie evidence that

Giuliani engaged in extreme and outrageous conduct. Like the defendants above, there is

evidence that Giuliani without evidence, falsely accused Coomer of overturning the




                                            124
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 126 of 137




presidential election. These allegations imputed criminal conduct as well as professional

misconduct. Further, there is evidence Giuliani’s allegations incited threats of real

violence against Coomer. This is sufficient to establish a prima facie showing that

Giuliani’s defamatory statements were extreme and outrageous.

       253.   As to the second element, there is prima facie evidence that Giuliani acted

recklessly and with the intent to cause Coomer severe emotional distress. Given the

nature, scope and reach of Giuliani’s defamation, there is prima facie evidence he knew

or should have known there was a substantial probability that his conduct would cause

Coomer severe emotional distress. See Culpepper, 877 P.2d at 882-83. Coomer has put

forward prima facie evidence establishing both falsity and Giuliani’s actual malice.

       254.   As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has

sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by Giuliani’s statements. See Paulson, 867 F.

Supp. at 919. Because Coomer has suffered objective and verifiable symptoms of distress,

he has made a prima facie showing for this element.

       255.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

Giuliani.

       h.     Trump Campaign

       256.   As to the first element, Coomer has put forward prima facie evidence the

Trump Campaign engaged in extreme and outrageous conduct. Like the defendants




                                           125
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 127 of 137




above, there is evidence that Trump Campaign without evidence, falsely accused Coomer

of overturning the presidential election. These allegations imputed criminal conduct as

well as professional misconduct. Further, there is evidence the Trump Campaign’s

allegations incited threats of real violence against Coomer. This is sufficient to establish a

prima facie showing the Trump Campaign’s defamatory statements were extreme and

outrageous.

       257.   As to the second element, there is prima facie evidence the Trump

Campaign acted recklessly and with the intent to cause Coomer severe emotional distress.

Given the nature, scope and reach of the Trump Campaign’s defamation, there is prima

facie evidence it knew or should have known there was a substantial probability that its

conduct would cause Coomer severe emotional distress. See Culpepper, 877 P.2d at 882-

83. Coomer has put forward prima facie evidence establishing both falsity and the Trump

Campaign’s actual malice.

       258.   As to the third element, there is prima facie evidence that Coomer has

suffered severe emotional distress, including anxiety and depression, for which he has

sought medical treatment, and he has experienced lost wages and other negative harm

from the severe emotional distress caused by the Trump Campaign’s statements. See

Paulson, 867 F. Supp. at 919. Because Coomer has suffered objective and verifiable

symptoms of distress, he has made a prima facie showing for this element.

       259.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for intentional infliction of emotional distress against

the Trump Campaign.




                                             126
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 128 of 137




      iii. Coomer has established a prima facie showing of conspiracy by
clear and convincing evidence.

       260. Coomer has made a prima facie showing of civil conspiracy by clear and

convincing evidence. To prevail on a claim for civil conspiracy, a plaintiff must prove five

elements: “(1) two or more persons, and for this purpose a corporation is a person; (2) an

object to be accomplished; (3) a meeting of the minds on the object or course of action;

(4) one or more unlawful overt acts; and (5) damages as the proximate result thereof.”

Walker v. Van Laningham, 148 P.3d 391, 396 (Colo. App. 2006). Conspiracy is a

derivative claim based on underlying unlawful conduct. See Colo. Cmty. Bank v.

Hoffman, 338 P.3d 390, 397 (Colo. 2013). Here, Coomer has premised his conspiracy

claims on his claims for defamation and intentional infliction of emotional distress.

       a.     Oltmann, FEC United, and Shuffling Madness Media

       261.   As to the first three elements, Coomer has put forward prima facie evidence

that Oltmann, FEC United, and SMM, by words and conduct, agreed to invent a fictional

story to defame Coomer as part of Oltmann’s pledge to “die on this hill” that Joe Biden

would never be president. This was an agreement between two or more persons. The

object to be accomplished was to spread dangerous and inflammatory political

disinformation designed to undermine the legitimacy of the 2020 presidential election by

defaming and intentionally inflicting emotional distress on Coomer. There is prima facie

evidence of a meeting of the minds on this object and the respective course of action. This

agreement to spread dangerous and inflammatory political disinformation designed to

undermine the legitimacy of the 2020 presidential election by defaming and intentionally




                                            127
        CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 129 of 137




inflicting emotional distress on Coomer extended to all of the other defendants in this

case.

         262.   Coomer does not need to prove express agreement to establish conspiracy.

See Schneider v. Midtown Motor Co., 854 P.2d 1322, 1326-27 (Colo. App. 1992). Rather,

conspiracy may be implied by course of conduct or other circumstantial evidence

providing some indicia of agreement. Id. at 1327; Ferraro v. Convercent, Inc., No. 17-CV-

00781-RBJ, 2017 WL 4697499, at *5 (D. Colo. Oct. 19, 2017). Indeed, because few, if any,

“smoking guns” are ever discovered, most conspiracy claims are established by

circumstantial evidence. Lee v. State Farm Mut. Auto. Ins. Co., 249 F.R.D. 662, 669 (D.

Colo. 2008) (“Circumstantial evidence is not only permissible in determining whether

there is illicit conduct or agreement, it is indeed the usual and customary basis for doing

so. Direct evidence is seldom available and few so called ‘smoking guns’ are ever

discovered. What individuals actually do—and perhaps more significantly what they do

not do—is more probative.”). As such, an agreement to conspire may “be inferred from

the nature of the acts done, the relation of the parties, the interests of the alleged

conspirators, and other circumstances.” Wyatt v. Union Mortgage Co., 598 P.2d 45, 52

(Cal. 1979). “Tacit consent as well as express approval will suffice to hold a person liable

as a coconspirator.” Id.

         263.   The appellate court in Schneider recognized that conspiracy may be implied

by a course of conduct and other circumstantial evidence providing “some indicia of

agreement in an unlawful means or end.” Schneider, 854 P.2d at 1326-27. There the court

found that a car dealership’s sales to an unlicensed motorist at discount prices to




                                            128
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 130 of 137




encourage repeat purchases while knowing of the motorist’s reckless driving was

sufficient evidence for a jury to find a tacit agreement between the dealership and

motorist to commit a tortious act. Id. Similarly, the appellate court in Saint John Church

in Wilderness v. Scott, 194 P.3d 475, 480 (Colo. App. 2008) found that protestors’

promotion, preparation, and participation in a protest were sufficient evidence to

establish a conspiracy to commit a private nuisance.

         264.   Here, there is prima facie evidence that Oltmann conspired with the other

defendants in this case to spread political disinformation at Coomer’s expense. There is

evidence Oltmann, as an authorized representative of FEC United and SMM, defamed

and intentionally inflicted emotional distress on Coomer. Further, there is evidence

Oltmann directly coordinated with and served as the source for the other defendants’

defamation and intentional infliction of emotional distress, which includes directly

providing false information to the defendants, agreeing to interviews with the defendants

with the purpose of spreading disinformation, and publishing the actionable statements

in concert with the other defendants. Indirectly, Oltmann also served as the source of the

defamation, which the other defendants relied upon with actual malice by republishing

his allegations against Coomer.

         265.   As to the fourth element, there is prima facie evidence that Oltmann et al.

did defame and intentionally inflict emotional distress on Coomer, which are unlawful

tortious acts. See Resolution Trust Corp. v. Heiserman, 898 P.2d 1049, 1054–55 (Colo.

1995).




                                            129
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 131 of 137




       266.    As to the fifth element, there is prima facie evidence that Coomer has

suffered severe emotional distress caused by Oltmann et al.’s defamation and intentional

infliction of emotional distress. See Paulson, 867 F. Supp. at 919. Because Coomer has

suffered objective and verifiable symptoms of distress, he has made a prima facie showing

for this element.

       267.    For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for conspiracy against Oltmann et al..

       b.      Malkin

       268.    As to the first three elements, Coomer has put forward prima facie evidence

that Malkin agreed with Oltmann, by words and conduct, to defame Coomer. This was an

agreement between two or more persons. The object to be accomplished was to spread

dangerous and inflammatory political disinformation with the goal of undermining the

legitimacy of the 2020 presidential election by defaming and intentionally inflicting

emotional distress on Coomer. There is prima facie evidence of a meeting of the minds

on this object and the respective course of action given Malkin’s publication of Oltmann’s

allegations.

       269.    There is also prima facie evidence that this agreement to spread dangerous

and inflammatory political disinformation designed to undermine the legitimacy of the

2020 presidential election by defaming and intentionally inflicting emotional distress on

Coomer extended to all of the other defendants in this case. This conspiracy is unique

among conspiracies in that the agreement to delegitimize the results of the election in the

event former president Trump lost were overtly public. Allegations questioning the




                                            130
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 132 of 137




legitimacy of the 2020 presidential election and efforts to undermine trust in elections

and democracy occurred both prior to and after the election and were led by former

president Trump, his campaign, and his supporters. There is evidence that Malkin was

not only aware of but participated in these efforts, advancing various allegations of fraud,

which included allegations that Coomer subverted the presidential election which she

knew, or should have known were false. As part of those efforts, there is evidence that

Malkin directly coordinated with and relied upon Oltmann as the sole unreliable source

of her allegations against Coomer. Malkin acquired information from Oltmann, agreed to

interview Oltmann, and published and promoted the actionable statements in concert

with Oltmann. This course of conduct can be found with respect to all defendants. As such,

there is evidence that each of the defendants agreed to defame Coomer for purposes of

spreading dangerous and inflammatory disinformation with the goal of delegitimizing the

election and directly or indirectly relied on Oltmann as the sole unreliable source of their

allegations. See Schneider, 854 P.2d at 1326-27; Saint John Church in Wilderness, 194

P.3d at 480.

        270.    As to the fourth element, there is prima facie evidence that Malkin did

defame and intentionally inflict emotional distress on Coomer, which are unlawful

tortious acts. See Resolution Trust Corp., 898 P.2d at 1054–55. Malkin argues (without

legal support) for some form of special immunity for news media defendants from

conspiracy claims when a news media outlet reports on the reporting of other media

outlets.420 There is no special immunity for news media defendants from liability for



420 See Malkin Reply at 14-15.




                                            131
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 133 of 137




defamation committed with actual malice in the scope of their reporting. Curtis Publ’g

Co., 388 U.S. at 150 (finding news media defendants have “no special immunity from the

application of general laws” and “no special privilege to invade the rights and liberties of

others”).

       271.   As to the fifth element, there is prima facie evidence that Coomer has

suffered severe emotional distress caused by Malkin’s defamation and intentional

infliction of emotional distress. See Paulson, 867 F. Supp. at 919. Because Coomer has

suffered objective and verifiable symptoms of distress, he has made a prima facie showing

for this element.

       272.   For the foregoing reasons, Coomer has established a reasonable likelihood

that he will prevail on his claims for conspiracy against Malkin.

       c.     All Other Defendants

       273.   The Court incorporates the above findings and conclusions of law with

respect to Coomer’s prima facie showing of all elements necessary to establish by clear

and convincing evidence his claims of civil conspiracy against defendants Hoft, TGP

Communications, Metaxas, OAN, Rion, Powell, Powell P.C., Defending the Republic,

Giuliani, and the Trump Campaign. All defendants cooperated and fed off one another to

spread dangerous and inflammatory political disinformation designed to undermine the

legitimacy of the 2020 presidential election by defaming and intentionally inflicting

emotional distress on Coomer.




                                            132
      CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 134 of 137




       iv.      Coomer has established a prima facie showing for injunctive
relief.

       274.     Coomer requests a permanent injunction against all Defendants in the event

he prevails on his claims for defamation and intentional infliction of emotional distress.

Only some of the Defendants raised challenges to Coomer’s request for injunctive relief.421

To prevail on a request for permanent injunction, a party must prove: “(1) he or she has

achieved actual success on the merits; (2) irreparable harm will result unless the

injunction is issued; (3) the threatened injury outweighs the harm that the injunction may

cause to the opposing party; and (4) the injunction, if issued, will not adversely affect the

public interest.” Langlois v. Bd. of Cnty. Comm’rs of Cnty. of El Paso, 78 P.3d 1154, 1158

(Colo. App. 2003). Injunctive relief is appropriate when a defendant continues to publish

defamatory statements about an individual. Sunward Corp. v. Dun & Bradstreet, Inc.,

568 F. Supp. 602, 609 (D. Colo. 1983), rev’d on other grounds, 811 F.2d 511 (10th Cir.

1987) (“First Amendment rights are not absolute, and if the First Amendment right is not

deemed paramount, injunctive relief is appropriate if there is no adequate remedy at

law.”); see also Beauharnais v. People of State of Ill., 343 U.S. 250, 256, (1952) (noting

that defamatory statements are not entitled to First Amendment protection).

       275.     As addressed above, Coomer has established a reasonable probability of

prevailing on each of his claims against Defendants and, therefore, has established a

likelihood of succeeding on the merits of his case.




421 See Oltmann, et al. Mot. at 13-15; Hoft-TGP Mot. at 23; Metaxas Mot. at 11 (incorporating C.R.C.P.

12(b)(5) motion to dismiss by reference); Metaxas C.R.C.P. 12(b)(2) and 12(b)(5) Mot. at 14-15; OAN-Rion
Mot. at 25; Powell Mot. at 7, n.5; DTR Mot. at 8, n.5; Giuliani Mot. at 22.




                                                 133
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 135 of 137




       276.    Coomer has established that he will continue to suffer irreparable harm

unless the injunction is issued. There is prima facie evidence rising to the standard of

clear and convincing evidence that all Defendants published false and defamatory

statements about Coomer with actual malice. There is also evidence that Defendants have

not retracted or removed these statements. “[D]efamatory statements are so egregious

and intolerable because the statement destroys an individual’s reputation: a characteristic

which cannot be bought, and one that, once lost, is extremely difficult to restore.” See

Keohane v. Stewart, 882 P.2d 1293, 1298 (Colo. 1994) (citing Curtis Publ’g Co., 388 U.S.

at 152). Courts have long recognized the irreparable, incalculable injuries people suffer

from defamatory statements. See id.; see also Hayes v. Todd, 15 So. 752, 755 (Fla. 1894)

(discussing why there is such a compelling interest in preventing and redressing attacks

upon an individual’s reputation). The evidence of damages Coomer has suffered to his

reputation, privacy, and safety is sufficient to establish that irreparable harm would result

if an injunction against all Defendants was not issued.

       277.   Coomer has further put forward evidence sufficient to show the threatened

injury to him would outweigh the harm that injunctive relief may cause to Defendants.

Defamation has no constitutional value or protection, whereas a person’s reputation is a

protected liberty interest. Gertz, 418 U.S. at 341. The harm to Coomer’s reputation,

privacy, and safety outweighs the injunctive relief sought to compel the removal of

published statements that have been adjudicated as defamatory.

       278.   There is overwhelming evidence that an injunction would serve the public

interest because the public is harmed by the spread of defamatory information. See




                                            134
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 136 of 137




Keeton v. Hustler Mag., Inc., 465 U.S. 770, 776 (1984). “False statements of fact are

particularly valueless; they interfere with the truth-seeking function of the marketplace

of ideas.” Hustler Mag., Inc. v. Falwell, 485 U.S. 46, 52 (1988).

       279.    There is no constitutional value in false statements of fact or the deliberate

spread of dangerous and inflammatory political disinformation designed to sow distrust

in democratic institutions. See Gertz, 418 U.S. at 340. The public has an active interest in

ensuring that there are remedies for defamatory statements. See Keohane, 882 P.2d at

1298. Here, there will be no adverse public interest if Defendants cannot publish

statements determined to be defamatory.

       280. Subject to the adjudication of his claims, Coomer has established a prima

facie basis for injunctive relief.

     B.    Defendants’ requests for attorney’s fees are not warranted
under the anti-SLAPP statute and are denied.

       281.    The purpose of the Colorado anti-SLAPP statute is to ensure that

“participation in matters of public significance” is not “chilled through abuse of the

judicial process.” C.R.S. § 13-20-1101(1)(a). At the same time, the Colorado Legislature

sought to “protect the rights of persons to file meritorious lawsuits for demonstrable

injury.” C.R.S. § 13-20-1101(b).

       282.    In line with that purpose, section (4)(a) of the statute provides in part that

“a prevailing defendant on a special motion to dismiss is entitled to recover the

defendant’s attorney’s fees and costs.” C.R.S. § 13-20-1101(4)(a). Because none of the

Defendants have prevailed on their special motions to dismiss, none of the Defendants

are entitled to costs or reasonable attorneys’ fees.




                                             135
     CASE 0:22-cv-00098-JMB-JFD Doc. 50-1 Filed 05/18/22 Page 137 of 137




                                      CONCLUSION

      283.   The special motions to dismiss brought by all Defendants pursuant to C.R.S.

§13-20-1101 are hereby DENIED in their entirety.


Dated this 13th day of May, 2022.

                                        BY THE COURT:




                                        MARIE AVERY MOSES
                                        District Court Judge




                                         136
